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1                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
2                              ATLANTA DIVISION

3

4    DONNA CURLING, ET AL.,                 :
                                            :
5                PLAINTIFFS,                :
     vs.                                    :   DOCKET NUMBER
6                                           :   1:17-CV-2989-AT
     BRIAN P. KEMP, ET AL.,                 :
7                                           :
                 DEFENDANTS.                :
8

9

10              TRANSCRIPT OF EVIDENTIARY HEARING PROCEEDINGS

11                    BEFORE THE HONORABLE AMY TOTENBERG

12                        UNITED STATES DISTRICT JUDGE

13                              SEPTEMBER 12, 2018

14                                   10:16 A.M.

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21       MECHANICAL STENOGRAPHY OF PROCEEDINGS AND COMPUTER-AIDED

22                           TRANSCRIPT PRODUCED BY:

23
     OFFICIAL COURT REPORTER:             SHANNON R. WELCH, RMR, CRR
24                                        2394 UNITED STATES COURTHOUSE
                                          75 TED TURNER DRIVE, SOUTHWEST
25                                        ATLANTA, GEORGIA 30303
                                          (404) 215-1383
                         UNITED STATES DISTRICT COURT
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1                 A P P E A R A N C E S      O F   C O U N S E L

2

3    FOR THE PLAINTIFFS DONNA CURLING, DONNA PRICE, JEFFREY
     SCHOENBERG:
4

5          DAVID D. CROSS
           CATHERINE L. CHAPPLE
6          JANE P. BENTROTT
           ROBERT W. MANOSO
7          MORRISON & FOERSTER, LLP

8          HALSEY G. KNAPP, JR.
           KREVOLIN & HORST, LLC
9

10   FOR THE PLAINTIFF COALITION FOR GOOD GOVERNANCE:

11
           ROBERT ALEXANDER McGUIRE, III
12         ROBERT McGUIRE LAW FIRM

13         BRUCE P. BROWN
           BRUCE P. BROWN LAW
14

15   FOR THE PLAINTIFFS COALITION FOR GOOD GOVERNANCE, LAURA DIGGES,
     WILLIAM DIGGES, III, AND RICARDO DAVIS:
16

17         CARY ICHTER
           ICHTER DAVIS, LLC
18

19   FOR THE STATE OF GEORGIA DEFENDANTS:

20
           JOHN FRANK SALTER, JR.
21         ROY E. BARNES
           THE BARNES LAW GROUP, LLC
22

23

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25                                                        (...CONT'D...)

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1    (...CONT'D....)

2

3    FOR THE FULTON COUNTY DEFENDANTS:

4
           KAYE WOODARD BURWELL
5          CHERYL RINGER
           DAVID R. LOWMAN
6          OFFICE OF THE FULTON COUNTY ATTORNEY

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1                             P R O C E E D I N G S

2    (Atlanta, Fulton County, Georgia; September 12, 2018.)

3                THE COURT:    Morning.    Please have a seat.         Morning

4    all.   There are some people in the hallway.         I'm assuming that

5    they are being advised to go into the overflow room.

6                COURTROOM DEPUTY CLERK:       They are, Your Honor.

7                THE COURT:    We are here in the matter of Donna

8    Curling, et al., plaintiffs, vs. Brian Kemp, et al., Civil

9    Action Number 1:17-CV-2989.

10               We have a lot of counsel.       I think it would -- I have

11   a little diagram of who everyone is.         But why don't whoever is

12   serving as lead counsel for the moment on each side stand up

13   and introduce everyone with you.

14               MR. McGUIRE:     I'm Robert McGuire for the Coalition

15   plaintiffs.     I'm here with Bruce Brown --

16               THE COURT:    You're not near a microphone.           So please

17   speak up.

18               MR. McGUIRE:     Your Honor, I'm Robert McGuire with

19   Coalition plaintiffs.      I'm here with Bruce Brown, co-counsel;

20   Cary Ichter, co-counsel; and Coalition's corporate

21   representative, Marilyn Marks.

22               MR. CROSS:    Your Honor, David Cross with Morrison &

23   Foerster on behalf of the Curling plaintiffs.           With me is my

24   colleague Jane Bentrott, Catherine Chapple, and Robert Manuso

25   and Halsey Knapp.

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                                                                             8

1                THE COURT:    Thank you.

2                MR. SALTER:    Good morning, Judge.      John Salter with

3    Barnes Law Group for the state defendants, which is the State

4    Election Board members in their official capacity and Secretary

5    of State Brian Kemp in his official capacity.

6                With me at the table, Your Honor, is Mr. Barnes with

7    my firm and also one of the parties to the case, Rebecca

8    Sullivan.    And Ryan Germany is deputy counsel -- counsel at the

9    Secretary of State's office.        Also with me is Leigh Barnes, who

10   is my paralegal at the table.

11               We also have David Worley who is another State

12   Election Board member, Your Honor.

13               David, do you want to raise your hand?

14               I will let Fulton County and everyone else talk.

15               MS. BURWELL:     Good morning, Your Honor.      Kaye Burwell

16   on behalf of Fulton County, along with Cheryl Ringer and David

17   Lowman.

18               THE COURT:    Very good.    Thank you.

19               Now, we are sort of already a little cramped for time

20   and besides that space because we are -- I gather Fulton County

21   had some trouble getting through the security.

22               MS. BURWELL:     Yes, Your Honor.     We apologize.

23               THE COURT:    Let's try to keep to the rest of the

24   timelines.

25               All right.    First of all, I want to say I appreciate

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                                                                                 9

1    the great amount of public interest in this and attendance.

2    The days of the courtrooms being packed and people looking down

3    from the balconies seem to be well gone and over except in our

4    movie imagination.

5                And so whatever happens here, I think that we should

6    all appreciate the profound public concern about voting issues

7    and wanting to be -- basically to participate in our democracy

8    and make it a vibrant democracy and make the judicial system

9    meaningful and exercising in meaningful review and being

10   witness to that.

11               So in keeping with those remarks, I want to simply

12   say I would genuinely appreciate if all counsel here as

13   stringent and colorful as your argument may be would be as

14   courteous as possible and not demean the other side.              I don't

15   think it really helps the circumstance.          There are sharp things

16   to be said on both sides.       And I understand that.      This --

17   these are issues of great importance to everybody.            But I just

18   wanted to start with that remark.

19               I regret that there are individuals who are having to

20   hear and participate in this from the public who are in the

21   overflow courtroom.      I would have used the overflow courtroom,

22   in fact, basically out of respect for everybody.           But the

23   parties had a good deal of technology that they wanted to use

24   in presentation.      And it was going to be a great deal more

25   awkward and difficult, and that courtroom is not equipped for

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                                                                           10

1     some of the technology at issue.        That courtroom also was built

2     at a different time.      So it reflects some of that as well as

3     the lack of endless funds to modernize.

4                 We are making available, of course, the audio in the

5     overflow courtroom as well as there will be -- there are

6     screens in there that will show any exhibits.          But

7     unfortunately or fortunately you won't get to see some of the

8     witnesses.    There is no video presentation.

9                 Obviously some people may decide to leave at points

10    because it may simply not be as interesting as they thought,

11    which is often so in court.       And some of the people in the

12    front rows may decide they wish they could leave at points.

13    But in any event, that definitely happens.

14                I don't know whether anyone read any of the coverage

15    of people who attended the criminal trial in Virginia that went

16    on for a long time.      And I had a feeling sometimes some people

17    were going to take amphetamines or something because they said

18    they were just holding themselves to stay awake.           So this is a

19    daylong hearing.     It is not weeks and weeks.       But it has that

20    capacity as well for -- that people may be bored and move on.

21                I want to just say that I have already provided to

22    counsel a schedule for the day's proceedings.          And just so that

23    everyone understands again, we're starting with arguments on

24    Eleventh Amendment immunity, standing, and related issues.

25                I think that in the interest of time because I have

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1     read those briefs and they are very much legally oriented and I

2     do understand the arguments, I would ask counsel because --

3     particularly because we had to start late because of Fulton

4     County to try to truncate that to no more than 10 minutes each,

5     rather than 15 minutes.

6                 And then we are going to have opening arguments on

7     the motion for preliminary injunction that is before me.           And

8     then we are going to have direct and cross-examination of two

9     of the plaintiff Coalition's witnesses, I think Mr. DeMillo --

10    is that --

11                MR. McGUIRE:    DeMillo.

12                THE COURT:    -- and Mr. Barnes.     And then I anticipate

13    unless we have done something very wrong that we're going to

14    have a lunch break.      And after that, we are going to have other

15    experts from the Curling plaintiffs and some of the state

16    defendants' witnesses, which include I understand individuals

17    from the state or county involved in the administration, as

18    well as former Secretary of State Cathy Cox and a

19    representative of Fulton County defendants.          I can't remember

20    exactly everyone's titles.

21                Is that more or less right?

22                MR. CROSS:    Your Honor, one thing, if I may.        David

23    Cross for the Curling plaintiffs.        We are not going to call

24    Mr. Barron at this point.       And we have spoken with the

25    Coalition plaintiffs.      I understand that they are not going to

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1     call Mr. Barnes.

2                 One other change, if we may.       We will start with

3     Professor Halderman and then transition to Professor DeMillo.

4     And one thing --

5                 THE COURT:    I'm sorry.    You are going to start

6     with --

7                 MR. CROSS:    Professor Halderman -- Alex Halderman and

8     then Rich DeMillo.

9                 THE COURT:    So you are going to swap the order --

10                MR. CROSS:    Yes, Your Honor.

11                THE COURT:    -- of the expert witnesses?

12                MR. CROSS:    And then Chris Harvey will be the next

13    witness and the last.

14                Could I ask one question?

15                THE COURT:    Yes.

16                MR. CROSS:    As long as we don't elongate the schedule

17    overall, is it okay if we have flexibility to use time we have

18    picked up from losing witnesses -- letting witnesses go into

19    perhaps more time on closing arguments, which we think may be

20    valuable to the Court as long as we are not extending the day?

21                THE COURT:    As long as you are not extending the day

22    and understanding we had to start late.

23                MR. CROSS:    Understood.

24                THE COURT:    But yes.

25                MR. CROSS:    Thank you, Your Honor.

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                                                                            13

1                 MS. BURWELL:    Your Honor, Fulton County intends to

2     call Mr. Barron since the plaintiffs are not going to call him.

3                 MR. SALTER:    Your Honor, on behalf of the state,

4     since we had this planned based on our conference, I don't have

5     any problems with them switching the order of their experts.

6     We did bring Mr. Barnes -- Michael Barnes.          We're not going to

7     let Roy testify, of course.       But we did want to bring him

8     briefly on some -- on a particular issue, I think, that will be

9     of interest to the Court.       It is a foundational issue.       But it

10    won't elongate the time I don't think.         And if they want to

11    cross him about that, they can.        But we did expect him to

12    testify, and we built that into the schedule.

13                THE COURT:    As long as it doesn't elongate your time.

14                I want to remind everybody that because the people in

15    the overflow courtroom are only hearing audio -- they can't see

16    you and see the way you are articulating -- it is probably more

17    important than ever that you be closer to a microphone and

18    speak in measured -- enough measured tones that people can

19    understand you.     And it is always important for me too.

20                MR. BARNES:    Your Honor, I would like to invoke the

21    rule of sequestration before any of the arguments or testimony.

22                THE COURT:    As to expert witnesses?

23                MR. BARNES:    Yes, ma'am.    If they don't have their

24    facts down by now --

25                THE COURT:    Well, I don't -- I'm going to not allow

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1     it because I think that it is going to end up being a waste of

2     time.   Because you're going to ask people about -- each of you

3     are going to ask about other individuals.         This is not just

4     kind of did I see -- what did I see.         I don't think it really

5     aids the efficient management of hearing the expert testimony.

6                 MR. BARNES:    I just want to put it on the record,

7     Your Honor.

8                 THE COURT:    All right.    Of course, if the parties

9     agree, that is something else.        But do you-all want to excuse

10    the experts then?     If you-all think that, in fact, we're going

11    to be more likely to get to the bottom of things that way, that

12    is fine.    But that is my instinct in terms of just efficient

13    management of the hearing.

14                MR. SALTER:    Your Honor, just a point of

15    clarification, so the rule is invoked as to fact witnesses but

16    not the experts?

17                THE COURT:    That would be my view.      But I jumped in.

18    And if the parties actually agree, I don't want to -- about --

19    I will consider that.      I'm not telling you what I'm going to

20    do, but I certainly will consider if the parties think that the

21    experts should be sequestered.

22                MR. McGUIRE:    Your Honor, this is Robert McGuire.      We

23    don't believe the experts should be sequestered.           We think it

24    will be faster if they are able to listen to what other experts

25    are saying so they can opine on that and comment on that.

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1                 THE COURT:    All right.    So back -- yes?

2                 MR. CROSS:    Your Honor, we agree.      For clarification,

3     I think the only fact witnesses in the room today are employed

4     or affiliated with the defendant.        So does that mean the fact

5     witnesses are leaving?

6                 MR. BARNES:    They are our parties.      She is a party

7     today.

8                 MR. CROSS:    Okay.   So no one is actually leaving the

9     courtroom?    Is that -- I'm trying to figure out who is leaving

10    the courtroom.     Because they invoked Rule 615, but now they

11    want their witnesses in the courtroom.

12                MR. BARNES:    If you are going to let one of them in,

13    let them all in.

14                MR. SALTER:    We'll just withdraw --

15                MR. BARNES:    We'll withdraw the motion.       Just let

16    everybody in.

17                THE COURT:    All right.    Apparently I have.

18                MR. BARNES:    That is fine.

19                THE COURT:    All right.    Anything else on a

20    preliminary basis that we need to discuss?

21                MR. SALTER:    Not for the state, Your Honor.         We're

22    ready.

23                MR. McGUIRE:    Not for us, Your Honor.

24                MR. CROSS:    Ready, Your Honor.

25                THE COURT:    All right.

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1                 Again, just simply for clarity because of individuals

2     sitting in the overflow room who can't see anything, the

3     plaintiffs here are two different groups, two different

4     organizations and sets of individuals.         And they have separate

5     counsel.

6                 And what we have here is representatives of the

7     Secretary of State and the State of Georgia and then also

8     representatives of Fulton County on the defendants' side.         So

9     we are hearing from all of those counsel for all those entities

10    or individuals.

11                All right.    As Eleventh Amendment immunity and

12    standing are threshold issues for the Court to consider before

13    exercising jurisdiction in this matter, we'll address those

14    issues first.

15                And I gather, Mr. McGuire, you are going first.

16                                    ARGUMENT

17                MR. McGUIRE:    Yes, Your Honor.     And I will truncate

18    my argument to half of the ten minutes and allow the MoFo --

19    the Curling plaintiffs' counsel to address the immunity portion

20    of it.   I was planning to address standing and preclusion.

21                And so I can direct my argument to whatever it is of

22    most interest to the Court.       I think the thing that was

23    covered -- the motion to dismiss briefings covered the injury

24    piece pretty solidly.      So what was not covered in as much

25    detail was the preclusion issue.

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1                 So what I would like to address unless the Court has

2     other questions is the preclusion issue.         And when we were here

3     in May -- 1st of May, Your Honor indicated that you were

4     concerned potentially with res judicata and collateral estoppel

5     arising from what we are calling Curling One, which was a state

6     court lawsuit filed in May of 2017.        And then that was

7     dismissed in July of 2017.       And there were some of the same

8     plaintiffs that are here in this case, and it also involved

9     DREs.

10                The state law of preclusion governs res judicata and

11    collateral estoppel in federal court.         And the Eleventh Circuit

12    has issued a good decision that actually deals directly with

13    Georgia state preclusion law.       And that is Community State Bank

14    vs. Strong, 651 F.3d 1241.       That is a 2011, Eleventh Circuit

15    decision.

16                And they talk in that case about res judicata and

17    about collateral estoppel.       Since it may not be clear to

18    everybody, res judicata bars you from litigating any claim

19    which you brought or could have brought that was previously

20    decided on the merits in a final determination.

21                And collateral estoppel or issue preclusion is not as

22    broad.   It prevents you only from relitigating issues that were

23    decided on the merits in an earlier case that were necessary to

24    the determination.

25                So Curling One filed in May 2017 was a case that only

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1     brought state law claims, and it brought them in state court.

2     There was a motion for preliminary injunction, which was denied

3     on June 9 in an order.      And in that order, the state court said

4     that sovereign immunity barred those state law claims.

5                 We attempted to argue -- I represented the Coalition

6     in that case.     We attempted to argue at the hearing that there

7     were federal claims that we could bring, Section 1983 claims,

8     and the judge made a very solid ruling that that was not an

9     issue in the case in dismissing the state law claims on

10    sovereign immunity grounds.       Then she denied the motion for

11    preliminary injunction.

12                She issued that order, and no judgment was actually

13    issued.    So that case remained alive until -- this case was

14    filed on July 3rd while that case was still alive.           This case

15    brought federal claims under Section 1983.

16                And then on July 7th after this case was brought,

17    that case was voluntarily dismissed by the plaintiffs.            So

18    there was never an entry of a final judgment in that case,

19    which is a prerequisite for both res judicata and collateral

20    estoppel to apply.

21                Just as a matter of Georgia law, they don't apply for

22    that reason.    And there are other reasons as well.         But that is

23    the main one.

24                THE COURT:    All right.

25                MR. McGUIRE:    As far as standing goes, just to turn

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1     back to injury, there are a number of injuries that are alleged

2     by the plaintiffs in the third amended complaint brought by our

3     clients and the second amended complaint brought by the Curling

4     plaintiffs.    And all of those injuries are sufficient to invoke

5     standing, to invoke the jurisdiction of this Court, because

6     those injuries are all caused directly or indirectly by the

7     state's enforcement of the State Election Board rule requiring

8     the use of DREs for in-person polling place voting.           And those

9     injuries are redressable if the Court grants us the relief

10    we're requesting.     Therefore, all three of the elements of

11    standing, injury, causation, and redressability exist.            And so

12    therefore we think the standing prong is covered.

13                Unless the Court has any questions on standing or

14    preclusion, I can sit down and turn over the rest of my time to

15    co-counsel to talk about the immunity.

16                THE COURT:    All right.    If you want to -- if either

17    of you want to save a minute if you have one, then I'm not --

18    then to respond to the state, you may do so also.

19                MR. McGUIRE:    By my watch, I have got 25 seconds of

20    my half.    So I'll save that.

21                MS. BENTROTT:    Good morning, Your Honor.       Jane

22    Bentrott on behalf of Curling plaintiffs.

23                THE COURT:    All right.

24                MS. BENTROTT:    If it is all right, my colleague,

25    Robert Manuso, will pass out some of our slides.

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1                 THE COURT:    And would you speak up also.

2                 MS. BENTROTT:    If you could, put up our slides on the

3     screen.

4                 THE COURT:    Thank you.

5                 MS. BENTROTT:    As Mr. McGuire said, I'm going to

6     address the Eleventh Amendment immunity issues.

7                 THE COURT:    Still a little louder.

8                                     ARGUMENT

9                 MS. BENTROTT:    Yes, ma'am.     I think all parties agree

10    here the question is whether the ex parte Young exception to

11    Eleventh Amendment sovereign immunity applies.          And the

12    exception is pretty clear.       The immunity is limited to -- the

13    exception is limited to suits against state officers for

14    prospective injunctive relief, which is exactly what plaintiffs

15    seek here.

16                And the case law is very clear this is a very broad

17    exception.    Where plaintiffs don't seek damages, where they

18    seek prospective injunctive and declaratory relief, the

19    Eleventh Amendment is not a bar in these cases.

20                Defendants attempt to wedge the plaintiffs into a

21    very narrow carve-out to the ex parte Young exception.            Courts

22    don't apply the ex parte Young exception when the suit is

23    ultimately designed to redress only a past harm and not a harm

24    that may have begun in the past but is continuing and ongoing.

25                It cannot credibly be disputed that plaintiffs here

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1     allege an ongoing and continuous violation of federal law as

2     required to meet the ex parte Young exception.          Defendants

3     themselves have told the Court repeatedly and will tell the

4     Court again today that they intend to use the challenged DREs

5     in the upcoming election absent an injunction.          That is the

6     definition of a continuing and ongoing harm and for which we

7     seek prospective injunctive and declaratory relief.

8                 Just to clarify a few of the arguments that

9     defendants make, they suggest that the immunity does not apply

10    if the claim is based on conduct that began in the past.          But

11    they cite Papasan vs. Allaine, which itself says that immunity

12    does not bar claims based on past, present, and future

13    deprivations.

14                Defendants also suggest that declaratory relief

15    affirmatively shows that plaintiffs are seeking to redress only

16    a past harm.    Again, the cases they cite show that declaratory

17    relief is contemplated by the ex parte Young exception as seen

18    in Summit Medical Associates vs. Pryor, an Eleventh Circuit

19    case.

20                As my colleague covered this, I will just briefly

21    move on.    And unless the Court has any questions on immunity,

22    I'll just briefly address the Curling plaintiffs' standing.

23                We agree with the Coalition plaintiffs that

24    plaintiffs here have standing, and we would just like to

25    highlight that requiring a registered voter to make the choice

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1     between casting an absentee or provisional ballot or producing

2     photo identification in person has been determined by the

3     Eleventh Circuit to be an injury sufficient to qualify -- to

4     confer standing.

5                 Defendants themselves say that the remedy here is

6     that plaintiffs possess an unlimited legal right to cast their

7     vote by paper absentee ballot if they do not trust the

8     unsecured DREs.     That shows that this meets the exact

9     requirement of Common Cause vs. Billups.

10                I would just like to highlight our plaintiff Donna

11    Curling's experience when she tried to do exactly what

12    defendants here suggest.      When she was concerned about the use

13    of DREs and her vote being counted, she attempted to vote via

14    paper absentee ballot only to learn in this litigation that her

15    vote did not count and she was disenfranchised.          That alone

16    shows very clearly why Curling plaintiffs have standing in this

17    case.

18                If you don't have any questions, I'll reserve my

19    minute for any follow-up if needed.

20                THE COURT:    Thank you.

21                MS. BENTROTT:    Thank you, Your Honor.

22                MR. SALTER:    Amy, would you switch the video from

23    plaintiff, please, ma'am.

24                                    ARGUMENT

25                MR. SALTER:    May it please the Court, Your Honor.

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1     John Salter for the state defendants.         I'll try to keep

2     checking my time as best I can.

3                 Let me start with why we are here today generally.        I

4     know I have only got ten minutes and maybe one minute of amen

5     reserved for my folks in Fulton County.         Most of this is my

6     issue alone.    But I think they may join in one portion of the

7     argument.

8                 We are here because Georgia state law delegates a

9     duty to the Secretary of State to -- they shall perform all the

10    duties imposed by this chapter in the election law title, and

11    that includes the obligation to develop, program, build, and

12    review ballots for use by counties and municipalities on direct

13    recording electronic voting systems used in the state.

14                In 2008 {sic} the Secretary of State at the

15    plaintiffs' request -- their first iteration of their complaint

16    you'll remember sought a mandamus action to compel a

17    reexamination of the DRE machines.        That has been done.     It has

18    been reexamined.     There has been an additional certification.

19    That was in the spring of 2018 this year.

20                But the law allows -- the Secretary of State

21    delegates discretion to that office to in his or her opinion

22    attest that the kind of system so examined can be safely and

23    accurately used by electors.       That discretionary decision

24    delegated to that office has been performed this year.

25                The DRE allegations in this case are unlike -- no one

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1     disputes here that voting is fundamental.         No one disputes that

2     it is important.     This case is particular in terms of the

3     standing issue that is presented.

4                 You have -- DRE allegations are different from vote

5     dilution cases, one man/one vote, Wesberry vs. Sanders, voter

6     ID cases.    We don't have a waiting issue.       We don't have a

7     dilution issue that is particular to any of these persons that

8     are before the Court today.

9                 And what the claim is is that the DRE machines should

10    be presumed to be compromised.        That is in the complaints.    And

11    they want to override the discretionary decision delegated by

12    state law to a state official and basically have the Court

13    override his decision in this case and prohibit the use of DRE

14    machines.

15                The subject matter jurisdiction with this is that you

16    can't.   The Supreme Court in 2013 said -- there was a very

17    reasonable common sense opinion from the Second Circuit that

18    said in a surveillance case where there was a data issue and

19    said -- the Second Circuit said we're going to use a reasonable

20    likelihood standard in order to weigh Article III standing

21    under the Constitution.      The Supreme Court in 2013 in a case

22    called Clapper said, no, you are going to have to show more

23    than that.

24                And that inability to make a reasonable presumption

25    is what keeps the plaintiffs from showing the existence clearly

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1     of subject matter jurisdiction in this case.          It is also --

2     they are barred by the Eleventh Amendment because this is an

3     official capacity suit to control the state's discretion.         They

4     are not saved by the three elements they would have to show

5     under ex parte Young.

6                 Further, the State Election Board -- to the extent

7     that they are asking now to say, hey, tell the State Election

8     Board -- they are going to have to rulemake to try to make this

9     work for November 6.      That gets us directly into a hornet's

10    nest of issues regarding legislative immunity where you are

11    basically telling them, you legislate, and if you don't

12    legislate the way I want to, state officials, basically the

13    next question is a contempt violation to make people legislate

14    the way this federal court wants them to or wants the court to.

15                So you can't presume standing under Article III.

16    Plaintiffs have no injury.       These are arguments that are all

17    briefed.    And I'm not going to go through every single one of

18    them, Your Honor.

19                There is no causal connection between any alleged

20    injury and any of the state's conduct.         They are unlikely to

21    have a favorable decision that will actually redress their

22    fears.

23                The plaintiffs may not manufacture standing by

24    sitting on the train tracks and waiting for the train to hit

25    them.    And, finally, we argued in the briefs -- I won't revisit

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1     this -- that the plaintiff Coalition entity lacks associational

2     standing under that body of law.

3                 Let me just hit the high points with you.         The most

4     important -- the most prominent argument, I think, that is

5     clear under the precedent, especially after 2013, is that

6     plaintiffs have no injury, in fact.        And there is no -- related

7     to that is there is no continuous, ongoing violation under the

8     ex parte Young analysis.      Because -- and it is related to why

9     there is no harm.     For a violation to exist, it makes sense

10    that you would have a harm that would be shown.          Because the

11    state -- the theory that we're before the Court on today, Your

12    Honor, is that because the state and because the particular

13    state officer disagrees with the plaintiffs' software fears --

14    that he disagrees that those are reasonable fears, just as the

15    Secretary of State before him, Karen Handel, did, just as you

16    will hear today the Secretary of State before Karen, Cathy Cox,

17    disagrees.

18                Because the state doesn't agree that the plaintiffs'

19    fears are reasonable and well-founded, their argument is, well,

20    if we disagree, we can go to court and constitutionalize that

21    disagreement, that discretionary decision.          And they then walk

22    directly into the argument that the certification by the state

23    officer that they are safe and secure to use is

24    unconstitutional.     That is the theory we're talking about.

25                And the problem with that, as I said, is that the

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1     Supreme Court has clarified in 2013 that their argument that

2     when they walk into a poll on November the 6th, 2018 -- the

3     argument that they are just fearful that their vote will not

4     count for some reason or will not be proven to count in a

5     recount or an audit thereafter if the election were contested,

6     that that is an injury.      Clapper says that is not.

7                 Secondly, we have a case that came out after 2013

8     after the Supreme Court wrote that opinion in Clapper that

9     actually deals with the DRE machines.         A federal judge in

10    Pennsylvania, Stein vs. Cortes -- this is cited in our brief.

11    The quote from that case -- it actually didn't simply say, hey,

12    we have standing.     We'll go forward.      It denied the preliminary

13    injunction.    But it also said this, plaintiffs' allegation that

14    voting machines may be hackable and the seemingly rhetorical

15    question they pose respecting the accuracy of the vote count

16    simply do not constitute injury-in-fact.         That is a 2016 case.

17    We would ask the Court to agree.

18                I'm also going to talk about the fact that they can't

19    assume the risk here.      They have a free and unrestricted right.

20    You didn't have this several years ago.         But they have a free

21    and unrestricted right to vote absentee.         And if they want a

22    paper ballot, they can -- it appears that Ms. Curling made a

23    mistake in how she sent her paper ballot in.          Of course, that

24    is regrettable.     But that is something that the voters are

25    expected to do for themselves.

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1                 You can't manufacture standing nearly by inflicting

2     harm on yourself based on a fear of a hypothetical future harm.

3     You can't parlay a future hypothetical harm into a real harm by

4     simply saying, well, I'm not going to take the unrestricted

5     right to file a paper ballot.       That doesn't work under Clapper.

6     And the Supreme Court of Georgia in a DRE machine case in

7     Favorito vs. Handel said exactly the same thing in a unanimous

8     opinion of the Supreme Court of Georgia.

9                 Here is why their claims are barred by the Eleventh

10    Amendment and not saved by ex parte Young.          If you look at

11    Lathrop vs. Deal -- it came down last year in 2017 -- sovereign

12    immunity would bar these claims for injunctive relief because

13    of a law they allege -- that plaintiffs allege to be

14    unconstitutional.

15                And if you look at the Seminole Tribe case that went

16    from this circuit court in the Eleventh Circuit to the Supreme

17    Court of the United States, the Eleventh Amendment also serves

18    to avoid the indignity of subjecting a state to the coercive

19    process of judicial tribunals at the instance of private

20    parties.

21                Here is why they are not saved by the exception, the

22    three elements they have to meet, under ex parte Young.           The

23    Young exception is not available --

24                THE COURT:    How are you doing on your time?

25                MR. SALTER:    8:05.

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1                 THE COURT:    All right.    I just wanted --

2                 MR. SALTER:    I'm going to cite the same case that

3     Ms. Chapple -- I'm sorry.       Excuse me -- that Ms. Bentrott just

4     cited -- Jane cited.      And that is Idaho vs. The Tribe of Idaho.

5     That exception is unavailable when the relief it sought would

6     upset the balance of federal and state interest that it

7     embodies.

8                 If you have -- if you want -- can I switch real

9     quick, Amy, to the ELMO?

10                Look -- on the preclusion issue, look at the order.

11    If it is not in the record, we can put it in there.           But the

12    Curling vs. Kemp case -- I want to correct something that my

13    brother of the bar said on behalf of the Coalition

14    plaintiffs -- that Mr. McGuire said.         That case was not

15    dismissed at their instance.

16                It was dismissed in June -- the emergency motion was

17    denied, and the complaint is dismissed.         It was dismissed

18    because the Court cannot adopt plaintiffs' conclusion that

19    Georgia's DRE voting equipment and its related voting system

20    are unsafe, inaccurate, and impracticable within the meaning of

21    the statute.    Plaintiffs have failed to demonstrate any

22    concrete harm.

23                It went on to hold -- and so that harm -- now,

24    listen, this was at a different election granted.           They were

25    trying on the eve of election in spring of 2017.           But they were

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1     arguing the same exact theory.        And the Court said, you don't

2     have -- you haven't shown a harm.        Then it said you have got --

3     we have sovereign immunity here that is at issue there.

4                 If we can switch back real quick, Ms. Amy, and I'll

5     wind up.

6                 So that is why they are not saved.        The last thing

7     I'll point out is they are starting this Court, Your Honor,

8     down a road.    Both of their injunctions depend on just saying,

9     well, just rulemake to make this elephant have wings and fly.

10    We'll take away the machines.       Leave us with no system that is

11    workable for November the 6th.        But the SEB, they can rulemake

12    to make this all work with the implicit thing that they are

13    going to come back and say, well, if they don't rulemake the

14    right way, you can hold them in contempt.

15                That is why you have legislative immunity according

16    to the Eleventh Circuit.      We have cited a case on that.

17                With that, I'll hush, Judge, unless you have any

18    questions.

19                THE COURT:    Not at this moment.     Thank you.

20                MR. SALTER:    Thank you, Judge.

21                MS. BURWELL:    Your Honor, Fulton County joins in the

22    state's standing argument.

23                THE COURT:    Thank you.

24                MR. McGUIRE:    Your Honor, Robert McGuire just very

25    briefly to rebut some of these points.         So first of all --

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1                 MR. SALTER:    I'll object.    I don't want -- I don't

2     know if they want to do that as part of the preliminary

3     injunction.    But we need to stay on track.        It is our motion to

4     dismiss.    So I just make that note.      If they want to take us on

5     to the preliminary injunction presentation, I have no

6     objection.

7                 THE COURT:    I allowed him -- he had 25 seconds and

8     one minute.    We're going to spend more time discussing it.

9     So --

10                                    ARGUMENT

11                MR. McGUIRE:    So in a case for prospective relief --

12    injunctive prospective relief, the test is whether there is

13    substantial risk.     That is the test to determine whether there

14    is a substantial risk of future injury.         And the distinction

15    between the Clapper case where it was not certain that the

16    voters -- that the people complaining would be surveilled is

17    different from this case where it is certain that the

18    plaintiffs are going to vote and be exposed to some substantial

19    risk.   So that is the difference.       Clapper does not apply to

20    this case.    It does not control this case.

21                Mr. Salter pointed out that the order in Curling One

22    said that the complaint was dismissed.         That is correct.   But

23    there was no judgment.      And a judgment is required for a final

24    judgment on the merits.      There has -- a final judgment -- you

25    can't appeal an order.      You can't appeal it unless there is a

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1     judgment.    There was no judgment.

2                 And so the plaintiffs dismissed it.        And to the

3     extent he wants to put the order in the record, we can also put

4     the notice of dismissal in the record that terminated the case.

5     That was a voluntarily dismissal.

6                 And, finally, his point under the Lathrop case that

7     sovereign immunity bars claims against the state, that is

8     beside the point because the essence of the doctrine of ex

9     parte Young is that an official of the state who is acting

10    unconstitutionally, who is sued in his official capacity or her

11    official capacity, isn't the state.        They are being sued --

12    they are acting outside of their authority because they are

13    doing something unconstitutional.        And therefore the Eleventh

14    Amendment immunity that the state benefits from doesn't apply

15    to that official for a prospective injunctive relief suit.

16                And that is my time.

17                THE COURT:    Thank you.

18                MS. BENTROTT:    Nothing further, Your Honor.

19                THE COURT:    All right.    Thank you.    First of all, for

20    purposes of moving forward here efficiently, I'm going to say I

21    am -- will not address the res judicata or collateral estoppel

22    arguments because I think that those can be properly handled in

23    the order.    And I expect to issue an order on Friday or on

24    Monday.    And I think that the real threshold issue is do I have

25    jurisdiction to hear this at all --

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1                 And I have considered the arguments made by the state

2     defendants and Fulton County who argue that there is not a

3     basis for standing and there is not a basis for jurisdiction

4     and that the Eleventh Amendment bars plaintiffs' federal

5     claims, particularly against the state defendants.

6                 As to standing, I find that the plaintiffs have

7     sufficiently alleged the elements of standing.          Specifically

8     they have alleged facts that plausibly show that they have --

9     that they will suffer injury-in-fact and have and that there is

10    at least reasonable allegations of a causal link between the

11    defendants' challenged conduct and the plaintiffs' injury here

12    and that the requested injunctive relief, if ultimately

13    granted, would redress the plaintiff' injury.

14                That is not to say that all of those things will end

15    up panning out.     But for purposes of making the determination

16    that I have jurisdiction, I think it is sufficient.

17                As to the Eleventh Amendment immunity issue, the

18    Court finds that this is a classic ex parte Young case.

19    Plaintiffs are only seeking prospective injunctive relief

20    against state officials and county officials.          Thus the ex

21    parte exception applies so that the plaintiffs' federal claims

22    are not barred by the Eleventh Amendment.

23                I understand the argument being made about Clapper.

24    I think the allegations here are far more detailed, far more

25    factually based, and also the motions for preliminary

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1     injunction shore that up.       I understand well that there are a

2     host of cases that have dealt with DREs in the past.              And that

3     is the voting machine here.       Though not all of them dealt with

4     software issues and some of the complex issues that have now

5     been presented to the Court.

6                 The reality is times change, and it is not because we

7     have a different view of what -- sometimes we have a different

8     view of what the law is.      Sometimes the facts have changed, and

9     we are in a rapidly changing time as to the issues and

10    assessment of what it means to essentially have a system that

11    is vulnerable to being hacked and, in fact, likely to --

12    potentially likely to have been hacked.

13                The type of evidence that is presently before the

14    Court or at least the allegations are far more substantive and

15    material and different even than what was in front of the court

16    in 2017.    Not to mention that it was a different -- we're not

17    talking about retroactive relief guided towards the Sixth

18    District, which was involved in the case in superior court in

19    2017.

20                So I do think that the concerns in Clapper are real.

21    But I think that the allegations of the complaint and the

22    evidence that has been submitted in connection with the

23    allegations of the complaint are at least sufficient for me to

24    assert jurisdiction for purposes of holding this hearing and

25    considering the preliminary injunction.

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1                 And I will elaborate on that more fully again in an

2     order to be issued.      But given the volume of paper that has

3     been submitted, I have just simply tried to -- we'll move

4     forward and hear the preliminary injunction based on that

5     determination.

6                 All right.    It is the motion of the plaintiff.        So

7     I'll hear opening arguments on the motion for preliminary

8     injunction.    And please remember at this point that I -- even

9     though I would expect those who are members of the public

10    haven't heard your arguments in full, I have read your briefs

11    in full.    So this is -- while I know many who attended -- who

12    have requested to come thought this might be a public meeting

13    as opposed to a court hearing, it is not a public meeting.

14                So, you know, the most important thing is I get -- I

15    get helped in hearing this as to the arguments.          The evidence

16    is something else.     We'll address that later.       Thank you.

17                              OPENING STATEMENT

18                MR. CROSS:    Your Honor, David Cross on behalf of the

19    Curling plaintiffs.      Good morning.    I'm going to start and then

20    I'm going to hand it off to my colleague, Mr. Manoso, within

21    the time that we have.      And the Coalition plaintiffs and our

22    group have split this up within the time allotted.

23                Your Honor, the legal issues in this case that Your

24    Honor is going to have to decide on the preliminary injunction

25    essentially boil down, we submit, to two fundamental questions.

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1     This case turns on two questions.        The first is, do the

2     circumstances involving the current DRE-based system constitute

3     a deprivation of a constitutional right?

4                 We submit in light of the showing from our side in

5     terms of expert testimony and extensive other findings

6     regarding these machines and vulnerabilities -- and we'll talk

7     through that today -- and the absolute dearth of evidence from

8     the defendants to defend this system the only answer the Court

9     can reach to that question is yes, which means the only

10    question before the Court today is the second, which is what is

11    the appropriate remedy.      Not is there a remedy, whether there

12    will be a remedy, but what is it.

13                The remedy that we have proposed is paper ballots at

14    the polls throughout early voting and on the election day with

15    at least some measure -- additional measure for folks who are

16    disabled who can't do that and then some sort of appropriate

17    audit.   We will talk through all that today.         And to be clear,

18    the paper ballots should be the ballot of record --

19                The reality is that Georgia has been frozen in time

20    for the last 16 years and as a result has been left behind by

21    virtually every other state in the country with respect to how

22    elections are run today.

23                The Supreme Court has repeatedly emphasized that the

24    right to vote is sacrosanct.       And I want to be clear about

25    something here, Your Honor.       It is not just the right to cast a

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1     ballot but also the right to have them counted.          And the only

2     thing that Georgia -- that the Secretary of State and the

3     defendants can point to today that is possibly guaranteed to

4     Georgia voters is the right to cast a ballot.          Once that ballot

5     has gone into the ether, no one knows whether it is accurately

6     recorded because it simply cannot be verified and the system is

7     inherently vulnerable as we will show today.

8                 Confidence, the Supreme Court has also emphasized,

9     Your Honor, is essential to the functioning of our

10    participatory democracy, Your Honor.         So even eroding

11    confidence constitutes harm.       And given what we know from the

12    U.S. intelligence community today about the ongoing efforts to

13    hack these sorts of systems, voters cannot have confidence in

14    this system in the State of Georgia.

15                It is difficult to understand how the Secretary of

16    State and Fulton County can come before the Court, along with

17    the State Election Board, and claim that we are paranoid, that

18    our concerns are hypothetical because it flies in the face of

19    everything that we hear almost on a daily basis about Russia's

20    and others' efforts to interfere in the election.

21                The director of national intelligence characterizes

22    it as ongoing and pervasive efforts to undermine our democracy.

23                       (A videotape was played for the Judge.)

24                MR. CROSS:    The directer of DHS, what is the target

25    of our enemies?     It is our elections, fair elections.          It is

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1     very specific what they are targeting, Your Honor.           The head of

2     the FBI says that this is a threat we need to take extremely

3     seriously to tackle and respond with fierce determination and

4     focus.

5                 The Secretary of State who is entrusted with this

6     vote -- with this system here has literally done nothing.          And

7     we will talk through the specifics of that today, Your Honor.

8                 And let's just be clear about some specific facts.

9     Because when they say our concerns are hypothetical, again it

10    flies in the face of the facts.        We learned over the summer

11    from Bob Mueller's investigation that sophisticated Russian

12    hackers were visiting websites for the purpose of trying to

13    infiltrate elections here, specifically in the State of

14    Georgia.    At least one state -- it wasn't Georgia -- but at

15    least in one state they actually accessed the registration

16    database.

17                The timing of this is important.        This is October 28

18    of 2016.    Here is why that timing matters.        Because Logan Lamb,

19    respected cybersecurity researcher, found in August of 2016,

20    one month before Russian hackers were trying to get into the

21    election system here, that that election system was vulnerable

22    to hackers.

23                What you will find also is that six months later

24    after he had warned the state that same system was still open

25    to hackers.    So in the same exact time that we know Russian

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1     hackers were trying to infiltrate the system here, it was

2     exposed to those hackers, Your Honor.

3                 And tellingly, even though the defendants had an

4     opportunity to come forward with evidence in response to our

5     preliminary injunction motion and to assure the Court and the

6     State of Georgia voters that they have done the forensic

7     analysis to determine whether this system was compromised, it

8     is crickets.    There is not a single cybersecurity expert on

9     their side of the room.

10                And you know what is interesting about that, Your

11    Honor, is there is one cybersecurity expert that the state

12    apparently respects because Secretary Kemp put a professor at

13    Georgia Tech, Wenke Lee, on the SAFE Commission.           He is the

14    only cybersecurity expert on that commission.

15                And you're going to learn today, Your Honor, that he

16    recently gave a presentation that is entirely consistent with

17    all of our warnings and recommends the very same proposed

18    relief that we recommend.       So it comes as little surprise that

19    they couldn't find any cybersecurity expert to refute the

20    showing that we have made.

21                Ultimately what this means, Your Honor, is that the

22    right to vote in the State of Georgia is illusory.           As one of

23    my clients once said, it is akin to whispering your vote to

24    someone behind a curtain and just hoping they write it down and

25    count it as you intended.       That is all that voters can take

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1     away at the end of the day.

2                 What the state says publicly is that the system

3     remains accurate and secure.       They seek to assure voters of

4     that.   And I don't think it can be overstated how disturbing

5     those representations are when given the opportunity in the

6     course of this case they have not come forward with a single

7     bit of evidence to support that representation.

8                 Their entire defense in response to our preliminary

9     injunction motion is this.       They simply attack our relief.

10    They say paper ballots in August are just going to be too hard,

11    take too much time and too much money.         But they are utterly

12    silent on the vulnerabilities that rise to the level of

13    constitutional deprivation, and they should not continue to

14    defend a system publicly that they cannot defend in court.

15                That then leaves us, Your Honor, where I began.       The

16    only question remaining before this Court is whether relief is

17    required -- I'm sorry -- not whether relief is required but

18    what relief is required.

19                With that, I'll hand it off to Mr. Manuso.

20                              OPENING STATEMENT

21                MR. MANUSO:    Never give the boss the clicker.

22                Thank you, Your Honor.      This is Rob Manuso also for

23    the Curling plaintiffs.      I would like to walk the Court through

24    briefly the issues of the public interest and whether the

25    change set forth in our proposed relief is feasible.

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1                 Our proposed relief is feasible in the time allotted.

2     And, in fact, it is necessary to promote the public interest.

3     One of the things that is ignored in the defendants' papers is

4     that paper ballots are already in the fabric of the current

5     Georgia voting system.      Our proposed relief simply makes them a

6     much sturdier foundation than the current DREs.

7                 The Georgia legislature recognized that there might

8     be times when the DREs fail.       In these instances, paper is

9     established as the backup.       We cited to several provisions in

10    our briefs that show when any voting equipment, including the

11    DREs, is impossible or impracticable the solution is the use of

12    paper ballots.

13                The statute specifically referenced DRE units

14    malfunctioning or another emergency situation that calls for

15    their use.    Clearly, Your Honor, given the uncontested evidence

16    regarding the vulnerabilities, given the inability of the state

17    to solve them, the use of DREs is currently impracticable at

18    least at a minimum.      And so the statutes already provide a

19    framework for the relief that we seek.

20                Those ballots are taken.      They are counted.       They are

21    secured.    And the votes are counted on a paper ballot.           These

22    are just two examples of the way in which paper is already in

23    use providing the framework for our proposed relief.              This also

24    includes mail-in absentee ballots, which are currently done

25    using the optical scanners that are part of our proposed

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1     relief.

2                 And in addition, the optical scanning statutory

3     provisions that were on the books before the use of the DREs

4     are still on the books.      They were never repealed, and they

5     give all the details necessary to use optical scanners down to

6     how you tabulate the vote and stick the optical scanned ballot

7     for scanning.     So we believe the procedures are in place, Your

8     Honor.

9                 We also believe that Georgia has the resources.         One

10    of the things that is missing from their brief is any analysis

11    of the cost savings or the cost exchange by not having to use a

12    DRE system.

13                As the defendants noted in their papers, there are

14    over 28,000 DREs:     28,000 computers that need to be set up,

15    loaded, tested, maintained, and like all computers eventually

16    fixed when problems inevitably arise.         The defendants have

17    given us no benchmark from which we could truly evaluate

18    whether the proposal -- our requested relief is actually going

19    to be more expensive.

20                In addition, there is no mention of the fact that the

21    federal government has specifically allotted resources for the

22    use of securing elections.       As you will hear later today, Your

23    Honor, in just July of this year, Georgia finally requested

24    over $10 million specifically for the purpose of securing

25    elections.    You will also hear testimony that the resources are

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1     there for the state in order to do this in a timely fashion.

2                 On that note, we also believe that the state has

3     time.   As you will hear today, several of the biggest counties

4     that would have the most to do have not even begun training of

5     their election workers.      Again, those election workers already

6     have the procedures in place to use paper ballots because of

7     the statutory provisions I just referred to.

8                 At the end of the day, Your Honor, it might be that

9     there are some added costs to this process.          And it might be

10    that there are some time constraints we are bumping up against.

11    But we submit, Your Honor, that you have to look at both sides

12    of the scale.

13                Any burden on the part of the state and any potential

14    burden that they may incur in making this change are far

15    outweighed by the harm to the plaintiffs and other Georgia

16    voters if we simply resign ourselves to the status quo for

17    another election.

18                Mr. Cross already talked to you about the dilution of

19    the individual right to vote.       It doesn't matter whether their

20    specific vote was counted or altered.         If their candidate -- if

21    their chosen candidate is no longer a successful candidate

22    because of interference, their right was infringed in just the

23    same way.    And, of course, Mr. Cross also talked about the loss

24    of voter confidence.

25                On the other side of the equation, Your Honor, you

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1     have the burdens that were set forth by the defendants.           The

2     cost, which we cited numerous cases that found the mere cost of

3     implementing a change, that doesn't mean that the change should

4     be implemented.     The same thing goes for time.       I offer to this

5     Court from the Fourth Circuit that a tight time frame before an

6     election does not diminish the right to vote because that

7     vote -- that right is fundamental.

8                 Ultimately there may be a voter or a poll worker who

9     makes a mistake.     As the defendants' papers readily admitted,

10    there is going to be human error as long as there are

11    elections.    Our position -- our proposed relief is simply that

12    it is better to have inadvertent error than intentional

13    interference, Your Honor.

14                I'm happy to answer any questions.

15                THE COURT:    I think we'll just move on for now.

16    Thank you.

17                              OPENING STATEMENT

18                MR. BROWN:    Your Honor, Bruce Brown for the Coalition

19    plaintiffs.    Given the excellent presentation by Mr. Manuso and

20    Mr. Cross, I will keep my remarks very brief and save the rest

21    of my time for rebuttal.      I did want to drill down on one issue

22    involving state law first.

23                Because when the Georgia legislature has spoken, it

24    sets forth certain understandings about how the law is to be

25    followed.    And it also informs the administration of the law.

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1     As a federal court, you, of course, are not bound by state law.

2     And if the plaintiffs assert a constitutional right that is

3     being infringed by the enforcement of state law, of course,

4     state law must give way.

5                 But we think it is significant nevertheless that

6     state law here provides the remedy if the DRE machines are

7     found to be impossible or impracticable.         Now, what does

8     impracticable mean?      Impracticable means that they do not do

9     what they are supposed to do.       And if DRE machines are proven

10    to be unreliable and untrustworthy, as we believe they have

11    proven to be, then they are manifestly impracticable.             And

12    therefore the relief that we are seeking fits hand in glove

13    into the entire administration of the election machinery that

14    the Georgia legislature has provided.

15                Now, as I said, as a federal court, that is not a

16    dominating consideration.       But in terms of the public interest

17    and also in the balancing of the equities, the fact that the

18    relief we are seeking is exactly what the Georgia statute

19    contemplates is significant.

20                Given the overwhelming amount of evidence that these

21    systems are unreliable, the state -- and as Mr. Cross

22    mentioned, the crickets you hear from the other side in

23    response to that -- you will hear after we get through some of

24    the noise the basic response is, okay, okay, it is broken, but

25    we'll fix it later.      That is what the state is saying.

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1                 And, Your Honor, when anyone says it is broken but

2     we'll fix it later, what they are doing is they are measuring

3     the chance of something really bad happening and they are

4     measuring the resulting harm.       If I get a recall for my car

5     because the tires might explode, I can make one or two

6     decisions.    I can put my kids in the back, drive for a month,

7     and hope nothing happens.       The cargo, what you are carrying,

8     and the risk tells us what we're supposed to do.           And here

9     everyone who knows the risk and what is at stake says change it

10    now.   Don't change it for next year's election.         But change it

11    now.

12                Most recently -- and we have put this in the record

13    over the weekend because it just came in several days ago -- as

14    Your Honor is aware, the National Academy of Sciences was

15    established by President Lincoln in 1861 as the authority that

16    the United States Government goes to when they have a technical

17    or a scientific question.

18                Two years ago, the National Academy of Sciences was

19    assigned the important task of looking at election security.

20    They came out with their report just last week.          And in their

21    report -- and importantly, it is what is called a consensus

22    report, which means their entire staff of experts agrees.

23                In their consensus report -- and this is attached to

24    the supplemental declaration of Rich DeMillo, which was filed

25    on Friday or Saturday.      In the consensus report, the National

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1     Academy of Sciences in this 100-page report says that states

2     should use paper ballots.       They should take every available --

3     every effort to replace the electronic machines with paper

4     ballots.    And then they say before the 2018 election.

5                 The National Academy of Sciences has a calendar.       It

6     knows that the 2018 election is however many weeks away.          Still

7     given that deadline, they have told us to take every effort to

8     get rid of those DRE machines and replace them with paper

9     ballots.

10                Your Honor, there will be a lot said about the

11    particular type of relief that we're requesting in this case.

12    In our motion, as is proper under Rule 65, we have done the

13    best we can in charting out in the proposed order exactly the

14    kind of relief that we think would be effective and sensible.

15                We have also tried to balance the various interests

16    that go into fashioning equitable relief.         On the one hand, if

17    the order is too vague, it doesn't give the defendants fair

18    notice of what is in contempt.        On the other hand, particularly

19    when there is a state agency involved, if it is too specific,

20    it might encroach upon their discretion and their judgment and

21    exactly how they want to effectuate the relief.

22                Your Honor, in case after case, the federal courts

23    and the Supreme Court have said once there is a constitutional

24    violation found, a United States District Court has vast

25    discretion in fashioning flexible, practical, effective relief.

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1     It is practical.

2                 In a case just several years ago, the Supreme Court

3     said flexibility is the heart of injunctive relief in federal

4     court.    And so today we would respectfully request that at the

5     conclusion of the evidence we will have closing arguments.         And

6     we would be welcome to questions and exchanges with the state

7     in ways that the Court could fashion effective relief

8     immediately that would balance all the interests involved.

9                 Thank you, Your Honor.      I'll reserve the rest of my

10    time for rebuttal.

11                MR. SALTER:    Ms. Amy, could you switch over.

12                              OPENING STATEMENT

13                MR. SALTER:    May it please the Court.      Judge, let me

14    start with this is the target they started you with back in the

15    spring.    Their statement -- the plaintiffs stated to the Court

16    that immediate conversion to paper ballots can be accomplished

17    easily, their word, for November's elections, quote, without

18    any new equipment, software, significant poll worker training,

19    or additional funding.

20                We expect the evidence to show today that that is

21    completely untrue and incorrect.        There are approximately -- I

22    think the evidence will show.       This is not to the penny.     But

23    this is my approximate figure.        There are -- we think there are

24    2365 polling places on a given election date.          We expect that

25    would decrease if your order were entered, certainly as to

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1     early voting.

2                 I think the evidence will show -- and I'll let

3     Fulton's witness describe this.        I think the evidence would

4     show that early voting would be catastrophically impacted by an

5     order like this.

6                 There are approximately 12,000 to 20,000 poll workers

7     for each election day.      That poll worker training is scheduled

8     to begin in most counties, I think if not this week, next.          How

9     do you train poll workers if you don't know what the rules

10    would be?    We have approximately ten percent of voters under a

11    normal election historically who vote by a paper ballot --

12    absentee ballot, paper.      We would go to 90 percent on that in

13    less than two months' time.

14                We have approximately 6.8 million registered voters,

15    active and inactive.      Approximately -- let's call it less

16    than -- let's call it about 46 percent of that will turn out,

17    but you are talking about 3 million votes.

18                THE COURT:    I have seen these numbers before.       Remind

19    me if you have an exhibit with this.

20                MR. SALTER:    I don't.

21                THE COURT:    All right.    If you would, provide it.

22    Thank you.

23                MR. SALTER:    These are largely county executed

24    events, Judge.     There is one county present before Your Honor,

25    as you know.    There are 158 others.      Voters are registered in

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1     their county of residence.       They vote and have their votes

2     counted in their county.      These are all updated from the county

3     to the state.     And the county elections officials determine

4     ultimately the validity of the ballots and the votes cast.

5                 There are several different ways to vote in Georgia.

6     The most ones -- you know, absentee by mail with paper ballot

7     before election day, advance in-person election day on a DRE.

8     And then there are special circumstances I won't get into.

9                 We cannot predict in good faith, Judge, how an order

10    like they are -- the plaintiffs are contemplating would affect

11    these between now and November the 6th and certainly for early

12    voting that begins before that.

13                Let's talk a little bit about the system just to

14    orient you.    It is not just they are DRE machines.         We use

15    ExpressPoll scanners to populate and figure out who is going to

16    get what kind of a ballot.       We have a voter access card that is

17    that yellow card that you see.        You have -- this is what the

18    units -- I think there is one in the courtroom.

19                This is what the DRE machine component of the system

20    looks like.    DRE machines are not just -- it is not -- that is

21    not the system.     The system is everything.       It is also physical

22    security.    It is how these things are secure.        It is how they

23    are placed under lock and key, yes, at warehouses with

24    surveillance cameras; how we train poll workers to watch people

25    and how they -- so they don't insert something into the

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1     machine.    It is all of those things.

2                 Here is an optical scanner that you will hear about.

3     You will hear today why Georgia was designed back in 2001 to be

4     not heavily dependent on optical scanners.          You will hear why

5     Georgia does not have high capacity optical scanning machines.

6     You will hear the explanation for that.

7                 You will hear why this is not a feasible solution to

8     run an election off of a primarily or 100 percent paper ballot

9     environment through the 800-something machines we have for what

10    we would anticipate to be approximately 3 million paper

11    ballots.

12                You will hear the testimony and you have seen -- the

13    testimony is unrebutted on the declarations.          We only have 800

14    machines.    That is inadequate.      It is grossly inadequate to

15    think we could run a paper election off of 800 optical scanning

16    machines.    And that is unrebutted.

17                Their plans are to use optical scanners and, failing

18    that, hand tabulation of this total expected volume.

19                THE COURT:    Just in fairness, what they say is you

20    can either buy or rent additional scanners.          So I'm not going

21    to quibble about it.      But it is not that they have said -- not

22    rebutted it.    They just simply said there is a method of --

23                MR. SALTER:    If you look at one -- and pardon me.

24    Because we have got two different injunctions.          One of their

25    proposals has been amended twice.        I will point out that there

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1     are several layers of this problem.

2                 One is there aren't enough optical scanners.           Two is

3     we can't procure them in time.        Where does that leave you?

4     That leaves you with hand tabulation.         That is a very, very

5     real -- because we don't have any other regime to go to.

6                 One thing that I don't think my friends from up north

7     realize.    In 2001 or in 2000, we did not have a uniform system.

8     There is no legacy uniform system to fall back upon.              The first

9     time we had uniformity in the State of Georgia regarding a

10    voting -- a true voting system was 2002 when this joker lost

11    his election.     That was the first time.

12                Before that, you had four --

13                THE COURT:    Are you sure you are not changing sides?

14                MR. BARNES:    Yeah.   I believe I lost that one all by

15    myself, Judge.

16                MR. SALTER:    We had four different systems in 2000,

17    Judge.   You will hear evidence of that.        You will hear evidence

18    that that is why it makes it so impossible to say, well, we'll

19    just put this on the State Election Board and they will

20    rulemake it away and make it all right.

21                Their idea -- they said this in their briefs.           They

22    said, listen, Maryland did this in one year.          You know -- you

23    have seen now in the briefing that is incorrect.           The State of

24    Maryland has 24 counties.       We have 159.    It is a smaller state.

25    They said Maryland is the centerpiece for how you can do this.

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1     They don't need all this time.        We can do this for November.

2                 It actually took Maryland -- the state, they started

3     in 2008.    They didn't finish until 2016.       It took them tens of

4     millions of dollars.      And the implementation was actually

5     postponed in 2010 because they couldn't find the money.             They

6     had to go back to their general assembly and say, we need more

7     money to budget this migration away from the DRE machines to a

8     paper ballot environment.       That is the reality of what we're

9     contemplating here.

10                THE COURT:    Although that was in the middle of the

11    financial crisis, and there wasn't extra money.

12                MR. SALTER:    Your Honor, this took eight years.

13                THE COURT:    I know.   Right.    I understand.       Just

14    about the --

15                MR. SALTER:    Let's talk a little bit about laches.

16    That is one of the arguments we made in terms of the

17    preliminary injunction issue for the relief sought.

18                With modifications and improvements, DRE machines

19    have been used in Georgia since 2002.         The Curling plaintiffs

20    and the Coalition tried an injunction in front of the Honorable

21    Kim Adams -- Kimberly Adams in 2017.         You have heard about

22    that.

23                This Court set -- then set an emergency schedule.

24    They came to federal court.       Your Honor said, well, I'm going

25    to move heaven and earth to get you an emergency hearing before

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1     the election of last year.       You gave them a hearing -- a

2     deadline to file a preliminary injunction for September 1 of

3     last year.    And they let it go.

4                 And the Court told the plaintiffs in here in this

5     courtroom back in May, quote, I will reiterate again that it

6     would be in my mind virtually impossible to have a trial before

7     the November election in time to do anything with that.           And

8     they still sat on their hands until last month.

9                 Preliminary injunctions will be against the -- a

10    preliminary injunction here would be against the public

11    interest where it would have a needlessly chaotic and

12    disruptive effect upon the electoral process.          This is a quote

13    from the Supreme Court of the United States from last June.

14                And this is that gerrymandering case -- partisan

15    gerrymandering case.      It is about how we dilute votes through

16    partisan line drawing.      You will see -- and while it is

17    important, there is no greater champion of voting rights than

18    Emmett Bondurant.     We actually worked on a voter ID case -- my

19    firm did -- with Emmett's firm.

20                And then when this -- when one of these cases went

21    back down -- it is a Common Cause one in North Carolina two

22    weeks ago -- and the Court said, change it now.          We're tired of

23    it.   We have had it.     We have decided they are

24    unconstitutional.     Change it for the November election.        Even

25    Common Cause, which actually the Georgia version gave a

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1     declaration in this case -- even Common Cause got their

2     lawyers, Emmett Bondurant and Jason Carter, who I respect, and

3     said, stop.    This is wrong.     We have a disagreement with it.

4     It is unconstitutional, but it is too close to the election to

5     do this.    And that is the responsible course here.

6                 Elements of an extraordinary and drastic remedy like

7     an injunction in this case, they have to show four things:

8     Substantial likelihood of success, irreparable harm without an

9     injunction, and that the threatened injury outweighs the

10    damage -- basically a balancing of the equities -- and that

11    they advance the public interest.

12                Their injunction is not capable of enforcement, with

13    all due respect to the Court.       A preliminary injunction to,

14    quote, come up with a plan is not specific enough and is not

15    capable of enforcement as an operative command according to the

16    Eleventh Circuit.

17                The omission of parties.      We don't have the other 158

18    county election boards before the Court.         And we can't -- we

19    can partner with the counties.        We provide the ballots.     We

20    provide -- we're supposed to provide a uniform election system

21    to the counties for their use.        But we can't control them any

22    more than the Court we think can control absent parties who

23    aren't in this courtroom.

24                There is no substantial likelihood of success.           And I

25    know the Court -- I hear what the Court is ruling.           And I

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1     respect the Court.     We disagree, and I think we'll have to go

2     up on this.

3                 But look at the past.      Favorito vs. Handel, DRE case,

4     State of Georgia, 2009, affirmed the constitutionality of this

5     DRE system.    Unanimous opinion of the Supreme Court of Georgia,

6     seven justices.

7                 Eleventh Circuit here in Atlanta, DREs without paper

8     verification are constitutional.        That is a 2006 case.

9                 Andrade, a case from the Texas courts, dismissing

10    claims for injunctive relief that were complaining, like these

11    plaintiffs are, of the Secretary of State of Texas's

12    certification saying he shouldn't certify them.

13                Schade vs. Maryland Board of Elections, 2007, the

14    year before they decided to migrate.         That held the DRE system

15    was constitutional.

16                Weber vs. Shelley, Ninth Circuit, quote, we cannot

17    say that use of paperless touchscreen voting systems restricts

18    the right to vote.

19                Stein vs. Cortes, Eastern District of Pennsylvania,

20    two years ago.     They don't even have standing to argue this.

21    But then preliminary injunction denied.

22                And, of course, the order from Judge Adams in the

23    state court below.     They can't cite a single case anywhere in

24    the country that sides with them.

25                The bottom line is the plaintiffs just disagree with

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1     the unanimous opinion of the court of the state where we are

2     sitting.    That court in that unanimous opinion in Favorito

3     said, quote, the fact that voters cannot actually see the

4     electronic record within the machine does not mean that the

5     vote is not accurately recorded or not recorded at all.

6                 THE COURT:    Now, listen, I'm very respectful of all

7     of the authority.     But I think that to then point me to

8     Favorito, a decision in 2008, which certainly is a very

9     important decision to consider -- but it doesn't help me deal

10    with the record that is being presented to me now.           And for the

11    state to say there is no difference in the world that we're

12    facing right now in data breaches and in handling -- in

13    handling the sort of threats that actually that we are hearing

14    about and which are being presented in competent evidence is

15    basically making me work in an Alice in Wonderland world.

16                I respect the judgments.      I absolutely think that all

17    of the precedent you cite are obviously extremely on my mind

18    and absolutely will be considered in terms of whether to grant

19    injunctive relief.     But it would be more helpful for me if the

20    state would grapple with what actually is also some of the

21    changes in the circumstances and not just point me to cases

22    that are older and that were not grappling with those

23    circumstances.     Because they are not saying here it is just

24    simply because you have a -- you've got an electronic system.

25    It is certainly a part of it that it can't be audited.            But we

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1     are in different circumstances.

2                 MR. SALTER:    Your Honor, what has not changed because

3     of a threat environment with Russia is that they can be

4     audited.    That is the point I'm trying to make.

5                 THE COURT:    Well, I --

6                 MR. SALTER:    I'm not trying to argue that current

7     events have changed.      Current events by definition have

8     changed.    What I'm trying to point out is the representation of

9     my friends on the other side that these things cannot be

10    audited is untrue.     And the Supreme Court of Georgia, seven

11    justices, unanimously agree that is incorrect.          It

12    fundamentally misunderstands the processes that we use in

13    Georgia as part of its election system.         That is the point.

14    You can audit these things.

15                Plaintiffs' contentions regarding the accuracy of

16    recounts are merely hypothetical.        That is what the court in

17    Georgia has said.     There is no irreparable harm here in part

18    because the Georgia voters -- if they have this fear that their

19    vote will be somehow not counted correctly, not shown on a

20    recount, then they have the option unrestricted to do -- to

21    cast a paper ballot in the form of an absentee ballot prior to

22    actual election day.

23                And what the Supreme Court of Georgia said is

24    absentee voters have not been treated differently from polling

25    place voters except in the matter permissible under the

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1     election statutes and as a result of the plaintiffs' own

2     choice.

3                 They have adequate legal remedies.        If Your Honor --

4     let's take as an example something bad happens.          There are

5     election contests.     There are recounts, both statutory and that

6     can be filed in court.      And what has happened here -- what the

7     plaintiffs initially sought is a reexamination of the system by

8     the Secretary of State and his team.         That has happened here.

9                 I respectfully disagree with my friends who get up

10    here and say and characterize this as the Secretary of State's

11    office is doing nothing, the State Election Board is doing

12    nothing.    That is incorrect.     We gave them exactly what their

13    first complaint wanted.

14                Under the statute, a statutory reexamination of the

15    system began in 2017.      We conducted a team review.       And the

16    Court knows what that found.       We'll have that certification in

17    evidence in the case.

18                That is what happened.      They just continue to

19    disagree with that decision.

20                An immediate conversion to paper ballots -- to a

21    paper ballot election for November without time to prepare will

22    damage and disable Georgia's election security.          They don't

23    have -- we argued about what is uncontroverted and all that

24    stuff.

25                But Merritt Beaver is chief information officer in

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1     the Secretary of State's office.        And what he has testified is

2     that moving to paper ballots in such an abbreviated time frame

3     could potentially damage Georgia's election security.             We have

4     many years of experience protecting the current system.            But we

5     do not have personnel that have dealt with the security

6     surrounding a paper ballot environment.

7                 While it is certainly possible to build a system to

8     adequately protect the paper ballot environment, properly doing

9     so requires the right personnel, processes, and time for

10    testing and validation.      Without each of those in place prior

11    to moving to a new system, security would be unmanageable.

12                You're going to hear -- you have in the record

13    declarations of the chief information officer, the election

14    director in the Secretary of State's office, the election

15    director of Cobb County, Gwinnett County, Muscogee County,

16    Richmond County, and Fulton County.

17                They don't have on their side a single current or

18    former elections official on their side saying, yeah, this is

19    doable, it is a good idea.       Not a single one.

20                Paper ballots are, in fact, history tells us less

21    safe and secure.     The chain of custody on what they are

22    suggesting would be a nightmare.        It is one thing to say we

23    manage ten percent of absentee ballots that come in in the

24    state.   It is another thing to say 100 percent in this time

25    frame.

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1                 Traditional paper ballots as became evident during

2     the 2000 presidential election are prone to overvotes,

3     undervotes, and -- you will hear testimony of this today --

4     hanging chads, and other mechanical and human errors that may

5     thwart voter intent.      These are not the Holy Grail of voting

6     integrity.    That is just incorrect.

7                 The plaintiffs' motions must be denied, Judge.        We

8     would ask you to do it and do it today and not in an order that

9     waits.   Mandating paper ballots now has the potential to cause

10    voter confusion, particularly when implemented at such a late

11    date in the election process.       That is our position.

12                Plaintiffs' plans for an immediate conversion are not

13    real plans at all.     They are punting the rulemaking to the SEB

14    as window dressing really just to scapegoat the state for what

15    is liable to be a mess.      And then they will blame -- they will

16    step back and say, we let the SEB rulemake it to make it all

17    right and it is their fault.

18                They cannot guarantee a secure election with a paper

19    ballot environment.      Nobody -- there is no 100 percent system.

20    And you have read all the cases that have said all this.          But

21    going to a system like this with this little time, with no time

22    to do real valid voter education, no time to actually rulemake,

23    no time to budget for, no time to procure a sufficient number

24    of optical scanning machines that would actually work, that

25    will virtually guarantee an unsafe and insecure election.

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1                 Thank you, Judge.

2                 THE COURT:    Thank you.    Would you mind sending to

3     Ms. McConochie an electronic copy of your PowerPoint.

4                 MR. SALTER:    Yes, ma'am.    I'll try to do so.      I don't

5     know if I can do it though -- are you directing me to do it

6     right now or later today?

7                 THE COURT:    Later today is fine.

8                 MR. SALTER:    Thank you, Judge.

9                 Any questions?

10                THE COURT:    Maybe if you could do it at lunchtime if

11    you have it on the computer.

12                MR. SALTER:    I will try.    Anything further?

13                THE COURT:    No, not right now.

14                              OPENING STATEMENT

15                MS. BURWELL:    Very briefly, Your Honor.       Kaye Burwell

16    on behalf of Fulton County.

17                As this Court is aware, the case law is clear that

18    the grant of injunctive relief is an extraordinary remedy that

19    requires that it only be issued in limited circumstances and

20    only where the movant has satisfied this Court through a clear

21    showing that they have carried their burden.          And in the

22    instant case, the stack of documents and declarations and

23    information provided by these plaintiffs does not carry their

24    burden.

25                That is because there is no real evidence of

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1     irreparable harm.     There is an argument that there is a risk

2     that exists.    But there is no evidence that that risk has

3     actually been realized.      And the Court understands that

4     establishing a risk of irreparable harm is not enough.

5     Plaintiffs have the burden of proving that immediate injury.

6     And here they can't do that.

7                 As Mr. Salter said, the evidence is undisputed that

8     every plaintiff with the right to vote in Georgia has the

9     ability to vote via absentee ballot.         They can vote a paper

10    ballot.    They have the right to choose that and can.

11                THE COURT:    If you ended up having 10,000 more people

12    voting in Fulton County, Fulton County would be prepared right

13    now?

14                MS. BURWELL:    Your Honor, Fulton County -- if 10,000

15    people because generally --

16                THE COURT:    More than the norm.     Not 10,000 as a

17    whole.    But 10,000 more than the norm.

18                MS. BURWELL:    Well, I think 10,000 more they could --

19    Fulton County has 752,000 registered voters.          And so for this

20    Court to say that in less than two months there needs to be

21    processes put in place to allow for paper balloting for all

22    752,000 is unreasonable and untenable.

23                You will hear from Mr. Barron.       And when the Court

24    thinks about statewide the number of voters that would need

25    paper ballots if the Court were to grant the relief sought by

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1     these plaintiffs, it is exponentially more than 752,000.

2                 And the Court needs to keep in mind that the Eleventh

3     Circuit has made clear that a plaintiff that is seeking

4     injunctive relief has to do more than just assert a

5     constitutional violation or a risk.        The threat can't be remote

6     or speculative.     It has to be real and immediate.

7                 And what we have here is a lack of evidence that it

8     is real and immediate.      All we have is the potential risk.

9     There is no evidence in anything that the plaintiffs have

10    provided this Court that shows any hacking took place, that any

11    machine has been tampered with.        There is only the allegation

12    that it is possible.

13                Mr. Salter talked to the Court about the fact that

14    plaintiffs have unreasonably delayed in bringing this

15    preliminary injunction.      And it is important for the Court to

16    know that an unreasonable delay in and of itself negates the

17    presumption of irreparable harm.

18                Courts have recognized that claims against election

19    procedures have to be expressed expeditiously.          And a delay in

20    preliminary injunction suggests that the status quo does not

21    irreparably damage the moving party.

22                Plaintiffs have waited over a year to file this

23    motion from -- they filed this case in July of 2017 and didn't

24    file for preliminary injunction until 2018.          And because of the

25    previous lawsuit in 2017, these plaintiffs recognize all of the

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1     administrative hurdles that go into a fair election process.

2     And they understand that what they are seeking would benefit

3     them.   But it would not benefit Fulton County.         It would not

4     benefit the voting public.       It would not benefit the citizens.

5     It would not benefit the taxpayers.

6                 And so the rights and burdens on the non-movants

7     greatly exceeds the speculative claim of harm that these

8     plaintiffs have put forth.       You will hear testimony about the

9     administrative upheaval that would happen within the election

10    process this close to an extremely important election for

11    Georgia voters.

12                This Court is going to hear about the disruption in

13    early voting that would occur if this Court were to grant the

14    relief sought by these plaintiffs.        This Court is going to hear

15    about the fact that there is not enough time and processes in

16    place for paper balloting.       There is not enough time to get

17    ballots.    There is not enough time to train people.         There is

18    not enough time to come up with processes with respect to how

19    these ballots -- if there are this many millions of paper

20    ballots, how those would be transported and reviewed and

21    counted.

22                The Court is going to hear that Fulton County does

23    not have enough optical scanners to take care of all of these

24    potential paper ballots should the Court decide to grant the

25    injunction.    And when the Court weighs the burdens on the

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1     public versus the burdens on the few plaintiffs who say they

2     want to vote paper ballots, clearly they have not met that

3     burden because they do have the right to vote on a paper

4     ballot, just as other citizens have the right to use the DRE

5     machine if that is what they choose to use.

6                 That is my time.

7                 THE COURT:    Thank you.

8                               OPENING STATEMENT

9                 MR. CROSS:    Your Honor, brief rebuttal before we call

10    our first witness.     I do have to say that I think the most

11    important thing I need to rebut is Mr. Salter's

12    characterization of lawyers from up north.          I grew up in the

13    holy city of Charleston, South Carolina, and went to school

14    with Mr. Salter's wife.      So I know he is not talking about me.

15    Let's just be clear.

16                THE COURT:    It used to be people in D.C. anyway were

17    supposed to be part of the south.        But that was maybe --

18                MR. CROSS:    Well, I have to give him D.C.       We live in

19    Virginia though.

20                Your Honor, on the delay point, I'm just going to say

21    this case has seen unusual circumstances.         Our clients lost

22    their --

23                THE COURT:    You can come up.     I was trying to get a

24    member of my staff.      But she is -- she just got confused.      Go

25    ahead.

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1                 MR. CROSS:    Our clients lost their chosen counsel.

2     Once they retained counsel, which took time particularly for a

3     case where they need pro bono counsel, we have moved as

4     expeditious as we could and have even gotten creative -- Your

5     Honor may remember the stipulation.        But the Eleventh Circuit

6     coincidentally came down with incredible timing after we worked

7     it out with the defendants.       But I just don't think laches

8     applies here at all.

9                 The poll worker training, Mr. Salter admits it hasn't

10    even begun.    But the point that gets lost when they talk about

11    this is they have to train the poll workers on paper ballots.

12    You heard from Mr. Salter and especially from Fulton County

13    that every single voter in the State of Georgia has an

14    unlimited right to vote by absentee.

15                And Your Honor hit the nail on the head when you

16    posed the possibility of what about an additional 10,000

17    voters.    Well, what if every voter in the state decides to vote

18    absentee because they don't trust the DREs?          They have said

19    that that is an absolute unlimited right that every voter has.

20    So they have got to be prepared to be able to do that.            And

21    they have got to anticipate that voters are going to come in

22    with a lot more requests for paper, even if this fails.

23                But as we have pointed out, the absentee system is

24    actually not a viable alternative.        Donna Curling is Exhibit 1.

25    She went through it, had no idea her vote didn't count until we

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1     got into this litigation.       And it is a cumbersome process.      It

2     will be far easier and far less expensive for voters and the

3     state to provide those at the polls, Your Honor.

4                 The redistricting decision, just briefly on that.

5     Mr. Salter mentioned this.       The North Carolina case where

6     Common Cause, the plaintiff, stepped back from the relief.           We

7     are nowhere in the world of redistricting.          We're talking about

8     an increased volume of providing paper in addition to what they

9     already provide, not redrawing the lines.         So it is just

10    completely inapposite, Your Honor.

11                Particularly unsettling to us also is the Secretary

12    of State is actually blocking the effort of some counties to

13    try to do this on their own.       They sent out letters to the

14    superintendents saying you cannot do this on your own.            Even

15    though the statute -- and we'll see this today.          The statute

16    actually provides a discretion for the superintendents of the

17    counties to determine whether the machines are impracticable to

18    use.

19                And why the Secretary of State would stop that is

20    difficult to understand.      And when they say we don't have any

21    county officials on our side, one, we haven't gotten discovery

22    and, two, those letters have a chilling effect on anyone in the

23    counties who might actually want to support us.

24                The election DRE cases they cite, Your Honor, only

25    briefly on that.     As Your Honor pointed out, these are largely

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1     older decisions.     Importantly when you look at the decisions

2     like the Stein case in Pennsylvania, including Curling One

3     which they talked about, these are cases that were

4     retrospective.     They were saying that we need relief for an

5     election that has already happened.

6                 It makes perfect sense that in that situation the

7     Court would expect some showing of hacking having happened in

8     the past if you are going to undo a questioned election.             The

9     whole premise of our case is let's not end up in that role.

10    That is a constitutional crisis that no one wants.           So let's

11    take reasonable measures now and head that off.

12                On the auditing, Mr. Salter says it today.            And one

13    of their declarants -- it may have been Chris Harvey -- says

14    that these machines can be audited.        Notice what is missing.

15    Facts.   Even Mr. Salter today did not offer you any explanation

16    of how to audit these machines.

17                Let me tell you why.      Because it is not an audit.

18    What they are doing is they are just going to compare the

19    electronic recording of voting in one part of the machine to

20    the electronic recording of voting in another part of the

21    machine.

22                There is no independent record.       That would be like

23    coming in and saying, we want to know if a bookkeeper is fixing

24    the books.    Well, he kept two sets of books that he made at the

25    same time with the same method.        So we'll just see if they

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1     match up.    If they are, then these books must be okay.

2                 It is absurd on its face, Your Honor.        It is not an

3     audit.   These systems cannot be verified in any fashion.

4                 The last point, Your Honor, is on the issue of harm.

5     Fulton County hit this pretty hard but had what struck me as a

6     pretty remarkable claim.      She said the risk of irreparable harm

7     is not enough.

8                 Your Honor, that is literally the standard for a

9     preliminary injunction, and we readily meet it as we will show

10    today.   Thank you.

11                THE COURT:    Would you later on at the break provide

12    me the citation with the case you are referring to on -- as to

13    the Eleventh Circuit's laches -- most recent laches decision?

14    I think that is what you were referring to.

15                MR. CROSS:    Not on laches.     It was the one that you

16    said you couldn't accept our stipulation where we were trying

17    to amend the complaint.      That is what -- because we had --

18    everybody got on board with it and then the Eleventh Circuit --

19                THE COURT:    About the parties?

20                MR. CROSS:    Yes.   Yes.

21                THE COURT:    All right.    And the claims.

22                              OPENING STATEMENT

23                MR. BROWN:    Your Honor, in the brief time that we

24    have, I'm going to hand to you, if I may approach, a timeline

25    of election security warnings.        And that is just a guide to all

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1     of the mountains of evidence showing that the state has been

2     given notice for 24 months to 10 years, depending on how you

3     look at it, that these systems need to be changed.

4                 And one of the things that I would think the evidence

5     will focus upon is that the difficulty that the state explains

6     we believe is entirely exaggerated.        But it is all from the

7     standpoint of the state staff.        It is hard for staff to do this

8     because they have got to buy scanners.         They have got to pick

9     up the phone and order scanners.        They have got to order paper

10    ballots.

11                The state is not talking about harm to the voters.

12    The voters will go to the same places.         They will go -- instead

13    of mashing a computer screen, they will get a paper ballot.

14    They will fill it out just like you fill out an SAT test,

15    except you know the answers in advance.         It is that easy.   That

16    is the only change in the voting experience.          And the cases and

17    this case is about the perspective of the voters and the rights

18    of the voters, not inconvenience to the state.

19                Moreover, Your Honor, we have -- ironically we have

20    much more confidence in the state staff than they have

21    themselves.    They can do it.     They need to have a can-do

22    attitude to get this done.

23                MR. SALTER:    I want that written down.

24                MR. BROWN:    Thank you, Your Honor.

25                THE COURT:    All right.    In the interest of time,

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1     we're going to just keep on moving.        I'm going to let -- there

2     appear to be a few seats up here.        So if -- Ms. McConochie, if

3     you would just let the security know that we have about maybe

4     four seats for somebody.

5                 If someone is just going to the restroom and they are

6     planning to come back, please indicate that to the person you

7     are sitting next to.

8                 All right.    Thank you.    There is a seat over there.

9                 MS. CHAPPLE:    Good morning, Your Honor.

10                THE COURT:    Let me just let everyone get seated.

11                How many seats are there back there now?         I don't

12    want to sound like a flight attendant stuffing people in.          But

13    I'm just trying to be accommodating.

14                MR. SALTER:    This is Mr. Halderman, Catherine?

15                MS. CHAPPLE:    It is.

16                Good morning, Your Honor.

17                THE COURT:    Good morning.

18                MS. CHAPPLE:    May we have permission to bring this

19    voting machine up?

20                THE COURT:    Yes.

21                MR. SALTER:    No objection, Judge.

22                MS. CHAPPLE:    Thank you.

23                THE WITNESS:    It might be better to plug it in.

24                       (There was a brief pause in the proceedings.)

25                MS. CHAPPLE:    Your Honor, I would like to call

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1     Professor Halderman to the stand.

2                 THE COURT:    Before he begins and since there is -- in

3     case there are any people left in the overflow courtroom, I

4     will say when we break for lunch some people may indicate they

5     are not coming back to their seats and there -- if they all

6     stay, there may be some seats because I notice some people come

7     and some people apparently stay.        So all right.

8                 COURTROOM DEPUTY CLERK:      Good morning, sir.       Please

9     raise your right hand.

10                       (Witness sworn)

11                COURTROOM DEPUTY CLERK:      Thank you.    I'm going to ask

12    you to pull up close to the microphone.         You can adjust the

13    microphone as needed.      It is very important that we all be able

14    to hear you.

15                I'm going to ask you to state your first and last

16    name again for the record, and please spell your first and last

17    name for the record.

18                THE WITNESS:    My name is Alex Halderman.       That is

19    A-L-E-X H-A-L-D-E-R-M-A-N.

20                COURTROOM DEPUTY CLERK:      Thank you.

21          Whereupon,

22                          J. ALEX HALDERMAN, PH.D.,

23          after having been first duly sworn, testified as follows:

24                               DIRECT EXAMINATION

25    BY MS. CHAPPLE:

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1     Q.    Thank you.    Professor Halderman, the Court has your

2     declaration and CV.      But could you please briefly summarize

3     your experience for the Court.

4     A.    Yes.   I'm a professor of computer science and engineering

5     at the University of Michigan and director of the Michigan

6     Center for Computer Security and Society.         I have written more

7     than 70 technical papers and peer-reviewed studies about

8     computer science and computer security topics, including

9     numerous studies of electronic voting systems used in the U.S.

10    and other countries.

11    Q.    Have you had any involvement with policymaking related to

12    election cybersecurity?

13    A.    I have.   One example is last summer I testified before the

14    U.S. Senate Select Committee on Intelligence as part of their

15    investigation into Russian interference in the 2016 election on

16    the subject of cybersecurity threats to U.S. election

17    infrastructure.

18    Q.    Since you began in the field in 2007, have views of

19    election threats changed at all?

20    A.    Yes, they certainly have.       When I began actually in 2006,

21    I started working on this while I was studying for my Ph.D. at

22    Princeton.    And back then when we were thinking about threats

23    to election systems, the main concern was, well, dishonest

24    insiders or dishonest candidates, attackers who would be

25    criminals of the usual nature.

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1           But everything changed in 2016 -- in 2016 when during the

2     presidential election the threats of interference by foreign

3     power, by nation state attackers, presented a substantially

4     different and new threat and a much more serious form of

5     attacker than we had considered previously.

6     Q.    Turning to the question today, what kind of electronic

7     voting machines are used in Georgia elections?

8     A.    Georgia uses AccuVote TS and TSx paperless electronic

9     voting machines as its primary polling place equipment.           It

10    also uses AccuVote-OS optical scanners to count the absentee

11    ballots.

12    Q.    Based on your research with the DRE machines, are they

13    vulnerable to hacking or interference?

14                MR. BARNES:    Well, Your Honor, I object.       That is a

15    general question not addressed to this state and the

16    circumstances in this case that is pending before you.

17                Does the sun come up in the east?        Yes, it does.     But

18    it may not necessarily have the same basis in Georgia as it

19    does in Michigan.     So unless he can --

20                THE COURT:    I thought the sun in Michigan and in

21    Georgia were the same myself.

22                MR. BARNES:    It comes up -- it comes up different in

23    Michigan.

24                THE COURT:    I have heard that argument intimated in

25    your papers.    And I thought, oh, my gosh, really we have

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1     nuclear physicists that are different in Georgia who are

2     dealing with our nuclear power plants here than in any other

3     place.

4                 I'm going to let her proceed.

5     Q.    (BY MS. CHAPPLE)     Okay.   Thank you.

6     A.    So --

7     Q.    The question was:     In your opinion, are the DRE machines

8     vulnerable to hacking or interference?

9     A.    Yes, I would say in my opinion they are.         And that is in

10    part because these AccuVote TS and TSx machines are the most

11    widely studied paperless electronic voting machines of any kind

12    in the world.

13          And I'm prepared -- I have done work developing

14    vulnerabilities and demonstration attacks on them myself.         I

15    have reviewed work of my peers that has demonstrated further

16    vulnerabilities.     I have even participated in security reviews

17    sponsored by a Secretary -- Secretary of State in another

18    state.

19    Q.    What machine do you have here with you today?

20    A.    This is an AccuVote TSx, one of those two machines used in

21    Georgia.

22                MS. CHAPPLE:    Your Honor, may the witness have

23    permission to step down and perform the demonstration for the

24    Court?

25                THE COURT:    Yes.   You know, you can move it back a

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1     little bit so you have some room.

2                 MR. BARNES:    Yeah.   Move it back so I can see it.

3                 THE COURT:    So just move it back there.       And that way

4     counsel can see it.

5                 And, Counsel, if you get close to there, then you are

6     going to be able to see.      It is just -- I'm flexible.

7                 I think you're going to need to move it a little bit

8     this way so I can see it.       Okay.   I've got it.

9                 Are you all right?

10                MR. BARNES:    I'm fine.

11    A.    Can everyone see?     These are unfortunately not

12    current-type screen technology.         So it is hard to see them at

13    an angle.

14          So what I'm going to demonstrate today is some of the

15    vulnerabilities that are present in these AccuVote touchscreen

16    voting machines.     And I brought with me a voting machine that

17    currently has no malicious software running on it.           It is set

18    up as a voting machine would be prior to an election.             There is

19    no election loaded on to it at all.

20          And what I'm going to show is how it is possible for an

21    attacker to spread malicious and vote-altering code to these

22    machines without having physical access to the machines used in

23    Georgia.

24          So I'll begin by taking a step that poll workers would

25    take prior to any election, which is --

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1                 THE COURT:    Give that down to him.

2     A.    -- which is to load the ballot programming on to the

3     machine.    Before every election, every electronic voting

4     machine needs to be programmed with the design of the ballot,

5     the races, the candidates, the rules of counting.

6           And in the machines used in Georgia, that programming is

7     created on a central system and then copied on to memory cards,

8     like this one I have here, and then loaded by election workers

9     into each of the machines.

10          I have prepared a demonstration in which I have created

11    malicious programming and infected this memory card with that,

12    along with a mock election.       And even though that is not

13    visible to the poll workers -- there is nothing you can

14    externally see -- that programming is going to affect the

15    behavior of the machine.

16          So I'm going to use this key to unlock the door on the

17    side of the machine.      And then I can insert the memory card.

18                MR. BARNES:    Wait just a minute.      This is by a poll

19    worker or a voter?

20                THE WITNESS:    This is a poll worker.

21                MR. BARNES:    I see.   Okay.    Go ahead.

22    A.    When the poll worker inserts the memory card prior to the

23    election, the machine loads the election.         And now it provides

24    election workers an opportunity to perform various kinds of

25    tests.

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1           We hear a lot about logic inaccuracy testing, for example.

2     I'm going to perform just a very abbreviated form of logic

3     inaccuracy testing.      I'm going to cast one test vote.         So I

4     pressed the test vote button.       No voter cards.     Okay.     It is

5     telling me the paper is low.

6           Okay.   So test vote.     And here is the special mock

7     election I prepared.      It is an election for president of the

8     United States.      And the candidates are George Washington or

9     Benedict Arnold.     And I'm going to cast a test vote for George

10    Washington.    I'm going to press the button to cast the test

11    ballot.     Okay.   The machine has thanked me for voting.        Now,

12    that is all the time I would like to take now for logic

13    inaccuracy testing.      Although we could certainly do more.

14          I'm going to have the machine print the results of the

15    logic inaccuracy test.      And this printer is used by election

16    officials to print summary tapes.        These are not a paper trail

17    in the sense that we use in the election research and practice

18    area.   This is just a total of the number of votes recorded for

19    each candidate.

20    Q.    (BY MS. CHAPPLE)     Did the voter receive a tape like that?

21                THE COURT:    Can you speak up?     The court reporter has

22    to be able to get you.

23    Q.    (BY MS. CHAPPLE)     Excuse me.    I asked whether a voter

24    would receive a tape like that.

25    A.    No.   The voter doesn't get to see this.        This is just

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1     printed by poll workers at the beginning or the end of the

2     election to summarize the totals.

3           And as you can see, Your Honor, the logic inaccuracy test

4     shows the machine is counting properly.         We have the one vote

5     registered for George Washington and zero for Benedict Arnold.

6           Now I'm going to set the machine to run the actual

7     demonstration election.      This is as poll workers would do, say,

8     on the morning of election day.        I'm going to do this by

9     pressing the set for election button.         This will clear all of

10    the votes that were entered during the tests.          And it will

11    print what is called a zero tape.        The zero tape -- the zero

12    tape is a record that shows that there were no ballots present

13    in the machine at the beginning of the election.

14          And indeed, Your Honor, there were zero ballots in the

15    machine according to the printout.        Let me just fix the paper

16    tape.   Okay.   Now we can cast some votes.       And this machine

17    just like all other TSx's requires a voter card in order to

18    authorize a vote.     I have brought the voter cards here with me.

19          So I'm going to insert a voter card authorizing one vote.

20    And we can proceed to cast the vote.         I'll cast one vote for

21    George Washington.     Now I'll insert another voter card, and we

22    can cast the second vote also for George Washington.              And now

23    we'll do one more vote.

24          Would anyone like to decide who our third vote will be?

25                THE COURT:    George Washington, of course.

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1     A.    George Washington.     All right.    One more for George

2     Washington.    All right.    We have three votes for George

3     Washington in our test.

4           Now I am going to insert a different card.         This is an

5     administrative card that poll workers can use to access

6     administrator functions.      And I'm going to put it in in order

7     to end voting and say the election is complete.          This requires

8     the poll worker to enter a PIN, which I will do.           Now we can

9     access the function to end voting.

10          Okay.   This says close the election.       Now the machine will

11    print out a record of the totals for each candidate.              This is

12    how the machine has counted up the votes, what it has

13    registered.    And we expect -- I certainly hope we'll get a

14    result that says three votes for George Washington.

15          Excuse me.    So the results that the machine has shown,

16    Your Honor -- the results the machine has produced are one vote

17    for George Washington and two votes for Benedict Arnold.

18          What has happened here is that the malware that I inserted

19    with the memory card without having pre-installed any malicious

20    software on the machine -- the malware that spread to the

21    machine through the memory card invisibly altered the records

22    of the vote to produce a fraudulent outcome.

23                MS. CHAPPLE:    Your Honor, I would like to offer into

24    evidence the three tapes.

25                THE COURT:    You've got to speak up.      All right?

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1                 MS. CHAPPLE:    Sorry.    I would like to offer --

2                 THE COURT:    Get near the microphone.      All right.

3     Thank you.

4                 MS. CHAPPLE:    Your Honor, I would like to offer into

5     evidence the three tapes as Plaintiffs' Exhibits 1 through 3.

6                 THE COURT:    Are there objections?

7                 MR. BARNES:    Yes, until I can cross him about it.

8                 THE COURT:    All right.    Well, they are conditionally

9     admitted subject to being crossed.        All right.

10                MS. CHAPPLE:    Thank you, Your Honor.

11                THE COURT:    Are we through with the machine for now?

12                THE WITNESS:    Yes, we are.

13                THE COURT:    So let's just put it a little closer to

14    me so it is not just blocking the way in case anyone needs to

15    approach you at some other point.

16                All right.    Thank you.

17                Is that going to be any problem?

18                       (There was a brief pause in the proceedings.)

19    Q.    (BY MS. CHAPPLE)     Thank you for that demonstration,

20    Professor Halderman.

21          During the demonstration, you inserted the memory card

22    with malware into the --

23                THE COURT:    If you would bring the microphone closer,

24    you won't have that same problem.        All right.    Just get it

25    closer to you.

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1                  MS. CHAPPLE:   The cord is tight.

2                  THE COURT:   The cord is tight.     All right.       Very

3     good.

4     Q.    (BY MS. CHAPPLE)      During the demonstration, you actually

5     physically inserted the memory card with malware into the

6     machine.     Would an attacker need physical access to the machine

7     to infect the system?

8     A.    No.    So it would be sufficient to merely be able to change

9     the data that is loaded on to that memory card as part of

10    normal election processes.       One way to do that would be to

11    infect the central administration systems on which the election

12    programming is produced, which would allow a way to spread

13    malicious software to many voting machines over a wide area all

14    at once.

15    Q.    And for election results to be altered as you just

16    demonstrated, would the machines or system need to be connected

17    to the internet at all?

18    A.    No.    So this machine is not connected to the internet, for

19    instance.    We're still able to -- we're still able to alter the

20    results.

21    Q.    Can you alter or could an attacker alter results without

22    physical access and without an internet connection to the

23    machines or the system?

24    A.    Yes.

25    Q.    What -- and what is the basis for your opinion that voting

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1     machines like the one that you just demonstrated on could be

2     hacked here in Georgia?

3     A.    Well, I have done my own original peer-reviewed scientific

4     research about the machines.       I have reviewed the work of

5     others.    I have reviewed the -- I have reviewed Georgia's

6     explanations of the way the system operates and of its security

7     procedures that are in use.       That is part of the basis for that

8     opinion.

9     Q.    Other than the types of vulnerabilities you demonstrated

10    just now, are there additional serious vulnerabilities in

11    Georgia's system?

12    A.    Yes.   So I demonstrated just one way that an attack could

13    manifest and spread to the machines.         There are many ways to

14    spread malicious software to the machines.          There are ways to

15    spread malicious software potentially back to the election

16    management systems where that programming is created.             And

17    there are other kinds of vulnerabilities, including ways that

18    voters could cast more votes than they are entitled to, that

19    officials could find out how -- the officials could find out

20    potentially how voters voted.       There are many different kinds

21    of vulnerabilities.

22    Q.    I would like to put a slide up on the projector.

23                 MS. CHAPPLE:   Your Honor, may I approach the witness?

24                 THE COURT:   Yes.

25    Q.    (BY MS. CHAPPLE)      Do you recognize this slide?

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1     A.    Yes, I do recognize this.

2     Q.    And what is it?

3     A.    This is -- I believe this is part of the index from a

4     security review of the AccuVote voting system that I performed

5     in 2007.

6                 THE COURT:    What is on the screen right now?

7                 MS. CHAPPLE:    Yes.

8                 MR. BARNES:    Was that in Georgia, Your Honor?

9                 THE WITNESS:    This was in California, which used the

10    same machine.

11                MR. BARNES:    Well, to your knowledge, it used the

12    same machine?     You don't know what changes have been made?

13                THE COURT:    Well, do you?

14                THE WITNESS:    It uses the same model of machine.

15                MR. BARNES:    Well, Your Honor, I object to what they

16    do in California.     I mean, you know, we are here about Georgia,

17    whether there is irreparable harm to this system after the

18    changes have been made to conform with the state's.

19                THE COURT:    You will have an opportunity to

20    cross-examine the witness fully and bring out any differences

21    as to why I should not consider this.         But I think we are

22    proceeding.

23                THE WITNESS:    May I correct one thing about that?

24    California's machines had a paper trail add-on.          So they did

25    produce a record of each paper ballot.

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1                  THE COURT:    Were they the same -- other than that,

2     were they the same technology or not?

3                  THE WITNESS:   They were the same technology.

4                  THE COURT:    Were they also produced by Diebold?

5                  THE WITNESS:   Yes, they were also the AccuVote TSx

6     produced by Diebold.

7     Q.    (BY MS. CHAPPLE)      And is that the same machine you

8     demonstrated the hack on today?

9     A.    Yes.

10                 THE COURT:    I need you to step back.     Thank you.

11                 THE WITNESS:   I can see on the screen here.

12                 THE COURT:    It is also next to you over there.

13                 THE WITNESS:   Thank you.    Thank you, Your Honor.

14                 MS. CHAPPLE:   I would like to enter this slide as

15    Exhibit 4.

16                 MR. BARNES:    I object.   It has no relevancy to this

17    proceeding.

18                 THE COURT:    This is --

19                 MR. BARNES:    -- California.

20                 THE COURT:    All right.   Well, I don't think the fact

21    that it is from California is the basis of an objection.

22    Whether it is something different and that the machine is

23    different, all of those things are to be considered and

24    potentially excluded but -- or given very little weight.

25                 But what I'm trying to understand is what this

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1     document is that you're asking to introduce.

2                 MS. CHAPPLE:    So this document is a source code

3     review of the Diebold voting system in 2007.          The software and

4     the machines that Georgia uses are not any newer than 2007.

5     And as you can see, for example, the very first line, 5.2.1,

6     that AV TSx, that stands for the AccuVote TSx machine.

7                 THE COURT:    I'm just saying:     Is this a summary that

8     was prepared by you, Professor Halderman, or is this something

9     that was from Diebold?      I'm confused about what this is.

10                THE WITNESS:    I did prepare the highlighted portions

11    of this index, yes.

12                THE COURT:    All right.    So this -- tell me -- this is

13    a summary of what that you prepared?

14                THE WITNESS:    This is a summary of the findings of

15    the security review in 2007 that was conducted at the behest of

16    the California Secretary of State.        And this list comes from

17    that study with portions highlighted by me.

18                MR. BARNES:    Well, Your Honor, that is hearsay.     I

19    mean, he is truly -- he didn't -- you didn't have anything to

20    do with this, did you?

21                MS. CHAPPLE:    Yes.   He is an author.

22                THE WITNESS:    Yes, I'm an author of this study.

23                MS. CHAPPLE:    He is the third author listed,

24    Halderman.

25                MR. BARNES:    So you took it from other folks?

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1                 THE WITNESS:    No.

2                 MS. CHAPPLE:    No.

3                 MR. CROSS:    Your Honor, could we have some procedure?

4                 MR. BARNES:    All right.    I object, Your Honor.

5                 THE COURT:    All right.    You object.    I'm going to

6     give you a robust opportunity to cross-examine.

7                 MS. CHAPPLE:    May I enter these?

8                 THE COURT:    We don't have a jury here, even though we

9     have a lot of people here.        So it is not like there is any

10    contamination of the jury.

11                Go ahead.

12                MS. CHAPPLE:    I may enter it as Exhibit 4?

13                THE COURT:    I'm going to allow it for now

14    conditionally.     But I would certainly allow cross-examination,

15    and I'm doing that instead of doing some voir dire of this

16    because we'll never finish this proceeding.          Otherwise I would

17    allow voir dire of it.

18                But this is -- you were a co-author of this study?

19                THE WITNESS:    Yes.   It is an excerpt.

20                THE COURT:    If I understand correctly, this is a

21    summary of your findings and your peers' findings, who are --

22    and who are they?

23                THE WITNESS:    This is a study that was authored by me

24    and other experts selected by the California Secretary of

25    State's office.     And this is an excerpt from the study --

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1                  THE COURT:    All right.

2                  THE WITNESS:   -- just to be clear.

3                  THE COURT:    All right.

4     Q.    (BY MS. CHAPPLE)      These are vulnerabilities that you found

5     as part of your study of the AccuVote TSx machines?

6     A.    Yes.

7     Q.    Is this list exhaustive?

8     A.    No.    This doesn't cover all of the known vulnerabilities.

9     No.

10    Q.    Georgia performs testing prior to and on election day.

11    Would the issues, for example, the malware inserted in the

12    machine that we saw, be detected during that testing?

13    A.    Based on the kinds of testing that I understand Georgia

14    conducts, no.

15                 MR. BARNES:    Well, Your Honor, what he -- I'm sorry.

16    I hate to do this.     But I need to do it to build my record.

17                 What he understands Georgia to do is not sufficient

18    --

19                 MS. CHAPPLE:   He has not made an objection.

20                 THE COURT:    Do you have an objection?     I understand

21    you have obviously a line of effective cross-examination.         But

22    is there an objection?

23                 MR. BARNES:    The objection is that what he

24    understands is not a sufficient foundation to give an answer.

25    I can understand a lot of things.        But it is not --

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1                  THE COURT:    It would probably more succinct to simply

2     say there is insufficient foundation for his opinion.             Would

3     you please then go ahead and elaborate -- have the witness

4     elaborate what is the foundation for what he is stating.

5     Q.    (BY MS. CHAPPLE)      For example, parallel testing -- can you

6     explain to the Court what parallel testing is?

7     A.    Yes.   So I understand Georgia conducts some amount of

8     parallel testing.     Parallel testing --

9                  THE COURT:    You understand this -- I mean, is this --

10    you actually know this or not?

11                 THE WITNESS:   I'm sorry.     Based on the documents that

12    I have read about Georgia's procedures, Georgia conducts

13    parallel testing.

14                 MS. CHAPPLE:   Your Honor --

15                 MR. BARNES:    If he says I took the declaration of

16    somebody from the state and that I based it upon that, I have

17    no objection.     It is just --

18                 THE COURT:    That is fine.   Is it based on a

19    declaration, or is it based on -- of a state official or state

20    document?

21                 THE WITNESS:   Yes, based on state documents that I've

22    reviewed --

23                 THE COURT:    All right.

24                 THE WITNESS:   -- which -- I'm sorry.      I don't

25    remember exactly which of the state documents.

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1                 THE COURT:    Were they documents produced in this

2     proceeding or in other proceedings?

3                 THE WITNESS:    Documents provided that I --

4                 MS. CHAPPLE:    In this proceeding.

5                 THE WITNESS:    In this proceeding?      Yes, I believe

6     documents that have been produced in this proceeding.

7                 THE COURT:    Well, for ease, we're going to proceed,

8     and we're going to have a lunch break.         And I would like you to

9     shore this up what he is basing this on.         But we're proceeding

10    now.

11                THE WITNESS:    Yes.   Excuse me.

12                MS. CHAPPLE:    Thank you, Your Honor.

13    Q.     (BY MS. CHAPPLE)    Would parallel testing detect issues

14    such as malware in the DRE system?

15    A.     Parallel testing is not sufficient to detect the malware.

16    It is not sufficient to detect malware on the voting machines.

17    Q.     Why not?

18    A.     Well, so parallel testing -- what parallel testing is is

19    it means that you take some of the voting machines and set them

20    aside during the election and have people cast votes on them

21    that you know what the votes are, as we did in this

22    demonstration, and then look at whether the results are what

23    you expected.

24           Well, there are a few problems with that.        One is that

25    just like the malware I showed was able to detect logic

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1     inaccuracy testing.      And during logic inaccuracy testing, it is

2     possible to create an algorithm that detects the machine is

3     under parallel testing and not cheat during parallel testing.

4           When poll workers are following a script to enter votes

5     into the machine that they know, they are not going to behave

6     identically to real voters.       Real voters do things like

7     sometimes take time to read the instructions that are unlikely

8     to be happening when people are casting vote after vote

9     following a script.

10          Even if parallel testing could perfectly simulate voters

11    and be indistinguishable, the best it would establish is that

12    the machines that were tested counted accurately.           It couldn't

13    establish that every single one of the other machines was

14    counting accurately.

15    Q.    Would testing a machine in election mode be sufficient to

16    know that there was no malware on the machine?

17    A.    No.   And for the same reasons.      That parallel testing

18    would usually be conducted in election mode.

19                THE COURT:    To your knowledge, is it normal to test

20    every machine or is it -- or is this a random amount of

21    testing?    I realize it is based on your knowledge.

22                But let me just say:      Generally speaking, since you

23    are an expert on elections as a whole, what is the norm?

24                THE WITNESS:    Generally speaking, every machine would

25    be subject to logic inaccuracy testing as a pre-election

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1     procedure.    But for parallel testing, because it is

2     time-consuming and expensive and necessarily takes a machine

3     out of service if you are testing in parallel on election day,

4     only a few machines are tested in that form.

5                 THE COURT:    Per precinct or as a whole?

6                 THE WITNESS:    I've seen it done per county.         I am not

7     sure if that -- for sure if that is what Georgia does or not.

8     A small number of machines.

9                 THE COURT:    So are you saying -- maybe you-all used

10    this.   I can't remember.     I think you did in -- in your

11    brief -- that this is equivalent to the VW emission issue that

12    they were able to mask -- mask what was actually happening?

13                THE WITNESS:    Yes.   That is another example in which

14    malicious software is engineered to defeat testing by detecting

15    it is under testing and suppressing the cheating during tests.

16    And it is exactly the same kind of problem with parallel

17    testing, logic inaccuracy testing, other functional testing on

18    voting machines.

19                Because you necessarily can't be testing with the

20    real voters and the real ballots, you are simulating what is

21    going on.    It is in a controlled environment, and that

22    controlled environment is not going to be the same as the real

23    votes that are counted.      It is going to be distinguishable

24    potentially by a computer algorithm.

25    Q.    (BY MS. CHAPPLE)     Thank you, Professor Halderman.        Now I

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1     would like to move to discuss the optical scanners used here in

2     Georgia.      What type of optical scanning machines does Georgia

3     use?

4     A.     Georgia uses AccuVote-OS optical scanners.

5     Q.     Are you familiar with the AccuVote-OS scanner?

6     A.     Yes.   I do have one in my lab back in Michigan.

7     Q.     How long does it take to run a ballot through an optical

8     scanner -- an AccuVote optical scanner?

9     A.     I believe that the cycle time on the AccuVote-OS is about

10    three seconds.

11    Q.     Given that time, how long would it take to tabulate the

12    election results in a Georgia election assuming 6.8 million

13    voters, a 50 percent voter turnout as the defendants have said

14    in their -- in their declaration using 891 optical scanners?        I

15    can give you a piece of paper.

16    A.     Oh, my gosh.   Now you are really giving me the examination

17    dream.   So I have done some of this math at the

18    back-of-the-envelope calculation.        And 6.8 million voters,

19    50 percent turnout.      So 3.4 million, divided by about 900

20    scanners is roughly, let's say, within ten percent about 3600

21    ballots per scanner.      3600 ballots per scanner, if it takes

22    three seconds per ballot at the fastest the scanners can

23    possibly go, that is what?       120 -- 180 -- it is about three

24    hours.   Right.    I believe that works out to about three hours

25    of work using all 900 scanners Georgia has across the state in

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1     parallel.

2     Q.    To tabulate all of the ballots in Georgia --

3     A.    To tabulate --

4     Q.    -- would take about three hours using 900 optical

5     scanners?

6     A.    If they were utilized as quickly as they can possibly go.

7     Let's suppose in real life it takes -- maybe it takes five

8     times that.    But that is still 15 hours.

9     Q.    And if the ballots were multiple pages, you would

10    multiply, you know, by that amount of time.          So if it is a

11    two-page ballot, it would maybe be double that?

12    A.    At most, yes.

13    Q.    30 hours or --

14    A.    No more than double.

15    Q.    Right.   In your opinion, what is the most secure election

16    system configuration?

17    A.    My opinion is that the most secure election configuration

18    is one that has a paper trail that the voter can see.             A paper

19    ballot or a machine that produces a voter verifiable paper

20    record.

21          And this is the most secure because you have both an

22    electronic record and a paper record.         You are not relying on

23    either one of those to be the sole authority, and you can

24    cross-check them to make sure that both records are unchanged.

25    Q.    And, finally, in your opinion as a computer scientist and

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1     expert on cybersecurity, is there anything that Georgia could

2     do to know for sure that the November 18 election would not be

3     hacked?

4     A.    No.   And I would say something even stronger than that.        I

5     don't think that there is anything that Georgia can do to

6     reasonably secure the -- the machines that are -- the

7     touchscreen -- paperless touchscreen machines that are in use

8     today.

9                 MS. CHAPPLE:    Thank you, Your Honor.      No further

10    questions.

11                MR. BARNES:    May I proceed?

12                THE COURT:    Yes.

13                               CROSS-EXAMINATION

14    BY MR. BARNES:

15    Q.    Now, let me see this.      You say these machines are no good

16    because a crook could get into the machine and create a

17    crime -- commit a crime; is that correct?

18    A.    I worry less about crooks than about nation state

19    intelligence agencies.      But yes, a crook potentially could as

20    well.

21    Q.    And do you know where the ballot is built in Georgia?

22    A.    The ballot -- my understanding is it is built today by the

23    Secretary of State's office.

24    Q.    And do you know what security is around building that

25    ballot?

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1     A.    I know that Georgia takes steps to attempt to secure those

2     systems.

3     Q.    So is that answer yes or no?       Do you know what security --

4     do you know what security measures are around the building of

5     the ballot?

6     A.    I know some of the security measures, yes.

7     Q.    And where did you find that?

8     A.    I believe one of the declarations from your side described

9     some of those measures.

10    Q.    And do you realize these matters are very sensitive you

11    would agree and a state secret as to all of the way ballots are

12    built?

13    A.    I'm sorry.    I don't understand.

14    Q.    Sometimes I confuse myself.

15          You have never been to the secure location in Georgia and

16    seen what has happened to build the ballot and to keep a crook

17    from putting in some malicious malware?

18    A.    Not in Georgia.     Although I have in other locations where

19    that is done for other states.

20    Q.    Well, how many times has this malicious malware by a crook

21    in Georgia ever been found?

22    A.    I don't know.

23    Q.    Do you know of any that has ever been found?

24    A.    Of any --

25    Q.    Of any in Georgia.     You said you don't know.       I asked you

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1     how many times.     You said I don't know.

2           And the next question is:       Do you know even one time that

3     malicious malware has been put in by a crook and came over the

4     security provisions put out by the Secretary of State?

5     A.    I don't know.    But it would be inherently hard to detect.

6     That is the problem with this kind of attack.

7     Q.    So the question is -- it is not the question do you know

8     or not know.

9           Do you know as you sit here, yes or no, where a malicious

10    crook has ever put it into the state system where they build

11    the ballots?

12    A.    I do know that Logan Lamb was able to access the Kennesaw

13    State systems.

14    Q.    Yes, sir.    Do you know what has happened with Kennesaw

15    State?   Do you know what --

16                MR. CROSS:    Your Honor, he needs to be able to finish

17    his answer.

18                MR. BARNES:    I'm sorry.

19    Q.    (BY MR. BARNES)     Are you through?

20    A.    I do know that Logan Lamb was able to access the Kennesaw

21    State system.     And it would -- based on the way in which he was

22    able to access it, those systems would have been accessible to

23    other attackers as well.

24    Q.    Do you know whether he ever got into the election system

25    or whether it was into a separate website?

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1     A.    That website was used to communicate the kinds of ballot

2     programming that are at issue here.

3     Q.    And -- but the question back to it is:         Is that the only

4     one that you know where a malicious malware has been put in to

5     a system in the secured location of the Secretary of State?

6     A.    Well, I understand that there were further vulnerabilities

7     later shown at Kennesaw State as well.

8     Q.    So all of yours is about Kennesaw State?         Everything you

9     know about this malicious malware is at Kennesaw State?

10    A.    Even if it was only Kennesaw State, unfortunately if the

11    machines were infected during the time that Kennesaw State was

12    exposed, they would likely remain infected today.

13    Q.    Yes.   You don't know what has been done since that time at

14    Kennesaw State?     You don't know what they have done -- the

15    Secretary of State has done to move from Kennesaw State to

16    inspect all of the machines?       You don't know any of that;

17    correct?

18                 MR. CROSS:    Your Honor, we'll stipulate that the

19    state has not provided any information on any such measures.

20                 MR. BARNES:   Well, Your Honor, is that an objection,

21    as you told me?

22                 We'll have testimony regarding it.       I'm trying to --

23    I believe I have got him on cross.

24                 THE COURT:    Yeah.   You can go ahead and cross.      But I

25    must say, you know, that there hasn't been discovery.             And the

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1      affidavit from the state was a little bit oblique, to say the

2      least, about what measures were implemented.

3                  MR. BARNES:   We'll have a witness here.

4                  THE COURT:    Okay.   That is marvelous.

5      Q.   (BY MR. BARNES)      Let me ask you this.     You say the optical

6      scanners are the way to go?

7      A.   I do believe that the optical scanners can be made more

8      secure, yes.

9      Q.   I'm sorry.    Is that a yes or a no?

10     A.   Yes.

11     Q.   Okay.    And do you know of the study that was conducted by

12     Secretary of State Cathy Cox where lower educated, lower income

13     were undercounted under the optical scanners?

14     A.   I'm not aware of the study, no.

15     Q.   Well, do you know if that undercounting of minority and

16     disadvantaged people is the reason that we went away from

17     optical scanners?

18     A.   Optical scanners do provide a different interface, but

19     they are the most widely used voting technology in the country.

20     Q.   Well, that is not what I'm asking you.         Do you know that

21     because of the Georgia experience and the Georgia -- not the

22     Michigan where the sun comes up in the west -- but in Georgia

23     where we did a study and found out that minority and

24     disadvantaged voters would mark with an X rather than coloring

25     in the bubble and other things like that that they were being

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1      undercounted?

2      A.    I am not familiar with the study that you are referring

3      to.

4      Q.    And have you ever seen any other study where optical

5      scanners because of the lack of expertise of the voters on how

6      to color -- you do color in the little bubble, don't you?

7      A.    Yes.

8      Q.    Okay.   And if you don't color in the little bubble

9      altogether, you put an X or a check, you have seen studies that

10     show that those votes were undercounted; correct?

11     A.    I have seen studies that say that.        But there are studies

12     that show how to design the ballot for an optical scan system

13     in a way that reduces voter error.

14     Q.    Yes.    But this election is in two months.       Well, less than

15     that really now.     Do you think it could be developed in two

16     months?

17     A.    I do, yes.

18     Q.    Oh, okay.    And how much do you think that will cost?

19     A.    Well, we could do back-of-the-envelope calculations if you

20     would like.    But I don't have figures prepared.

21     Q.    All right, sir.     Now, the gold standard --

22                  THE COURT:   Let me ask you:    Has it been done in

23     other states or not?      You say that it is the most -- it is

24     frequently used.     So what --

25                  THE WITNESS:   Excuse me, Your Honor.      Has what been

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1      done in other states?

2                 MR. BARNES:    Optical scanners --

3                 THE COURT:    Optical scanners --

4                 MR. BARNES:    -- change with 60 days.

5                 THE COURT:    That is not my question.       My question

6      followed up on:    Is this just an idea of yours that a program

7      could be developed, or it has been developed and is used -- is

8      in use by other states?

9                 THE WITNESS:     Optical scanners are used very widely

10     across the country.

11                THE COURT:    But to address the problem that Barnes

12     stated.

13                THE WITNESS:     There are -- many states have addressed

14     concerns by -- about voter error through ballot design changes.

15                THE COURT:    That is what I was asking.

16                THE WITNESS:     Yes.

17     Q.     (BY MR. BARNES)   So you would have to redesign the ballot?

18     A.     I don't know how your current ballot is designed I must

19     say.

20     Q.     Because you don't know anything about Georgia?         You have

21     never been hired by Georgia, have you?        Have you ever been

22     hired by the State of Georgia?

23     A.     No, I have never been hired by the State of Georgia.

24     Q.     How many times have you been here?

25                THE COURT:    All right.    Proceed.

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1      Q.   (BY MR. BARNES)     Well, let me ask you one last question:

2      Do you know where the Big Chicken is?

3           Now, let me ask you this:       The gold standard in your mind

4      is a paper ballot; correct?

5      A.   Yes.

6      Q.   All right.    And did you ever vote on a paper ballot?

7      A.   I have, yes.

8      Q.   Old paper ballot where you mark an X?

9      A.   Where you fill in the bubble, yes.

10     Q.   No, I'm not talking about a bubble.         We are over the

11     optical scanners.     I'm talking about an old paper ballot.

12     A.   I'm sorry.    I am referring to optical scan paper ballots,

13     the type used in Georgia.

14     Q.   I'm talking about old paper ballots.         Just, you know, you

15     mark; isn't that right?      Have you ever voted on one of those?

16     A.   I don't believe so.

17     Q.   Yeah.    Well, I have.

18          Now, you have to -- when you -- when you are counting the

19     paper ballot, every person that is on the list you have to

20     count -- for example, governor, you go through and you

21     count two stacks on Stacey Abrams and Brian Kemp for governor.

22     And then you go through all the governors.         Then you go back

23     and count the same ballot again to lieutenant governor, then

24     secretary of state.

25          Isn't that the way you do it?

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1      A.   Yes.    I have participated in a hand count of paper

2      ballots.

3      Q.   And the studies show that the hand counting of the paper

4      ballots are the greatest fraud that has occurred?

5      A.   Again, this is why optical scan paper ballots are

6      desirable because you end up with an electronic record and a

7      paper record and can check them to make sure they agree.

8      Q.   Listen, I'm just trying to get you in the stall where you

9      are telling me you are.      So you agree with me that the paper

10     ballots -- the old paper ballots are not a valid way to do

11     this?

12     A.   I don't know if I want to say they are invalid.              They are

13     still stronger as a defense against cyber attacks because,

14     well, it is on a piece of paper.       It cannot be changed through

15     computer fraud.

16     Q.   Yeah.    But it can be changed by the fellow that is keeping

17     the tally, can't it?

18     A.   Well, if there are dishonest election officials in

19     Georgia, it could be.

20     Q.   Yes.    Just like you have -- just like you have to have a

21     court right here --

22                 THE COURT:    All right, everyone.     I understand your

23     humor, but this is really not a public meeting.          So no

24     clapping.

25                 MR. BARNES:   I'm sorry.

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1      Q.   (BY MR. BARNES)     Just like you would have to have a crook

2      to do what you have said?

3      A.   You wouldn't need to have an insider to do what I said,

4      someone who was part of the process of counting.

5      Q.   Not if they -- not if -- listen, that is the reason you

6      restrict the access when they are building the ballot; isn't

7      that true?

8      A.   It is a good idea to restrict access while they are

9      building the ballot.

10     Q.   So -- listen, so you would have to have a crook in the

11     room -- the secure room to build -- to make what you just did

12     here work?

13                THE COURT:    Hello?

14     A.   No, that is not true.

15          And fortunately these machines are quite sturdy.             So you

16     are welcome to bang on it.

17                THE COURT:    Why is it not true?

18                THE WITNESS:     But it is not true that you would need

19     to have a person in the room.       What you would need to do is be

20     able to spread malicious software to that machine.

21     Q.   (BY MR. BARNES)     Yes, sir.    But you would have to -- if it

22     is -- I want you to --

23                THE COURT:    All right.    Step back.    Thank you.

24                MR. BARNES:    Can you not hear me?

25                THE COURT:    I always can hear you, and you are here a

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1      lot.   So --

2      Q.     (BY MR. BARNES)   So you don't know -- so you say, well,

3      you can spread malicious software and you wouldn't have to be

4      in the room?

5      A.     That is right.

6      Q.     And you would have to do that how?

7      A.     Well, so let me give you the example.       We're talking about

8      the threat of nation state intelligence sectors.          Very

9      sophisticated adversaries.      And they routinely have techniques

10     available to them to spread malicious software to machines that

11     aren't directly connected to the internet.

12            The most famous example of that is the Stuxnet malware.

13     That is what was used to sabotage Iran's nuclear enrichment

14     program.

15     Q.     That we did?

16     A.     According to the New York times, yes.

17     Q.     Okay.

18     A.     But what -- the way that worked, those nuclear -- those

19     uranium centrifuges were not connected to the internet.

20     Instead, the malware spread on USB sticks that were

21     occasionally connected to the computer systems used to program

22     the uranium centrifuges.

23     Q.     So you are telling me that even though this is not

24     connected to the internet, no malicious malware in the

25     beginning, that some outside source could infect it with

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1      malicious malware -- some other crook?

2      A.   Yes.    Yes, that is the finding.

3      Q.   And so you would have to have a crook voter to put the

4      information in, wouldn't you?

5      A.   No.    No one has to touch the machine.       That is right.    The

6      malware can spread in on the memory cards from the election

7      management system.      It could potentially spread to the election

8      management system in a number of ways.

9      Q.   Okay.    But the election management system, if it is

10     secured, is not going to spread to the local systems, is it?

11     A.   If the election management system is compromised, then all

12     of the local systems can be infected.

13     Q.   Do you have a problem understanding my questions?            I just

14     want to make sure.

15     A.   I may.    I'm sorry.

16     Q.   If the election system -- the management system is

17     secured, then you cannot get to a local system to infect the

18     voting?    Yes or no?

19     A.   No.    So there are other ways to spread malware to these

20     machines unfortunately.

21     Q.   Yes, sir.    So you have got to have a crook inside the

22     sealed room, the air-gapped system --

23                 THE COURT:   That is not what he said.       So let's

24     just --

25     Q.   (BY MR. BARNES)     Well, that is the first one you said.

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1      You said you would have to have one to insert it where they

2      built the ballot?

3      A.   No.    I said you don't need a crook inside the sealed room

4      because there are moments like the Stuxnet attack in which

5      malware can spread to that system, even though the state

6      does -- and I'm sure this is -- even though the state does

7      assert that those machines are isolated.

8      Q.   And -- but you don't know that because you haven't looked

9      at Georgia's system?

10     A.   I have read your side's declarations.

11     Q.   From your personal knowledge, do you know?

12     A.   From my personal knowledge?

13     Q.   Yes.

14     A.   Do I know -- excuse me.       I don't understand the question.

15     Q.   From your personal knowledge, do you know any breach in

16     the security that has occurred?

17     A.   That has occurred?

18     Q.   Yes.

19     A.   For instance, the Kennesaw State breaches.

20     Q.   You have already told us about that, and we're going to

21     get into that.

22          Anything else?

23     A.   From my personal knowledge, the Kennesaw State breaches

24     are the ones I'm familiar with.

25     Q.   So when did you visit Kennesaw State to examine this?

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1      A.   I haven't visited Kennesaw State, but I have reviewed the

2      FOIA emails that were produced that described their security

3      procedures and mitigations.

4      Q.   So everything you know is what somebody else has said?

5      A.   Well, what the people who were administering the network

6      at Kennesaw State said in their emails that were FOIAed yes.

7      Q.   But not based on your personal investigation or not?

8      A.   No.

9      Q.   Okay.

10                THE COURT:    So how much time more?

11                MR. BARNES:    Just about five minutes.       I'm about

12     done.

13                THE COURT:    All right.

14     Q.   (BY MR. BARNES)     Do you have any knowledge regarding what

15     cybersecurity protocols are used by Georgia?

16     A.   Yes, I do have some knowledge.

17     Q.   Is that knowledge based on your personal knowledge or what

18     you read from somebody else?

19     A.   It is based on what I have read.

20     Q.   And do you have any specific knowledge of Georgia's

21     password change requirements?

22     A.   No.   Although those would be irrelevant to the issues at

23     hand.

24     Q.   Do you have any specific knowledge of Georgia's policy

25     regarding brute force and inactivity during disabling?

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1      A.   During disabling?

2      Q.   Yes.

3      A.   What do you mean during disabling?

4      Q.   Listen, do you not -- do you not understand what brute

5      force is and disabling?      I'm just asking you.      If you are -- if

6      you don't know what it is, I'll pass on.

7      A.   I'll just say it is ambiguous in this context.

8      Q.   So you have no specific knowledge of Georgia's policy

9      regarding brute force and --

10                 THE COURT:    All right.   You have to explain what you

11     mean.   Come on.   Brute force is either I'm knocking somebody

12     over or are you talking about knocking the machine over?          I

13     mean, I have to understand too.

14                 MR. BARNES:    I know, but I'm trying to get to the

15     extent -- I'm going to educate you with a witness.

16                 THE COURT:    That is great.    But it doesn't help -- it

17     doesn't help me when you are examining the witness.           So that is

18     what -- the ultimate point here, frankly, is to educate me.

19                 THE WITNESS:    If I can conjecture what the policy you

20     are referring to is, just for sake of clarifying the question,

21     it sounds like you are talking about password guessing and

22     password disabling policy.

23                 And I don't have knowledge of Georgia's specific

24     policy for that.     Although the policies about RAM passwords are

25     irrelevant to the kinds of attacks that I've demonstrated.

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1      Q.   (BY MR. BARNES)      I'm sorry.   Are you through?

2      A.   Yes.

3      Q.   Do you have any specific knowledge of any defenses Georgia

4      uses against SQL?

5      A.   You mean against SQL injection?

6      Q.   Yes.

7      A.   So --

8                  MR. BARNES:   Your Honor, would you instruct the

9      witness.    That is a yes or no.     If it is yes, he can explain.

10     If it is no, he can explain.

11     A.   I need to take a second to think about whether I know

12     about any of Georgia's policies.       I believe no, I do not know.

13     Although I would say once again that is irrelevant to the

14     particular attack that is at issue.

15     Q.   (BY MR. BARNES)      Do you have any specific knowledge of the

16     penetration testing that Georgia undertakes?

17     A.   I have knowledge about the kinds of penetration tests that

18     were undertaken at Kennesaw State.

19     Q.   And that is all?

20     A.   Yes.

21     Q.   Okay.    And you don't know what has been done since

22     Kennesaw State?

23     A.   I do not.

24     Q.   All right.    Regarding how data relevant to election in

25     Georgia is secured, do you have any specific knowledge as to

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1      how that has changed since Kennesaw State, that is, in 2016 to

2      the present?

3      A.   Between Kennesaw State and the present, I do have some

4      knowledge of that.

5      Q.   And so you have knowledge of the changes that have been

6      made by the State of Georgia?

7      A.   Yes.

8      Q.   All right.    And where did you obtain that knowledge?

9      A.   From the declarations of the other side, from published

10     reports.

11     Q.   Declarations from the other side.        Which side?

12     A.   From your side.     The defense's declarations.       Excuse me.

13     Q.   Do you have any personal experience designing an election

14     system specific to a primarily paper ballot environment?

15     A.   I do, yes.

16     Q.   What is that?

17     A.   I have designed -- in my research, among other things, I

18     have designed ways to more efficiently audit paper ballots.

19     Q.   Yes, sir.    Have you ever published a peer-reviewed study

20     on the accuracy of optical scanners?

21     A.   I myself haven't.      I'm familiar with other peer-reviewed

22     literature on that topic.

23     Q.   The question is:     Have you published a peer-reviewed

24     article on the accuracy of optical scanners?

25     A.   No, I haven't.

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1      Q.   Should voting -- you agree with me that voting mechanisms

2      should be racially neutral so far as that is possible?            You

3      agree with that?

4      A.   I agree with you.

5      Q.   And also it should be neutral as to education level?

6      A.   Insofar as is possible.

7      Q.   Are optical scanners immune from overvotes?

8      A.   From -- precinct count optical scanners can be made immune

9      from overvotes.

10     Q.   No, sir.    Well, let me ask you this:       As optical scanners

11     are -- do you know what system of optical scanners Georgia used

12     before this?

13     A.   Before the present?

14     Q.   We had hanging chads in between.

15     A.   Oh, those weren't -- those were mechanical --

16     electromechanical, rather than optical, I believe.          I may be

17     wrong about that.

18     Q.   We had optical scanners before that.         Do you know anything

19     about the system that was used when we had optical scanners?

20     A.   What year are you asking about perhaps?

21     Q.   How old are you?     Probably before you started.        But it was

22     in the 1980s.

23     A.   In the 1980s.

24                THE COURT:    Let's move on then.

25     Q.   (BY MR. BARNES)     Do you know anything --

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1                    MR. BROWN:    Your Honor, I object on relevancy

2      grounds.      Georgia uses the same optical scanners today.        This

3      line of questioning is challenging the optical scanners that

4      Georgia uses now to count 340,000 votes of Georgians.             At issue

5      is not the accuracy of the scanners.        They are using them right

6      now.   So all we are hearing here, it is not going to have

7      anything to do with your decision.

8                    MR. BARNES:    I will rephrase the question.

9      Q.     (BY MR. BARNES)      Have you examined the optical scanners

10     Georgia uses now to count absentee ballots?

11     A.     I have done some tests on the AccuVote-OS, yes.

12     Q.     Well, that is not -- the ones that are used in Georgia

13     now -- have you tested a Georgia machine?

14     A.     I have tested the model of voting machine used in Georgia,

15     yes.

16     Q.     All right.   And where did you test that?

17     A.     Well, I have one in my laboratory at Michigan.

18     Q.     And who in Georgia gave you that?

19     A.     I don't think it was given to me by someone in Georgia.

20     Q.     Well, listen --

21                   THE COURT:    Is it the same model as they are using?

22                   THE WITNESS:   It is the same model of machine.

23     Q.     (BY MR. BARNES)      You are sure of that?

24     A.     Yes.

25     Q.     And the question that I have for you is:        Is that machine

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1      capable of overvotes without some modification?

2      A.     The machine can reject ballots that have been inserted in

3      them that have been overvoted.

4      Q.     All I asked you is:    Is the machine without alteration

5      capable of overvotes?

6      A.     You mean of a voter casting a ballot that has been

7      overvoted?     It may be the case that a voter can force the

8      machine to accept a ballot that has been overvoted.           But I

9      don't actually -- I'm not sure if that is true.

10     Q.     Well, you're the expert.     I'm just a country lawyer.

11     A.     Yes.

12     Q.     And the question I have for you:      Is it susceptible and

13     immune from undervotes without modification?

14     A.     Every voting system is susceptible potentially to

15     undervotes.

16     Q.     And overvotes?

17     A.     The voter can always just choose not to cast the ballot at

18     all.

19     Q.     No.    I'm talking about where you get a ballot.       You check

20     instead of filling in the bubble, and you put it in the

21     machine.

22     A.     Oh, I see what you mean.

23     Q.     Well -- and, you know, could that happen without

24     modification?

25     A.     The machines are supposed to reject ballots that have too

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1      many marks.    But they can still fail to count a valid mark.

2      Q.   They can fail to count a mark unless it is colored in?

3                  MR. BROWN:   Your Honor, I object on the same grounds.

4      They are using these scanners.       The defendants are trying to

5      eat into our time massively.

6                  THE COURT:   All right.    Well, you have one minute to

7      close up.

8      Q.   (BY MR. BARNES)     The question is:     If you don't fill in

9      the bubble sufficiently, is it -- is that vote possible to not

10     be counted?

11     A.   Yes, it is possible.

12     Q.   All right, sir.     Do you have any specific knowledge as to

13     the security protocol used by the Secretary of State regarding

14     the EMS server?

15     A.   I have some knowledge regarding it.

16     Q.   And that all came from the declarations that you read of

17     the employees of the Secretary of State?

18     A.   And other published reports.

19     Q.   If certified results do not rely on the election

20     management system, would the election outcome change?

21     A.   If certified results -- you mean in the alternative?         If

22     they relied on the paper tapes that the machines printed out?

23     Q.   In Georgia.     I'm giving you everything from Georgia.      If

24     certified results by the Board of Elections do not rely on an

25     election management system, would the election outcome change?

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1      A.   I'm not sure I understand what alternative you are

2      proposing.

3                 THE COURT:    All right.    You can have someone testify

4      about this.    I think we've had enough at this juncture.

5                 MR. BARNES:    All right.

6                 THE COURT:    You know, you already went over your --

7      the amount of time.     So if you have one minute you want to

8      clarify, that is it.     But we have got also Fulton County.          And

9      you-all also basically violated all of your time forecasts,

10     frankly, on this.

11                So we have got to get real when we are through with

12     this.   Basically we've got to -- I understand that Fulton

13     County didn't get to examine.       But is there something that is

14     pressing on your mind that is -- other than what Governor

15     Barnes very fulsomely went over?

16                MR. BARNES:    Your Honor, the only thing I would like

17     to put on the record is the witness was being nonresponsive.

18     And that is the reason I ate up the time.         And I ask the Court

19     not to restrict because of that.

20                THE COURT:    I know that that is your view.           I can't

21     say it is mine.    But that is fine.

22                MS. BURWELL:     Can I just clarify a few things with

23     the witness, Your Honor?

24                THE COURT:    Yes.

25                               CROSS-EXAMINATION

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1      BY MS. BURWELL:

2      Q.   Mr. Halderman, this machine that you have here that you

3      have demonstrated for the Court, that is not a machine that was

4      previously in use in Georgia; is that correct?

5      A.   I don't believe that this particular example was -- just

6      to be clear, the model is used currently in Georgia.              This

7      particular one I don't believe was used in Georgia.

8      Q.   And there is different software on the same model;

9      correct?

10     A.   That is correct.

11     Q.   And, in fact, in your declaration in Paragraphs 25 and 26,

12     you talk about the fact that the software in the Georgia

13     machines is different from the software in the machines that

14     you did your demonstrations on; correct?

15     A.   That is correct.     Georgia uses a version of the software

16     that is version -- ballot station version 4.5.          The

17     demonstration I gave here is on ballot station 4.6, a more

18     recent line of the code.      I have previously done work showing

19     vulnerabilities in version 4.3 and 4.4.

20     Q.   But not 4.5, which is what is used in Georgia; correct?

21     A.   Only 4.3, 4.4, and 4.6.       You are correct.

22     Q.   So you have not done any sort of demonstration on a

23     Georgia machine as they are configured in Georgia; correct?

24     A.   I haven't.    Although I would be happy to work with the

25     state to do so.

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1      Q.   Okay.    So let me ask you --

2                 THE COURT:    Let me ask you:     You're an expert on

3      these machines.    You do this type of studying all the time.

4      Obviously you have done it for the State of California and for

5      other places.

6                 So what are the material differences, if any, in the

7      actual software to your knowledge in all of these iterations?

8      Obviously the earlier versions -- there are developments that

9      are supposed to make things more secure.         Though one would

10     think 4.6 was more secure than 4.5.

11                MR. BARNES:    Your Honor, I would object because he

12     couldn't know if he has never done a study on 4.5.

13                THE WITNESS:     I can say for the --

14                THE COURT:    Are you familiar with the software -- the

15     Diebold software and its developments as a whole?          Let's put

16     aside Georgia.    Are they marketed around the country to the

17     states?

18                THE WITNESS:     Yes, they are.    I am familiar, Your

19     Honor, with the features that have been added to the software

20     over the years.    And the more recent versions of the software

21     have generally added additional security features.          The current

22     version is 4.7.    It is the most recent that was certified by

23     the -- by the EAC.

24                THE COURT:    EAC is?

25                THE WITNESS:     I'm sorry.    The federal Election

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1      Assistance Commission.

2                 THE COURT:     So does the 4.6 incorporate to your

3      knowledge the software advancements as to security that were in

4      4.5?

5                 THE WITNESS:     Yes, it does to my knowledge.         Yes.

6      Q.     (BY MS. BURWELL)   Can you give the Court what your

7      knowledge is?

8      A.     Well, so I have seen the source code to 4.6 under

9      nondisclosure agreements as part of the State of California.

10     And I reverse-engineered the previous version, 4.3, in

11     extensive testing.     And I can see what has changed before --

12     between 4.3, 4.4, and 4.6.      So there are reasonable

13     extrapolations that as a software engineer you can make about

14     what features are added and removed between versions.

15     Q.     But you don't have any firsthand knowledge -- correct? --

16     of what those changes would be in 4.5?

17     A.     In software engineering, features are usually added and

18     removed and persist over time.       I saw what was in the room this

19     morning, and I saw what was in the room at lunchtime, and

20     people may have come in and out in the interim.          But it is

21     unlikely that the overall architecture changed.

22     Q.     That is your opinion that it is unlikely to change, but

23     you don't know that for sure; correct?

24     A.     I can only speak to how software development typically

25     works.   As a computer scientist, I have seen the engineering of

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1      many other programs.     But I do know about the vulnerabilities

2      that were common between the previous version and the version

3      after the Georgia version.

4      Q.   So we're clear that you haven't seen 4.5?

5                  MR. BROWN:   Objection, Your Honor.      Asked and

6      answered.

7                  THE COURT:   All right.    Go ahead and proceed.      I

8      think his testimony is clear.

9      Q.   (BY MS. BURWELL)     The demonstration that you have done

10     here and the demonstrations that you have done back at your

11     place of employment, none of those have been carried out in an

12     actual race in Georgia; correct?

13     A.   Well, I'm not a criminal.

14     Q.   Correct.

15     A.   Yes.

16     Q.   So they are demonstrations --

17                 THE COURT:   I think there is enough of the Georgia

18     questions, frankly.      I think the Governor has covered this.        So

19     I think he obviously indicated he has not done his work -- been

20     involved with the machines in Georgia -- personally in Georgia.

21     Q.   (BY MS. BURWELL)     So let me ask you about:       Do you have

22     any expertise in setting up paper ballot environments?

23     A.   Setting up paper ballot environments?

24     Q.   Yes.

25     A.   Well, I have done work on post-election audits of paper

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1      ballot systems, yes.

2      Q.   I'm not asking about post-election auditing.          I'm asking

3      about the front end, setting up the processes and procedures.

4                  MR. CROSS:   Your Honor, we object.      Governor Barnes

5      asked this exact question.      We have covered this.      Asked and

6      answered.

7                  MS. BURWELL:    I didn't hear an answer to that.      I was

8      marking off everything.

9                  THE COURT:   Well, I'm sorry.     He did ask about it.

10     So I'm going to ask you to move on, and I'm going to ask you if

11     there is something else.

12                 MS. BURWELL:    Okay.

13                 THE COURT:   I just think though the plaintiff took 34

14     minutes and you-all have taken 34 minutes plus.          So I'm sorry

15     that a lot of your time was stolen -- but or not.          But you

16     y'all shared it.     I assumed -- I'm sorry -- that y'all had some

17     agreement.    So I'm allowing you some room, but not a lot

18     because, A, the cafeteria closes at 1:30 and, B, we need to be

19     through with this witness and move on.

20     Q.   (BY MS. BURWELL)      Let me ask you about optical scanners.

21     I don't think you answered this question.

22          It is possible, isn't it, for optical scanners to be

23     compromised.

24     A.   Yes, that is true.

25     Q.   It can be compromised both with respect to the software, I

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1      guess you would call it --

2                 MR. CROSS:    Your Honor, I'm sorry to object.         But not

3      only was this covered but, as Mr. Brown pointed out, they use

4      optical scanners.     If they are going to indict their own

5      system, then let's all move to paper ballots.

6                 THE COURT:    No more argument about it.       But I think

7      that was precisely the sort of question that was asked.           But

8      you did answer yes, that they can be compromised.          And I'm

9      going to let you wrap up.      And then we're going to close at

10     this point.

11                THE WITNESS:     So yes, they can be compromised.

12     However, the advantage in an optical scan system is you have an

13     uncompromisable in a cyber attack physical record that can then

14     be spot-checked to make sure that the electronic record is

15     correct.   That auditable record is what is completely lacking

16     in the paperless system.

17                THE COURT:    Thank you very much.      Plaintiffs' counsel

18     may do one minute and no more.

19                MS. CHAPPLE:     No further questions, Your Honor.

20                MR. BROWN:    No questions.

21                THE COURT:    All right.    I don't know how many people

22     may be out in the other room, and they may have all passed.             We

23     look like we have a few seats left for when we get back.

24                I'm not going to take a full hour because we don't

25     have a full hour at this point.       You-all need to just really

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1      talk about what is -- what is important to you.

2                 Originally we had -- it said direct and

3      cross-examination of Alex Halderman was 30 minutes.           I assume

4      because you had deleted some witnesses that you added time to

5      that.    But I didn't force you to basically tell me how that was

6      going to work out.     But I do need to know now.       Because,

7      otherwise, we're not going to finish today.         And I am going to

8      finish today.

9                 I mean, I wanted to give an opportunity for these

10     issues to be aired and for me to actually personally hear.            And

11     I thought as a matter of public concern that the public had a

12     right to also hear the matters that are being briefed in this

13     court.    And I thought that was important no matter what

14     happens.   But we have to be able to move forward too.

15                MR. CROSS:    Your Honor, just one quick thing before

16     we go.    We actually didn't intend for his examination to go

17     longer.    It would help if we could get a commitment that we're

18     going to have the normal rules of decorum because a lot of time

19     was lost on his direct with many, many interjections.             And if

20     we could just stick to the rules, I think this will actually

21     stick to the schedule.

22                MR. BARNES:    Well, I believe I have the right to make

23     an objection and to --

24                MR. CROSS:    But not question the witness and jump

25     into voir dire at every other opportunity.         He is either doing

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1      it right then or on cross.

2                 MR. BARNES:    He was never offered as an expert.

3                 MR. CROSS:    That is not required in federal court.

4                 MR. BARNES:    I'll let --

5                 MR. CROSS:    The foundation was laid for his

6      expertise.

7                 MR. BARNES:    I understand.

8                 THE COURT:    Are you offering him as an expert?

9                 MR. CROSS:    Absolutely, Your Honor.       And the

10     foundation we believe has been laid, and I don't think there

11     was any dispute about that.

12                THE COURT:    All right.

13                MR. BARNES:    I object because there has not been a

14     proper foundation of the knowledge and information regarding

15     the facts and circumstances of the State of Georgia --

16                THE COURT:    All right.

17                MR. BARNES:    -- and what is in dispute here.

18                THE COURT:    Well, I'm going to accept him as an

19     expert as a computer science engineer who specializes in the

20     area of election technology.       His background clearly manifests

21     that.

22                You know, whether there are weaknesses as to his

23     knowledge of Georgia is another matter.         And you have had an

24     opportunity to explore it.      Like it or not, we live in a

25     nation, just not in one state.       And technology is not only

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1      national.   It is international.

2                  So I understand the questions.       I understand their

3      relevance -- some of their relevance.        I'm not discounting

4      that.   Because we are dealing with specific events in Georgia.

5      But they don't just occur in isolation.

6                  Just as when there is a data breach in the financial

7      systems or in the medical systems, they are not just confined

8      to Georgia or to one state typically.        They are nationwide, as

9      everyone well knows.

10                 All right.    It is ten after 1:00.     I would like

11     you-all to talk about your schedule and be prepared to address

12     it with me afterwards.      We'll resume at -- just because it is a

13     matter of reality, we won't be ready until ten of 2:00.

14                 MR. SALTER:    What was that, Your Honor?

15                 THE COURT:    Ten of 2:00.

16                 MS. BURWELL:    Your Honor, Fulton County joins in all

17     of the objections made by the state.        I was trying not to --

18                 THE COURT:    That is fine.    I appreciate that.     It is

19     so noted.   And I'm going to assume that unless you jump up and

20     say that is not our objection at some point.         But I'm going to

21     just sort of have that as a standing position.

22                 All right.    If I say we're going to start then, if

23     you are coming back, come back a few minutes before then.

24                 MR. McGUIRE:    Is that 1:50, Your Honor?

25                 THE COURT:    1:50.

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1                 COURTROOM SECURITY OFFICER:       All rise.    Court stands

2      in recess until 1:50.

3                        (A lunch break was taken at 1:10 P.M.)

4                 THE COURT:    Please have a seat.      Counsel, have you

5      conferred and tried to impose some order on the schedule?          I

6      can tell you my order -- order I can conceive of is basically

7      cutting off on closing argument.       And basically you had very

8      full opening arguments that were in part closing arguments, as

9      far as I can see.     And I have read your briefs.

10                So I might have some questions for you.         But I don't

11     know that -- given what you-all have as an agenda, I don't know

12     how we get to closing arguments.

13                MR. SALTER:    We hadn't encountered that.       But I think

14     at this point -- I think we should plow through, Your Honor.            I

15     would suggest we plow through and get through as much as we

16     possibly can.

17                THE COURT:    You think we should just plow through?

18                MR. SALTER:    And do the best we possibly can.

19                THE COURT:    What I need to understand is -- because I

20     had given you-all a schedule based on what you gave me.           But

21     because you eliminated some of the witnesses, I really didn't

22     know how much time you were forecasting.         So that is one of the

23     reasons it was hard to control the time on the last one because

24     I didn't know once you had gotten rid of a witness.

25                So I need you to tell me when you start a witness how

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1      long you have actually projected for the direct and the same

2      amount will be for the cross.       But the cross is as divided

3      between -- just as when you put the person on, I'm expecting if

4      it is 20 minutes for the plaintiffs then it is going to be

5      divided as ever you see fit.       It is the same thing over here so

6      we don't end up with -- if Fulton County counsel really has a

7      lot of questions, then the state defendant needs to allow for

8      the time.   You can't just take up all of the time.

9                  I didn't like having to do that to Ms. Burwell.          That

10     is not fair.    She is smart and has information and examination

11     to contribute.    I can see that the plaintiffs have already

12     collaborated, but I wasn't so sure over on this side of the

13     room that you-all had.

14                 I just want to say additionally I understand that

15     this is a Georgia case.      And I have said that before.         But I

16     don't think it is helpful at this juncture to grandstand about

17     this.

18                 I think you can zero in on what somebody -- what they

19     have done with these particular machines.         But obviously the

20     experts here are experts as defendants well know who have

21     been -- who are independent experts whose resumes have been

22     made available.    And they are basically -- some of them have

23     worked for different states.       But none of them indicate that

24     they have worked for Georgia.       So this is obvious.     I can take

25     note of that.

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1                 We don't have a jury.      They don't need to be -- it

2      doesn't need to be brought home a thousand times.          But there is

3      obviously a science of field to this.        And these individuals

4      have identified what their credentials are.         You can certainly

5      note that they haven't -- I can note and already have noted if

6      they have worked for Georgia or not.

7                 And to my knowledge, most of them have not.            I think

8      the Georgia Tech -- we have a Georgia Tech professor coming in?

9                 MR. McGUIRE:     He is next, Your Honor.

10                THE COURT:    Maybe he has some knowledge I don't know

11     about.    But let's focus.

12                What is the period of time for this witness?

13                MR. McGUIRE:     So it is 30 minutes on the schedule.        I

14     will take 14 minutes, and I will give Mr. Cross a minute.            That

15     is all we have decided -- that is how we decided we can break

16     it up.

17                THE COURT:    When defense counsel gets up to examine

18     this witness, tell me how you are breaking it up.          If somebody

19     wants to concede something, that is fine.         But --

20                MR. SALTER:    We represented five and five, five

21     minutes for me and five minutes for Fulton County, in the

22     report.   That was before, of course, the Court decided to grant

23     the plaintiffs' request to enlarge time.

24                THE COURT:    Well, anyway, you will hear it.          You can

25     consult and let me know.

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1                    MR. SALTER:    Yes, Your Honor.

2                    THE COURT:    Call your next witness.

3                    MR. McGUIRE:    Your Honor, we would call Richard A.

4      DeMillo.

5                    COURTROOM DEPUTY CLERK:    Good afternoon, sir.      Please

6      raise your right hand.

7                          (Witness sworn)

8                    COURTROOM DEPUTY CLERK:    Thank you.    Please be

9      seated.    Please pull up close to the microphone.        You can

10     adjust the microphone if you need.        It is very important that

11     we all be able to hear you.

12                   I'm going to ask you to state your first and last

13     name again for the record, and then please spell those names

14     for the record.

15                   THE WITNESS:    Richard DeMillo.    R-I-C-H-A-R-D.    My

16     last name is spelled D-E, capital, M-I-L-L-O.

17            Whereupon,

18                            RICHARD DEMILLO, PH.D.,

19            after having been first duly sworn, testified as follows:

20                                  DIRECT EXAMINATION

21     BY MR. MCGUIRE:

22     Q.     Mr. DeMillo, I'm Robert McGuire, counsel for Coalition for

23     Good Governance.     You submitted two affidavits in this case;

24     yes?

25     A.     Yes.

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1      Q.   They were Documents 277 and 285.        You said that your

2      primary focus and your experience there was information,

3      communication, cybersecurity, and computer system testing?

4      A.   That is my background, yes.

5      Q.   I'm going to ask you some questions in that area of

6      expertise.    Mr. DeMillo, do you have an opinion as to

7      whether --

8                 THE COURT:    And you are a professor at Georgia Tech?

9                 THE WITNESS:     I'm a professor at Georgia Tech.

10     Q.   (BY MR. McGUIRE)     You have also worked for other places as

11     well; yes?

12     A.   I have, yes.

13          Would you like to know some of them?

14     Q.   Have you worked at Hewlett-Packard?

15     A.   I have worked at Hewlett-Packard.        I was the chief

16     technology officer at Hewlett-Packard.

17     Q.   Have you worked for the Department of Defense?

18     A.   I have worked for the Department of Defense.          I ran a

19     project called the software test and evaluation project for the

20     Department of Defense.

21     Q.   And in those positions, were you dealing with

22     cybersecurity and computer system testing?

23     A.   Frequently, yes.

24     Q.   Mr. DeMillo, I'm going to ask you if you have an

25     opinion -- have you formed an opinion on the question of

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1      whether Georgia's DRE system can be trusted to accurately

2      deliver election results?

3      A.   Yes, I have.

4      Q.   What is your opinion?

5      A.   My opinion is it is not a trustworthy system.

6      Q.   Okay.    Why do you have that opinion?

7      A.   Well, cybersecurity depends on three pillars of trust:

8      Protection, detection, and containment.         And I think in all

9      three of those areas, there are unanswered questions that

10     experts who have looked at these systems, experts who know

11     about cybersecurity have about Georgia's system, the

12     vulnerabilities we heard about this morning.         There needs to be

13     a rather full explanation of what protections are in place in

14     order to address those vulnerabilities.         We heard the

15     nonexistence of paper ballots.       That makes it difficult,

16     impossible to detect the vulnerability breaches when they

17     occur.

18          And we have yet to hear anything about containment.          So in

19     the event of a catastrophic breach, how do you go forward?           How

20     do you conduct the election?

21     Q.   So I want to take that conceptual framework, and I want to

22     put what happened in this case -- the allegations in this case

23     in the context of that framework.

24          So talk about protection.       To your knowledge, based on

25     your understanding of the allegations in this case, has that

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1      pillar been satisfied?

2      A.   So you hear about vulnerabilities in computer systems.

3      And these voting machines, like this one, are just computers.

4      And the way that you protect against intrusions is to

5      understand those vulnerabilities and build in safeguards.

6           But you have to go through the vulnerabilities one-by-one,

7      and you have to explain how about that vulnerability is going

8      to be addressed.

9           I can give you just a couple of examples of that if you

10     would like.

11     Q.   Real briefly.

12     A.   So you want physical security.        You want to know that the

13     equipment has been secured, that someone can't come in and

14     tamper with it.    But in the case of Georgia, we have no such

15     assurance.    We really don't know very much about the physical

16     security of the systems.

17          You have to be able to have logical security.          These

18     systems, particularly the DREs, are built on top of 25-year-old

19     computer technology that really didn't have security

20     subsystems.    There is nothing like an AV system, an antivirus

21     system, that sits on this computer.

22          And so all of the things that you would do in the normal

23     course of events with modern computers to say, well, here is

24     how I address this vulnerability is lacking.

25     Q.   So rather than go through the other pillars, I'm just

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1      going to jump into something specific.        So this machine -- you

2      see this machine in front of you?

3      A.     Yes.

4      Q.     Now, you saw Professor Halderman hack this machine?

5      A.     Yes.

6      Q.     So we know this machine is compromised; yes?

7      A.     Yes.

8      Q.     If the State of Georgia came to you and said, Mr. DeMillo,

9      we want to find out if this machine is compromised, could you

10     figure that out?

11     A.     You could conceivably figure it out, yes.

12     Q.     What would you have to do for this machine to figure that

13     out?

14     A.     So what I would probably do is open the machine up, attach

15     some probes to terminals in the back of the machine, and read

16     the memory of the machine just like you would read a disc on a

17     PC.    I would compare that image to the latest software that we

18     had from Diebold to see if it was a match or not.

19     Q.     If you did that, how long do you think it would take to do

20     this machine?

21     A.     I'm guessing, but I would guess about a half hour per

22     machine.

23     Q.     Now, if Georgia has 27,000 of these machines, how long

24     would it take to do that?

25     A.     It would take -- it would take 14,000 hours to do that.

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1      Q.   And then if you did that, the system would be good; yes?

2      A.   No.    Because the infection was spread by a contaminated

3      memory card.    So as soon as you insert that memory card back

4      into the machine, the machine is contaminated again.

5      Q.   So you have to check memory cards also?

6      A.   You have to check all the memory cards.

7      Q.   Same process?

8      A.   Basically, the memory card readers are commodity devices.

9      You insert the memory card and check to see what is there.

10     Q.   We have heard about other components of the system like

11     the GEMS server, the optical scan units, e-poll books.

12          Would those have to be checked also?

13     A.   Yes.   But very different processes for those.

14     Q.   Shorter?    Quicker?

15     A.   Well, in the case of GEMS servers, it is really a

16     difficult problem because we're talking about software that

17     hides in the deep recesses of the operating system.           Sometimes

18     in the software that loads as the machine is starting -- it is

19     there to not be detected.      So it is in many cases impossible to

20     find it.

21     Q.   Let's say you can check every single component that

22     Georgia uses in its election system.        You did that, and you had

23     enough time, and you took care of that.

24          Would the system then be trustworthy to accurately deliver

25     election results?

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1      A.   No.

2      Q.   And why not?

3      A.   Because the second pillar isn't in place.          You have to be

4      able to detect.    And without a written record of voter intent

5      to conduct an audit against, you have no way of determining

6      whether or not the votes have been changed.

7      Q.   So when you say written record, what do you mean?

8      A.   A paper ballot.     Hand-marked paper ballot.

9      Q.   So do machines like this ever have any kind of written

10     record?

11     A.   No.

12     Q.   Does Georgia's DRE system have the capability to produce

13     an independent and paper audit trail of every ballot cast?

14     A.   No.

15     Q.   How do you know that?

16     A.   Because I know the architecture of the machines.             When I

17     was at Hewlett-Packard, I used to manufacture machines very

18     similar to this.     If the machine is compromised, all the memory

19     in the machine is compromised.       It doesn't matter how often you

20     print it it is going to come out to be whatever the malware

21     wants it to be.

22     Q.   Are you familiar with Georgia's machines in particular?

23     A.   Am I familiar with Georgia -- so I don't think that there

24     is a Georgia machine.     I think these machines are manufactured

25     by companies like Hewlett-Packard, like Diebold for mass

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1      market.   They are commodity electronics.

2             They have components that come from all over the world.

3      Sometimes those get packaged into machines that are delivered

4      to Georgia, sometimes to California.        And so, you know, the

5      idea of a Georgia machine from the point of cybersecurity

6      doesn't really make a lot of sense.

7      Q.     So you heard the cross-examination of Professor Halderman;

8      yes?

9      A.     Yes.

10     Q.     Do you put any significance in the fact that he's looked

11     at versions 4.3, 4.4, and 4.6 but not 4.5?

12     A.     No, not really.   If you -- even if you assumed that the

13     ballot station software were perfect, they were clean, they

14     weren't contaminated, you have to understand that the hardware

15     and software that runs on these machines is commodity

16     electronics.

17            It is a Windows CE operating system that is notoriously

18     insecure.      It doesn't have a security subsystem, for example.

19     And that is what you would compromise.

20            If I were going to approach this machine, I probably

21     wouldn't start with the ballot station software.          I would start

22     with known compromises for Windows CE.

23     Q.     Are you familiar with the National Academy of Sciences

24     report?

25     A.     I am.

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1      Q.   Did that address a system that has been compromised by

2      being available to the internet for six months, or did it

3      address -- what did it address?

4      A.   Well, it addressed the vulnerabilities of the system.

5                  MR. SALTER:   Your Honor, one objection for the record

6      if I may.   It assumes facts not in evidence.        But go ahead.

7                  THE COURT:    All right.   So noted.

8      Q.   (BY MR. McGUIRE)     Let me ask you the question again.      Your

9      second affidavit attached the National Academy of Sciences

10     report?

11     A.   Yes.

12     Q.   Yes?

13     A.   Yes.

14     Q.   So did that report look at DREs in their pristine state or

15     DREs in a compromised state?

16     A.   So the National Academy report looked at the inherent

17     vulnerabilities of DREs, in particular paperless DREs, and said

18     that they are so dangerous that they shouldn't be used in any

19     further elections.

20     Q.   So if you start with DREs that have been evaluated that

21     way and you make them accessible to anyone in the world over

22     the internet for six months, does that make them in your

23     opinion more or less safe?

24     A.   Well, it certainly doesn't help.        It makes them more

25     vulnerable, I think.

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1      Q.   Now, the defendants have represented in their opening

2      statements that they do testing.

3      A.   Uh-huh (affirmative).

4      Q.   Have you observed any of that?

5      A.   I have observed logic inaccuracy testing.

6      Q.   Does that set your mind at ease as far as the security of

7      these systems?

8      A.   No.   It really doesn't tell you anything at all about the

9      accuracy of the system as they are used in elections.             And in

10     particular, it doesn't tell you anything about the accuracy of

11     the systems when they are under attack.

12     Q.   Mr. Salter's opening also represented that DREs can be

13     audited.   Are you aware of that?

14     A.   No.

15     Q.   How would you audit a DRE?

16     A.   Well, the very idea of an audit requires two independent

17     sources of information or two independent transactions to

18     compare against each other.      And the idea of auditing a single

19     machine is sort of circular reasoning.

20          If the machine is compromised, you have to assume that

21     everything in the machine is compromised.         Therefore anything

22     the machine tells you about its internal state is unreliable.

23     Q.   What about the safeguard of being able to run a recount?

24     A.   Same thing.     Same thing.    You are just adding the numbers

25     up again and expecting to get the same result.

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1      Q.   We have heard some testimony or some questioning about the

2      accuracy of paper ballots in recording voter intent versus

3      optical scanners -- read by optical scanners --

4      A.   Yes.

5      Q.   -- versus DREs?

6      A.   Right.

7      Q.   The implication, as I understood it, was that DREs are

8      more accurate.    Do you have a view on that?

9      A.   Well, so let me say at the beginning of my answer that

10     recording human choices is an inherently error prong process.

11     So any way of doing that is going to be subject to error.

12          I'm not aware of any studies that say that DREs are any

13     inherently -- any more inherently reliable at recording human

14     choices than paper ballots.

15     Q.   How can DRE be inaccurate in recording your choice?

16     A.   Well, a lot of things happen.        So one thing that happens

17     is that when a machine is compromised what gets compromised are

18     the relationship between the touches that a voter makes on the

19     screen and the names of candidates that are supposed to be

20     voted for when the screen is touched.        And that would destroy

21     the accuracy of the vote.

22          Even if the machine wasn't compromised by malicious

23     software, these are old machines.        And they require constant

24     calibration.    Now, in fact, the machines -- the contemporaries

25     of these machines, the little small handheld devices that we

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1      used to sell, when you started the machines up would first ask

2      you to calibrate the screen.       And that was because they can't

3      really tell when you touch the screen have you touched exactly

4      the mark that you intend to touch.

5      Q.   So relying on what you know of cybersecurity and computer

6      system testing, what would your solution be to make the

7      security of this system better?

8      A.   Well, as I said, I think these are designed to be unsafe.

9      It is not clear that you can design in security to the system

10     that we have in front of us here.        I think introducing a

11     voter-verified paper trail would help a lot.         I think replacing

12     these machines with hand-marked paper ballots would

13     dramatically improve the system.

14     Q.   Now, the defendants have accused the plaintiffs of being

15     Luddites.   Do you know what a Luddite is?

16     A.   I do know what a Luddite is.

17     Q.   What is a Luddite?

18     A.   A Luddite is a person who doesn't like technology and is

19     prone to go out and smash them whenever he finds them.

20     Q.   Do you consider yourself a Luddite?

21     A.   This is a strange career for a Luddite.

22     Q.   And would paper -- going to paper ballots be a Luddite

23     solution to this problem?

24     A.   No.    I think every -- every cybersecurity expert, every

25     computer scientist that I know of who has weighed in on this

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1      matter thinks that paper is the safest way to conduct

2      elections.

3           The weaknesses in paper are well-known.         But you don't

4      have the unknown weaknesses of cybersecurity to worry about.

5      Q.   And are you aware of how many Americans vote using paper

6      ballots?

7      A.   I'm not.

8                 MR. McGUIRE:     All right.    I'm going to stop there and

9      turn it over to Mr. Cross.      Thank you.

10                THE COURT:    I just want to ask you to clarify what

11     you said about the cards.      I just couldn't catch what -- I

12     missed something in terms of how to detect whether a card has

13     been infected.

14                THE WITNESS:     So you would read the card.       There are

15     card readers.    The old-fashioned computers used to have these

16     slots that you would fit these big fat cards into.          You would

17     read it just like you would read a disc.

18                Then there are programs that pull the information off

19     those cards.    And you can use it to compare it to other files.

20     And if those files match, then you would know that the card

21     wasn't in its original -- or was in its original state.

22                THE COURT:    All right.    Do you know whether that is

23     being done or not?

24                THE WITNESS:     I don't know.

25                THE COURT:    All right.

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1                    MR. CROSS:   Very briefly, permission to approach the

2      witness with an exhibit.

3                    THE COURT:   All right.

4                                 DIRECT EXAMINATION

5      BY MR. CROSS:

6      Q.     Mr. DeMillo, I hand you what has been marked as

7      Plaintiffs' Exhibit 5.

8             Let me ask you a couple of foundational questions if I

9      may.   Are you familiar with something called the SAFE

10     Commission in Georgia?

11     A.     I am, yes.

12     Q.     And what do you understand that to be?

13     A.     I understand it to be the commission that the Secretary of

14     State formed to make recommendations for acquiring the next

15     generation of voting systems.

16     Q.     Is there a member of that SAFE Commission selected by

17     Secretary Kemp who is an information technology and

18     cybersecurity expert?

19     A.     Yes.

20     Q.     What is his name?

21     A.     His name is Professor Wenke Lee.

22     Q.     Do you know him personally?

23     A.     I do.   He is a colleague.

24     Q.     At Georgia Tech?

25     A.     Yes.

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1      Q.    And did you attend a meeting of the SAFE Commission just

2      last week?

3      A.    I did.

4      Q.    And did Mr. -- did Professor Lee put up a presentation at

5      the meeting?

6      A.    He did, yes.

7      Q.    And was that meeting in sort of a private lunch session of

8      the committee as opposed to the public forum?

9      A.    It was a smaller room.     But the public was invited in to

10     view the session.

11     Q.    And did you observe Professor Lee's presentation?

12     A.    I did.

13     Q.    And did that -- what did that presentation concern just

14     very generally and briefly?

15     A.    It was --

16                MR. SALTER:    We're getting into hearsay.       I just want

17     to make an objection.     I would move to strike.

18                THE COURT:    He is talking about the subject matter of

19     the presentation.     You may proceed.     Objection overruled.

20                But if there is going to be hearsay --

21                MR. CROSS:    Let me do this.     I'm going to move in

22     Exhibit 5 once he takes a look at it and authenticates it.

23                But the argument on hearsay, I will say, Your Honor,

24     is the SAFE Commission is organized by Secretary Kemp.            He runs

25     it.   He picked the people.     So this would fall under a party

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1      opponent admission we would submit, Your Honor, because this

2      is, in fact -- it is funny they laugh.        It is almost offensive.

3      But this is the only thing they pointed to in all their

4      briefing that the Secretary of State has done to secure the

5      election.   This is it.     They say it is his initiative.        And

6      this is the man he handpicked to be his cybersecurity expert.

7                  MR. BARNES:   Bring him in here.

8                  THE COURT:    All right.

9                  MR. CROSS:    Please do.   Sorry, Your Honor.

10                 THE COURT:    All right.   Enough.    Find out what the

11     subject matter is.     And if there is a presentation, then he can

12     present -- provide a copy of the presentation.

13                 MR. CROSS:    Thank you, Your Honor.

14     A.   It was a tutorial to the commission members on the basics

15     of cybersecurity.

16     Q.   (BY MR. CROSS)      Take a look at Exhibit 5 you have in front

17     of you, and let me know if that looks to be a fair and accurate

18     copy of the presentation that Professor Lee made at the SAFE

19     Commission meeting just last week.

20     A.   Yes, it looks like the same presentation.

21                 MR. CROSS:    Your Honor, we move Exhibit 5 into

22     evidence.

23                 MR. SALTER:   Objection, Your Honor.

24                 THE COURT:    What?

25                 MR. SALTER:   Objection.

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1                 THE COURT:    You have an objection?

2                 MR. SALTER:    I have a hearsay objection.

3                 THE COURT:    All right.    Well --

4                 MR. CROSS:    Your Honor, the additional argument I'll

5      make just briefly, one, it is not hearsay for the reason I

6      said.   The additional argument I will make is we don't frankly

7      have to put it in for the truth because it directly contradicts

8      their position.    And so even just to get it in front of the

9      Court to show that the statements were made by their own

10     cybersecurity expert --

11                THE COURT:    Well, let me see a copy of it.

12                MR. SALTER:    I didn't mean to interrupt.

13                THE COURT:    You made your objection.       We're going

14     to -- I can always in the end determine it is hearsay.            But

15     we're going to proceed for now.

16                MR. CROSS:    Thank you, Your Honor.      I'll also just

17     note for the record, if I may, the rules of evidence don't

18     strictly apply in a preliminary injunction hearing.           And Your

19     Honor is entitled to hear hearsay as well.

20                That was all I had, Your Honor.        Thank you.

21                THE COURT:    Could I see the exhibit?

22                MR. CROSS:    Yes, please.     I handed him the marked

23     copy, Your Honor.

24                THE COURT:    That is all right.

25                So just when we say AV industry in 1998 or in 2000,

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1      AV refers to?

2                 THE WITNESS:     Antivirus.

3                 THE COURT:    Antivirus.    All right.

4                 Are you through?

5                 MR. CROSS:    I just didn't know if you had any

6      questions.

7                 THE COURT:    No.

8                 MR. CROSS:    Thank you, Your Honor.

9                 MR. SALTER:    Can I ask for a ruling from the Court?

10     I'm not sure where my bounds are as to this exhibit that was

11     just tendered by Brother Cross.

12                Is the Court going to admit it or simply just allow

13     some testimony in as kind of a treatise?

14                THE COURT:    Well, this is the presentation that was

15     given?

16                THE WITNESS:     Yes.

17                THE COURT:    I mean, I don't have to accept it for the

18     truth of the matter.     But I'm going to allow it for what was --

19     it was presented, and certainly it seems to me one of the

20     points that the state has is that you are moving forward.         So I

21     think, you know, it is relevant in that regard.          I don't have

22     to accept it all for the truth of the matter asserted in here

23     though.   But for the high points, that is something else.

24                MR. SALTER:    May I examine from it then, Your Honor,

25     subject to our objection that it is --

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1                  THE COURT:    You haven't been given a copy?

2                  MR. SALTER:   I have a copy, Your Honor.       Counsel

3      provided me with a copy.

4                                CROSS-EXAMINATION

5      BY MR. SALTER:

6      Q.   Mr. DeMillo -- is it DeMillo or DeMillo?

7      A.   DeMillo.

8      Q.   I'm John Salter.     Good to meet you, sir.       I'll try to move

9      along as quickly as I can.

10          You have performed a study of the overall security system

11     at the state before?      You participated in one through Georgia

12     Tech?

13     A.   I supervised one.

14     Q.   You supervised.      Was this back in 2007 for Karen Handel,

15     Secretary of State at the time?

16     A.   Yes.

17     Q.   Okay.    I will try to --

18                 MR. SALTER:   May I approach the witness, Your Honor?

19                 THE COURT:    What?

20                 MR. SALTER:   May I approach the witness?

21                 THE COURT:    Yes.

22                 MR. SALTER:   I apologize.     I don't have enough copies

23     for the Mongol horde of lawyers here on the other side of me.

24     Your Honor, if y'all want one.

25                 I don't know if we'll tender this or not.         But I

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1      wanted to have it present if the witness wanted to read it.

2      Q.   (BY MR. SALTER)     Can you identify the title page of that

3      document, Professor?

4      A.   Security Study of the Processes and Procedures Surrounding

5      Electronic Voting in Georgia.

6      Q.   And I'm going to stick and move.        If I confuse you, let me

7      know.   But I'm going to try to move along because I promised

8      five minutes, and that was the representation.

9           So when was this study done?

10     A.   It was delivered -- well, you see on the front page it was

11     delivered May 2008.     So it was done in the seven months leading

12     up to that.

13     Q.   And was this -- was the final report actually made to the

14     Secretary of State at the time?

15     A.   Yes.

16     Q.   And did this assume -- did this study basically assume the

17     similar kind of software vulnerabilities that you have

18     testified today --

19     A.   Well, this was --

20     Q.   -- as a potential problem?

21     A.   This was 2007.     So 2007 we knew much, much less about the

22     vulnerabilities than we do today.

23     Q.   Well, it did assume that -- you didn't perform a software

24     audit of e-voting machines because you accepted the findings of

25     previous software security studies; correct?

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1      A.   I'm not an author of the report.

2                 MR. CROSS:    Your Honor, by Mr. Salter's own

3      objection, this would appear to be hearsay.         Nor does this

4      witness appear on this document.       Could we --

5                 MR. SALTER:    It is actually a Government report.

6                 MR. CROSS:    I'm sorry.    Could we just maybe have some

7      context of what it is and what we are doing.

8                 MR. SALTER:    I'm not tendering it yet.       I am using it

9      as a learning treatise.      He actually participated in the study.

10     It was actually funded.      It is a Georgia Tech -- if you want to

11     call it a public document, Government report, it could come in

12     under Rule 4, the exception to the hearsay rule.

13                I'm just using it to examine this witness as a

14     proffered expert on cybersecurity, including the systems in

15     action in Georgia.

16                THE COURT:    All right.    Well, you can ask him

17     questions about it, and I'm not sure where you are going

18     though.

19                To the extent you know -- because I know you

20     participated in the review.      I'm not sure you participated in

21     the writing of the study.

22                THE WITNESS:     So these authors worked for me.       So --

23     and I am familiar with the methodology they used.          I'm not an

24     author of this report.

25                THE COURT:    All right.

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1      Q.   (BY MR. SALTER)      But you directed some of the study?

2      A.   I supervised the study.

3      Q.   Supervised some of the study.        Are you familiar with some

4      of the findings that were made and furnished to the Secretary

5      of State?

6      A.   Some of them, yes.      It has been a while since I have

7      looked at it.

8                  COURT REPORTER:    Y'all were talking at the same time.

9      I cannot get you.

10     Q.   (BY MR. SALTER)      She's going to get on to us.      Okay.   Are

11     you with me?

12          Were you familiar with the findings that were presented to

13     the Secretary of State back in 2007 or '8?

14     A.   Yes.

15     Q.   And was some of the findings -- I want to ask you if this

16     sounds familiar.     Was some of the findings a concern that a

17     single trusted person could install malicious software on a DRE

18     machine?    Was that a finding?

19     A.   I don't recall.

20     Q.   Okay.    So if you turn to Page 4 of the executive

21     summary -- I'll try not to take you through the whole entire

22     report because we don't have time.

23                 MR. SALTER:   And if I could, Amy, if you would light

24     up the ELMO here.

25     Q.   (BY MR. SALTER)      Do you see where it says election

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1      officials would likely be able to detect certain technical

2      attacks by voters discovered in previous studies provided that

3      they are trained to recognize suspicious voter behavior?

4           Did I read that right?

5      A.   Yes.

6      Q.   All right.    And in terms of what that is referencing, it

7      is talking about the fact that we know even in 2007 and 2008

8      when this was actually published -- we knew that you could

9      install if you had free access to it -- if you assume that,

10     that you could install a memory card with a malicious virus on

11     a DRE machine?    We knew that back then, didn't we?

12     A.   We did, yes.

13                 MR. CROSS:    Your Honor, again, is this coming in for

14     the truth?    What are we doing here?      This is clearly hearsay.

15                 MR. SALTER:   Your Honor, their only theory on why all

16     the other case law doesn't matter is because they told the

17     Court, well, there is a new threat.        This isn't a new threat.

18     It is new that it is Russian and coordinated.

19                 THE COURT:    No.   That is not true.    The cases you

20     bring in this court often are based on new technology and new

21     efforts.    They are not necessarily based on Russia in terms of

22     data breach and hacking.

23                 So, you know, you can do this.       I think you can

24     examine it.    But I don't know that it obliterates everything

25     else.   And I really think that we would spend a lot better time

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1      if we could also deal with what has happened since that time.

2                  But you are welcome to do it.       You can spend all your

3      time on 2008 if you want, ten years ago.

4      A.   Can I respond to your question?

5      Q.   (BY MR. SALTER)     Yeah.   Was it known in 2008 that you

6      could install -- if you had access to a memory card to install

7      malicious virus malware on a DRE machine?

8      A.   The question is:      Who do you mean by you?      So in 2007, we

9      didn't know about the kind of threat called the advanced

10     persistent threat.     This is a kind of threat that is mounted by

11     organized crime, by nation states using advanced techniques.

12          The cartoon that the Judge noted in Wenke Lee's

13     presentation makes a humorous point about that.          But it

14     nevertheless is the point that what has happened since 2008 is

15     that these people have much more capabilities than they had

16     in -- you know, in this time frame.

17          And so the things that we could do back then can now be

18     done over a long period of time using very complicated tools,

19     using advanced capabilities.

20                 THE COURT:   Things that we can do back then, what do

21     you mean?

22                 THE WITNESS:    So what it would take to install

23     malware on a single voting machine in 2007 has now been

24     automated to the point where an advanced persistent threat can

25     make a process of it.      They can just like manufacture malware

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1      to send out to these machines without even -- without even

2      contacting someone that is internal to the system.

3      Q.   (BY MR. SALTER)     My question -- if I can direct you back

4      to my question, I don't want to be here all day.          In terms of

5      the demonstration that was made this morning with Mr. Halderman

6      -- Professor Halderman -- do you recall that? -- where he

7      inserted a memory card.      He had a programmed virus on it, and

8      you insert that in -- that was something that has been known

9      for more than a decade as a potential vulnerability with DRE

10     machines; is that fair?

11     A.   Yes.

12     Q.   Okay.    And one of the things in terms of going in with a

13     memory card and you unlock the key -- remember how he had to

14     unlock the key?    You had to have a key; right?

15     A.   (Witness nods head affirmatively.)

16     Q.   Can you answer?

17     A.   Yes.    But that misstates what the demonstration was.

18     Q.   No.    He had a key; correct?

19     A.   But he was playing the role of a poll worker.          He wasn't

20     playing the role of an attacker.

21     Q.   I'm not arguing with you.       But he had a key?

22     A.   Yes.

23     Q.   He had the memory card?

24     A.   Yes.

25     Q.   And so in terms of a poll worker doing that, using the

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1      key, putting the memory card in there, is that the kind of

2      thing that in terms of y'all's studying back in 2008 that you

3      referenced that kind of thing if observed by another poll

4      worker would be a suspicious activity and likely to be

5      discovered; fair?

6      A.   No.

7      Q.   Okay.

8      A.   No.

9      Q.   Let's talk about this.      This is Page 4 where it says, even

10     if you were a poll worker, a single trusted person choosing to

11     act against the state may find an opportunity to alter the

12     software on a machine.      That is basically what we heard about

13     this morning; fair?

14     A.   Right.

15     Q.   Okay.    By limiting an individual's access to the voting

16     equipment, reliance on each individual's trust can be reduced;

17     correct?    Did I read that correctly?

18     A.   Yes.

19     Q.   Do you know whether or not this recommendation was acted

20     on and that there was a reg implemented to increase and train

21     poll workers regarding watching not only voters inserting

22     something but also other poll workers potentially tampering

23     with the machine?

24     A.   Do I know that?

25     Q.   Yes.

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1      A.   No, I do not know that.

2      Q.   Fair enough.     In terms of -- I want to flip to this.

3      Well, let me ask one other thing.

4           Are you aware -- let me say this.        Is it reasonable to

5      expect any software program to be error-free?

6      A.   No.

7      Q.   Absolutely not?     Knowing that, isn't it reasonable for

8      people to design a system that has enhanced consistently

9      implemented physical security measures regarding the software

10     components and the chain of custody involved that is implicated

11     by that; fair?

12     A.   Physical security of software components?

13     Q.   Locking up the actual software devices that make the

14     memory cards; fair?     You would lock that machine up?

15     A.   Those are connected to the internet.

16     Q.   Are you -- hold on.      Is it your testimony that your

17     opinions are based on the idea that the computers that form --

18     that populate the ballots that make the memory cards -- is it

19     your testimony that that is connected to the internet?

20     A.   The GEMS servers are from time to time connected to the

21     internet, yes.

22     Q.   That is the basis of your opinions here today?

23     A.   I'm reading the training manuals that Diebold distributes

24     with its machines.

25     Q.   So that -- so yes, the basis of your opinions today is

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1      that the critical GEMS servers that populate the ballots for

2      the state and create the memory cards -- that that is sometimes

3      connected to the internet?      That is your opinion?

4      A.   Yes.

5      Q.   One of the things you have testified that you are talking

6      about here in this presentation or whatever it was last week --

7      do you have a complete and reasonable understanding of the data

8      encryption that is used by the Secretary of State in the

9      Secretary of State's IT department?

10     A.   No.

11     Q.   Do you have a -- same question as to the blocking

12     parameters that are used in the Secretary of State's IT

13     department in relation to election security.

14     A.   I don't know what blocking parameters means.

15     Q.   In terms of how -- do you have personal direct knowledge

16     regarding how updated the security patches are on the critical

17     infrastructure technology equipment used by the Secretary of

18     State's IT department?

19     A.   No.

20     Q.   Do you have personal, direct knowledge regarding the

21     penetration testing and the methodology that is used?

22                 THE COURT:   All right.    Listen, if you want to enter

23     into a stipulation as to all of those questions, since I know

24     none of it has been provided to me and it was very -- and might

25     have all been relevant, could have been under seal -- but there

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1      is no indication that any -- because of the affidavits given

2      here that these individuals have been provided that access.

3                 MR. SALTER:    They haven't.     Absolutely not.       That is

4      my next question.

5                 THE COURT:    So then why don't you stipulate?         We

6      don't have a jury here.      Let's save time.     Stipulate and just

7      move on.

8                 MR. SALTER:    Do y'all stipulate that the plaintiffs

9      have no knowledge regarding penetration technology

10     (unintelligible) --

11                COURT REPORTER:     I'm sorry, Mr. Salter.      I just need

12     you to slow down, please.

13                MR. SALTER:    Yes, ma'am.     I'm sorry.

14                COURT REPORTER:     I got about four words.

15                MR. BROWN:    We will stipulate that there is no

16     evidence in the record describing what he is talking about and

17     that we're unaware of whether Professor DeMillo in his capacity

18     at Georgia Tech or otherwise has knowledge of that.

19                And Mr. Salter is way over his time and eating into

20     Fulton County's time and eating into our time later today.

21                MR. SALTER:    Fair enough.

22     Q.   (BY MR. SALTER)     But do you have any personal knowledge to

23     that in terms of basing your opinions regarding how we use

24     penetration testing?

25     A.   I'm not aware that you use penetration testing.

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1                 MR. SALTER:    I will roll through this and wind up and

2      then let --

3                 THE COURT:    Well, I'm going to -- unless Fulton

4      County wants to -- I'm going to let Fulton County's counsel

5      appear at this point unless --

6                 MS. BURWELL:     I will concede my time.

7      Q.   (BY MR. SALTER)     Mr. DeMillo, can you testify from your

8      personal knowledge regarding a single instance in which a flash

9      drive or some other medium-type device was inserted -- has been

10     inserted into the server used at the Secretary of State's IT

11     department that led to a vote being changed on the DRE machine?

12     A.   I'm not -- ask the question again.         I'm not sure what you

13     are asking.

14     Q.   Are you aware of a single instance in which a corrupted

15     flash drive or other medium was inserted into the server at the

16     Secretary of State's office, the one that is kept behind -- I

17     will represent to you is kept behind a locked door -- that

18     somehow resulted in a malicious virus that changed a vote in

19     Georgia?

20     A.   I don't know how I would be aware of that.

21     Q.   Do you have -- can you testify to an instance in which

22     that has happened anywhere in the country under election -- in

23     a real election anywhere in the country?

24     A.   Ask me again what you are saying.

25     Q.   I was removing it out of the Georgia Secretary of State's

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1      server that populates the ballots that creates the memory

2      cards.

3           Are you aware of a single instance anywhere in the country

4      where a virus was propagated down through the server that

5      creates the ballot format, through the memory card, on to a DRE

6      machine?

7      A.   I don't think so, no.

8                 MR. SALTER:    I'm over my time, Judge, and I know it,

9      and I'll hush, but I think that establishes where we are.

10                THE COURT:    All right.    And I trust then that you are

11     going to present some actual affirmative evidence from the

12     Secretary of State's office.

13                MR. SALTER:    Could I ask one more question?

14                THE COURT:    No.    No, you cannot.

15                Is this witness excused?

16                MR. McGUIRE:     Yes, Your Honor.

17                MR. CROSS:    Your Honor, just one question if I may.

18                THE COURT:    Yes.

19                              REDIRECT EXAMINATION

20     BY MR. CROSS:

21     Q.   Professor DeMillo, do you have Professor Lee's

22     presentation in front of you?

23     A.   Yes, I do.

24     Q.   So Mr. Salter turned you to the last page, operation and

25     maintenance and some best practices there.         Do you see that?

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1      A.   The last page?

2      Q.   Yes.

3      A.   Yes.

4      Q.   That is the one he put up?

5      A.   Yes.

6      Q.   Just very briefly, do you see the one on the page a few

7      pages before, same heading, with the subheading specification

8      and design and it says paper ballots done right?

9      A.   Uh-huh (affirmative).

10     Q.   Do I read this correctly that even with the best practices

11     that Mr. Salter put up the only specification and design for an

12     election system that Professor Lee offered in this presentation

13     that has the characteristics of verifiably cast as intended,

14     verifiably collected as cast, and verifiably counted as

15     collected, and cannot by completely controlled -- or be

16     completely controlled or manipulated by any cyber component --

17     the only specification design are paper ballots done right with

18     auditing?

19     A.   Yes.

20                 MR. CROSS:    Thank you.

21                 THE COURT:    Do you want your -- what were you

22     planning to do, Mr. Salter?

23                 MR. SALTER:    Could we tender that, Judge.       We'll

24     offer that as D-1.

25                 MR. McGUIRE:    We have nothing else for the professor.

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1                  THE COURT:    Do you have any objection to the exhibit

2      being offered by Mr. Salter?

3                  MR. SALTER:    Let me identify it.     I think it is the

4      2008 report by Georgia Tech in which Mr. -- is it Professor

5      DeMillo?

6                  THE WITNESS:    Professor, Dr. DeMillo.

7                  MR. SALTER:    -- that Dr. DeMillo had some role in

8      supervising the report.

9                  Any objection?

10                 MR. CROSS:    Your Honor, our position would be that

11     they should be received the same way.        So we have no objection

12     if he withdraws his objection to ours.        If he is going to stand

13     on his objection, then we're forced to make a hearsay

14     objection.    I say just let it all come in and let Your Honor

15     figure out the facts.

16                 THE COURT:    They are both basically presented to the

17     Government as part of the Government process.          They are both

18     admitted.

19                 MR. CROSS:    Thank you, Your Honor.

20                 THE COURT:    Thank you.

21                 Who is your next witness?

22                 MR. CROSS:    Your Honor, the plaintiffs call to the

23     stand Chris Harvey.

24                 THE COURT:    How long do you anticipate?

25                 MR. CROSS:    I'm going to try to stick to 15 minutes,

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1      and I can cut out some stuff on the witness.          But that is the

2      aim.

3                 THE COURT:    Are you -- is that the totality of

4      plaintiffs' examination, or are you doing some examination, Mr.

5      McGuire?

6                 MR. McGUIRE:     I need a few minutes.      Your Honor, we

7      would like -- I would like to have five minutes if I could.

8                          (Witness sworn)

9                 COURTROOM DEPUTY CLERK:       Thank you.    Please be

10     seated.    Please pull up close to the microphone so we can hear

11     you.

12                I'm going to ask you to state your first and last

13     name again for the record, and please spell your first and last

14     names for the record.

15                THE WITNESS:     Yes, ma'am.    My name is Chris Harvey.

16     That is spelled C-H-R-I-S H-A-R-V-E-Y.

17                COURTROOM DEPUTY CLERK:       Thank you, sir.

18                MR. CROSS:    Your Honor, for convenience, could I pass

19     up a binder to the witness and to you?

20                THE COURT:    Yes.

21            Whereupon,

22                                 CHRIS HARVEY,

23            after having been first duly sworn, testified as follows:

24                               CROSS-EXAMINATION

25     BY MR. CROSS:

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1      Q.   You don't need to look at it quite yet.         We'll get to it,

2      Mr. Harvey.

3           So, Mr. Harvey, you've been the State of Georgia's

4      elections director since July of 2015; is that right?

5      A.   That is correct.

6      Q.   Before that, from August 2007 to July 2015, you were the

7      chief investigator and deputy; right?

8      A.   Correct.

9      Q.   That was for Georgia?

10     A.   For the Secretary of State's office, yes.

11     Q.   Sorry.    Deputy inspector general for the Secretary of

12     State's office?

13     A.   That is correct.

14     Q.   So you have worked for the current Secretary of State for

15     the last eight years; is that right?

16     A.   That is correct.

17     Q.   So you work for Brian Kemp?

18     A.   Yes, sir.

19     Q.   Take a look at -- well, let me ask you first:          You're

20     familiar with the SAFE Commission we have talked about today;

21     right?

22     A.   Yes, sir, I am.

23     Q.   And the members of that commission were selected by

24     Secretary Kemp; right?

25     A.   Yes, sir.

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1      Q.   And the only individual on that commission who was

2      identified as an information technology and cybersecurity

3      expert is Professor Wenke Lee from the University of Georgia

4      Tech; right?    Or Georgia Tech Institute?

5      A.   Yes, sir.

6      Q.   He was selected by Secretary Kemp for that role; right?

7      A.   That is my understanding.

8      Q.   The SAFE Commission has had only two meetings since it was

9      announced in the spring of this year; right?

10     A.   Yes, sir.

11     Q.   The first was in June of this year?

12     A.   Yes, sir.

13     Q.   The second was just last week?

14     A.   I believe two weeks ago.       It may have been last week.

15     Q.   Fair enough.     I think it was September 4.       Does that sound

16     right?

17     A.   It could have been.      I have been on the road.

18     Q.   Within the last two weeks?

19     A.   Yes, sir.

20     Q.   And you attended both meetings; right?

21     A.   I did.

22     Q.   And at the most recent meeting, you attended a panel

23     moderated by Professor Wenke regarding cybersecurity and

24     elections?

25     A.   I did.

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1      Q.   And you also attended a presentation that he put on

2      regarding cybersecurity considerations for voting systems;

3      right?

4      A.   Yes, sir.

5      Q.   So you saw the presentation, some of which went up on the

6      screen today, from Professor Lee that is now in evidence;

7      right?

8      A.   I did.

9      Q.   Turn to Tab 3 in the binder if you would, sir.           So you

10     sent a letter to county commissioners and officials across 159

11     counties of Georgia on August 1st of 2018; right?

12     A.   Yes, sir.

13     Q.   So approximately six weeks ago; right?

14     A.   Yes, sir.

15     Q.   And this is -- the copy you have in front of you, does

16     that look to be a fair and accurate copy of the letter that you

17     sent out?

18     A.   Without reading every word, I believe so.

19     Q.   That is your signature on the last page, is it not?

20     A.   It is, yes, sir.

21                 MR. CROSS:    Your Honor, we move Exhibit 6 into

22     evidence.

23                 MR. SALTER:    No objection.

24                 THE COURT:    It is admitted.

25                 MR. McGUIRE:    No objection.

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1                 THE COURT:    Admitted.

2                 MR. CROSS:    Thank you, Your Honor.      We'll give marked

3      copies at the end if that is okay to keep things moving.

4                 THE COURT:    That is fine.

5      Q.   (BY MR. CROSS)     And you sent this letter in your official

6      capacity as the State of Georgia's elections director; right?

7      A.   Yes, sir.

8      Q.   And you acknowledge in this letter that for over a decade

9      it has been your job to be intimately familiar with both

10     Georgia election law, systems processes and procedures; right?

11     A.   That is correct.

12     Q.   And you state in this letter that throughout your tenure

13     at the Secretary of State's office election security has been a

14     top priority for you personally and for the entire Secretary of

15     State's office and county election officials; right?

16     A.   That is correct.

17     Q.   That would be since your tenure began in 2007; right?

18     A.   Yes, sir.

19     Q.   You are aware that in August -- on August 24, 2016,

20     cybersecurity researcher Logan Lamb was able to access and

21     download information from the GEMS server, which is used to

22     manage the elections in the State of Georgia; right?

23     A.   That is not my understanding, no, sir.

24     Q.   Are you not aware that Logan Lamb was able to access the

25     GEMS server?

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1      A.   My understanding is that Logan Lamb was not able to access

2      the GEMS server.     My understanding is that he was able to

3      access a web server at Kennesaw State University that was used

4      exclusively for the staff at Kennesaw State to communicate with

5      the counties.    But at no time was that ever connected to a GEMS

6      server or to any of the systems that built ballots in Georgia.

7      Q.   But that web server included GEMS databases?

8      A.   I don't believe it did.       But I could be wrong.

9      Q.   Did you investigate that?

10     A.   I did not.

11     Q.   But you believe that when Mr. Lamb stated in his

12     declaration under oath that he was able to download GEMS

13     databases that he was mistaken?

14                MR. SALTER:    Objection to the question.       I think the

15     witness has answered I don't know.        I think he is asking him to

16     comment on the credibility of a witness who is not here.

17                THE COURT:    I don't think he is asking -- have you

18     read that before, or were you aware of that before?

19                THE WITNESS:     No, ma'am.

20                THE COURT:    So you had never looked at Mr. Lamb's

21     statement or any of the information he provided in your

22     capacity as director of elections?

23                THE WITNESS:     Not -- his declaration for this case,

24     no, ma'am.

25                THE COURT:    Yes.   That is part of the question.     But

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1      the question also is:     When this came out -- and it was a

2      fairly public thing -- you didn't make yourself familiar with

3      the scope of the information that Mr. Lamb had identified was

4      accessible?

5                 THE WITNESS:     I made myself aware of the generalities

6      of the situation.     The FBI actually investigated and did not

7      share that information with our office.

8                 And in talking with the -- with the staff at KSU, I

9      was told that the web server only contained communication

10     information to the -- went from KSU to the counties.

11                So my understanding is that it did not contain GEMS

12     databases.    That is my understanding as I sit here today.

13     Q.     (BY MR. CROSS)   Are you aware that it -- well, I tell you

14     what, just for the sake of speed, let me ask this:          When

15     Mr. Lamb accessed the database that you said is used to

16     communicate with the counties, that happened during your

17     tenure; right?

18     A.     In June of 2016, again --

19     Q.     In August of 2016.

20     A.     In August of 2016, yes, sir, I was the election director

21     at that time.

22     Q.     When he accessed that same system and the same data six

23     months later, that was also during your tenure, was it not,

24     sir?

25     A.     It was.

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1      Q.   You state in the letter that there are some who believe

2      that because the current DRE machines are fully electronic

3      there is no way to verify that voter selections match the vote

4      counts output.    You say this belief is not true; right?

5      A.   Yes, sir.

6      Q.   But as you heard from Professor Lee during his

7      presentation, he certainly disagrees with you in saying that

8      that is not true; right?

9      A.   Well, I don't know that he was speaking -- I don't recall

10     him speaking specifically about our system.

11     Q.   You think that when Professor Lee got up to give a

12     presentation to the SAFE Commission, which the Secretary of

13     State's office has touted as its singular effort to secure this

14     election, and he was talking about securing an election -- you

15     didn't think he was talking about the system in this state?

16     A.   No.    The SAFE Commission -- the commission of the SAFE

17     Commission is to look at future voting systems.          He was

18     speaking -- my understanding of the presentation he gave -- are

19     you talking about the lunch presentation?

20     Q.   Yes.

21     A.   He was speaking generally about cybersecurity.           He was not

22     speaking specifically about our current voting system is my

23     understanding of that presentation.

24     Q.   I'm trying to move on for the sake of time here,

25     Mr. Harvey.    The State of Georgia has requested from the

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1      federal government just over $10 million as part of the federal

2      funding, the HAVA funding, that is available to secure

3      elections in the country; is that right?

4      A.   That is correct.

5      Q.   Did you determine the amount that was requested?

6      A.   No, sir.    The amount was allocated to the state by the EAC

7      and by Congress.

8      Q.   The state has received that funding; right?

9      A.   We have completed all the paperwork.         Whether the money

10     has actually hit the account or not, I don't know.          As of a

11     week or two ago, I think we were still waiting for it to land

12     in the account.

13     Q.   And you didn't request that funding from the state until

14     July 10 of this year; correct?

15     A.   That sounds about right.

16     Q.   In fact, originally Secretary Kemp turned it down and said

17     he was not going to take it?       That was the original position;

18     right?

19     A.   I'm not aware of any declination of funds.          No, sir, I'm

20     not aware of that.

21     Q.   Take a look at Tab 4 if you would, which is the

22     declaration you submitted in this case.         And if you would

23     start -- we're almost done.      Turn to paragraph -- I'm sorry --

24     Paragraph 20 on Page 11.

25          At the bottom, the very last line, you have got a sentence

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1      that reads -- going to the top of the next page -- the optical

2      scanners that are currently part of Georgia's system are

3      manufacturer recommended to tabulate up to 2000 ballots each

4      election; right?

5      A.   Yes, sir.

6      Q.   Sir, is it your testimony under oath that the optical

7      scanners available in this state have a maximum capacity of

8      tabulating a sum total of only 2000 ballots for an entire

9      election?

10     A.   That information came from Michael Barnes in our office as

11     far as the general --

12     Q.   Sorry to interrupt.      I just want to make sure.       Is that

13     your testimony?    Do I understand correctly that that is what

14     you are stating here?

15     A.   That is my understanding of what the manufacturer

16     recommendations are.

17     Q.   But you heard that from Mr. Barnes?

18     A.   That is correct.

19     Q.   You have no firsthand personal knowledge on whether that

20     is accurate; correct?

21     A.   Yeah.    I heard it from Mr. Barnes.       I believe it to be

22     correct.

23     Q.   Based on what you heard from Mr. Barnes?

24     A.   Yes, sir.

25     Q.   So you haven't read --

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1                  THE COURT:    From Attorney Barnes or somebody else?

2                  THE WITNESS:    No, sir.   Michael Barnes is the Center

3      for Elections Systems director in the Secretary of State's

4      office.   He deals with the machines.

5                  THE COURT:    All right.

6                  MR. BARNES:    No kin.

7                  MR. CROSS:    Your Honor, we move to strike that

8      portion of the declaration as obvious hearsay.          He has no

9      foundation or personal knowledge.        And it is actually quite an

10     important fact in this case.

11                 MR. SALTER:    Your Honor, no objection.      We'll have

12     Mr. Barnes present.

13                 THE COURT:    All right.

14     Q.   (BY MR. CROSS)      You also state in the very next sentence,

15     currently Georgia has 891 optical scan machines; is that

16     accurate?

17     A.   Again, based on Mr. Barnes' report, it is.

18     Q.   Turn to Paragraph 11, if you would, sir.

19                 THE COURT:    Are you moving to strike that too or not?

20                 MR. CROSS:    No.   We're okay with that.

21                 THE COURT:    All right.

22                 MR. KNAPP:    We finally got a number out of them.

23                 MR. CROSS:    That one we think is true.

24     Q.   (BY MR. CROSS)      Paragraph 11 you provide -- let me just

25     direct your attention here.

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1                  THE COURT:    You are looking at an affidavit of his?

2      What is the document number?

3                  MR. CROSS:    It is -- his affidavit -- it is --

4                  MR. SALTER:   265.

5                  MR. CROSS:    -- 265-2 in the docket.      265-2.

6      Q.   (BY MR. CROSS)      Do you see at the top of Page 6, where

7      Paragraph 11 goes on -- you provide an estimated cost where it

8      states, I estimate the cost of preparing and mailing out a

9      paper ballot, including the cost of ballot printing, preparing

10     and printing the inner and outer envelopes and both outgoing

11     and return postage to be approximately $2 per absentee ballot

12     package; right?

13     A.   Yes, sir.

14     Q.   And that is an estimate you made -- well, strike that.

15     How much of that was outgoing and return postage?          I assume it

16     is about half?

17     A.   The postage outgoing would probably be about between 50

18     and 60 cents.

19     Q.   Each way?

20     A.   Yes.

21     Q.   So somewhere from half to a little more than half?

22     A.   Probably.

23     Q.   And how much of that was preparing and printing the inner

24     and outer envelopes?

25                 MR. SALTER:   Your Honor, may I object as to

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1      relevancy.    And, Cross, you tell me if I'm wrong.        But I

2      thought y'all had withdrawn this whole absentee ballot --

3                  MR. CROSS:    We have, which is why this is very

4      relevant which will become clear.

5                  MR. SALTER:    Subject to that, we'll reserve an

6      objection as to relevance.

7                  THE COURT:    All right.

8      Q.   (BY MR. CROSS)      How much of the two dollars or the roughly

9      80 cents to a dollar left over was preparing and printing the

10     inner and outer envelopes?

11     A.   It is a much smaller amount.        We print those in our

12     office.   I would say maybe ten percent.

13     Q.   Of the total.     So another 20 cents?

14     A.   Approximately.

15     Q.   So we're somewhere around 1.20 to 1.40?

16     A.   I believe so.

17     Q.   And so how much of that was ballot printing?

18     A.   The remainder would be ballot printing.

19     Q.   So around 40 --

20     A.   You think --

21     Q.   Around 60 to 80 cents?

22     A.   Correct.    That is my understanding.

23     Q.   Okay.    All right.

24                 THE COURT:    Is that what you are trying to make me

25     aware of?    That it is 60 to 80 cents for ballot printing?

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1                 MR. CROSS:    Yes.   The only estimate we have of the

2      cost to do paper ballots in this court is 60 to 80 cents per

3      ballot.   And we'll walk through the math, if we actually get

4      some closing on it.     But you will see it comes down to a very

5      small number when you figure about 3 million voters.

6      Q.   (BY MR. CROSS)     Georgia has run a pilot program in Conyers

7      using paper ballot voting machines; right?

8      A.   Ballot marking devices, yes.

9      Q.   And there has been no problem reported during that pilot?

10     A.   Not that I'm aware of, no, sir.

11     Q.   And, in fact, you recognized as of October of last year

12     that this kind of technology seems to be what a lot of states

13     are going towards; is that right?

14     A.   It is.

15     Q.   In fact, you recognize as of last year that this is

16     becoming the new normal to have some sort of paper as part of

17     the voting machine; right?

18     A.   Yes, sir.

19     Q.   And, again, just so we're clear, you made that recognition

20     in October of 2017; right?

21     A.   Yes, sir.

22                MR. CROSS:    No further questions.

23                               CROSS-EXAMINATION

24     BY MR. MCGUIRE:

25     Q.   Ready, Mr. Harvey?

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1      A.   I'm ready.

2      Q.   My name is Robert McGuire.       I represent the Coalition

3      plaintiffs, the other set of plaintiffs.

4           Mr. Harvey, you're the election director for the entire

5      State of Georgia?

6      A.   That is correct.

7      Q.   And in the Secretary of State's office, everyone there is

8      a public servant?

9      A.   Yes.

10     Q.   And you serve the public?

11     A.   That is correct.

12     Q.   What you do is what is in the public's interest; yes?

13     A.   Yes.

14     Q.   As you see it?

15     A.   Yes, sir.    In accordance with the laws and office policies

16     and regulatory guidelines, rules, and all that stuff.

17     Q.   And when your office takes an action, your office by

18     definition views that action as being in the public interest?

19     A.   I believe so.

20     Q.   So I would like to direct your attention back to Exhibit 7

21     or 6, which Mr. Cross put in front of you as Tab 3 in the

22     binder.   It is your letter.

23          Now, you wrote this letter on August 1st; yes?

24     A.   Yes.

25     Q.   That is six weeks ago today?

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1      A.     I believe so.

2      Q.     Okay.   You wrote it to counties to stop them from

3      exploring this switch -- making the switch on their own to

4      paper ballots?

5      A.     Yes.    I had gotten some questions about whether or not

6      they had the authority to do that.

7      Q.     And at the bottom of Page 2, there is a paragraph that

8      says -- I'll just read it -- there is a provision of Georgia

9      law that allows the state to move to paper ballots in the event

10     that the machines are inoperable or unsafe.

11            Did I read that right?

12     A.     Yes, sir.

13     Q.     And then it says, if we ever reach a point where our

14     office feels that these machines cannot be trusted to

15     accurately deliver election results, we will invoke this

16     statutory provision.     Did I read that right?

17     A.     Yes, sir.

18     Q.     So your office sees it as being in the public interest to

19     move to paper ballots if the DRE machines are untrustworthy;

20     yes?

21     A.     If the DRE machines are not untrustworthy?        I may have

22     misheard you.      Could you repeat that, please.

23     Q.     So your letter says, if we ever reach a point where our

24     office -- that is Secretary of State Kemp's office; yes?

25     A.     Yes, sir.

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1      Q.   If we ever reach a point where our office feels that these

2      machines -- that is the DREs; right?

3      A.   That is correct.

4      Q.   -- these machines cannot be trusted to accurately deliver

5      election results, we will invoke this statutory provision to

6      move to paper ballots?      That is what you said there; right?

7      A.   Yes, sir.

8      Q.   And you wouldn't say that if you didn't think it was in

9      the public interest to do that if the machines are

10     untrustworthy; right?

11     A.   If that is what we felt, yes, sir.

12     Q.   Now, Secretary Kemp has a history of being concerned about

13     hacking, does he not?

14     A.   A history of being concerned about hacking?          I think

15     election security has always been a concern of Secretary

16     Kemp's.

17     Q.   But specifically hacking?       He has been concerned about

18     hacking in Georgia's election system; yes?

19     A.   I think people -- I would have to know exactly what

20     context.   I think people use the term hacking in a very general

21     way that has anything to do with manipulating or interfering as

22     opposed to the specific hacking in terms of computers and

23     networks and things like that.

24     Q.   Does David Dove work in Secretary Kemp's office?

25     A.   No.

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1      Q.   Did he ever at any point?

2      A.   He did.

3      Q.   When was that?

4      A.   He worked -- he worked in the office up until, I want to

5      say, maybe six -- six months ago or maybe a year ago.             Maybe it

6      has been a year.

7      Q.   And how long did he work there before he left?

8      A.   Several years.     I don't know exactly.

9      Q.   Several years.     He was the chief of staff and legal

10     counsel to the Secretary of State; correct?

11     A.   He was chief of staff.      I think he was deputy general

12     counsel.

13     Q.   So like you, when he says something in writing, he speaks

14     for the secretary?

15     A.   I assume.    I wouldn't want to speak for him.

16                MR. McGUIRE:     Okay.   Your Honor, if I may approach

17     the witness, I have an exhibit I marked as Exhibit 7.

18                THE COURT:    Yes, you can approach the witness.

19                MR. SALTER:    What is this exhibit, Rob?

20                MR. McGUIRE:     That is being marked as 7.

21                MR. SALTER:    It is being marked as 7?

22                MR. McGUIRE:     7.

23     Q.   (BY MR. McGUIRE)     Mr. Harvey, do you recognize exhibit --

24     well, what has been marked for identification as Exhibit 7?

25     A.   I don't.

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1      Q.   Do you see the Georgia Secretary of State seal on it at

2      the top left corner of every page?

3      A.   I do.

4      Q.   Do you see on Page 2 it has contact information, David

5      Dove, chief of staff and legal counsel for Georgia Secretary of

6      State's office?

7      A.   I do.

8      Q.   Okay.    The title of this presentation is critical

9      infrastructure and DHS hacking attempts; yes?

10     A.   It is.

11     Q.   And it looks like there is a table of contents over on the

12     left that begins with introduction and talks about critical

13     infrastructure, SOS network security, and then DHS hacking

14     attempts.    Do you see that?

15     A.   I do.

16     Q.   This is a presentation that Secretary Kemp's office gave

17     to someone.    It says legislative update.       Is it reasonable to

18     think that was to the legislature?

19     A.   I think that is reasonable.       But I'm not aware of it.

20     Q.   Does it surprise you that Secretary Kemp would appear to

21     be concerned about hacking of Georgia's election system by our

22     own Government?

23     A.   Does it concern me?

24     Q.   Does it surprise you?

25     A.   I think Secretary Kemp was concerned about any type of

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1      interference in the election system.

2      Q.   He takes hacking very seriously?

3      A.   I believe so.

4                  MR. McGUIRE:    Okay.   Your Honor, I would move to

5      admit Exhibit 7 as a statement of opposing party.

6                  MR. SALTER:    Objection, Your Honor.      I don't think

7      this witness has adequately identified this document.             I don't

8      think there is a witness who can today.

9                  MR. McGUIRE:    Your Honor, I believe it is

10     self-authenticating.      It has the seal of the State of Georgia

11     on every page, and it has information within it that is

12     self-evident as to the authorship.

13                 THE COURT:    Had you seen it before?

14                 MR. SALTER:    No, ma'am.

15                 THE COURT:    Why don't you take a look at it and

16     attempt to verify.     If this is basically -- if it was put out

17     by the Secretary of State's office on this topic, it seems

18     relevant.   And unless I know that, you know, you-all claim that

19     this is not, in fact, from the Secretary of State's office, I'm

20     inclined under the context here to allow it.         I'm not -- it

21     could have been the proper witness.        One would think he would

22     have known about it because of the topic.         But if he doesn't,

23     he doesn't.

24                 MR. SALTER:    Your Honor, that is my point.          This

25     witness does not.     And if they have someone who can come in and

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1      authenticate it, that is fine.       But this witness --

2                  THE COURT:   Well, I'm just asking you under the

3      circumstances of a preliminary injunction hearing -- you know,

4      we could be here for days and get it properly authenticated.

5      If you could ask your -- obviously this witness can make a

6      phone call and determine if it is what it purports to be.

7                  Okay?

8                  MR. McGUIRE:    I have less than a minute left, so I

9      will be very brief.

10     Q.   (BY MR. McGUIRE)      So you spoke in your initial examination

11     by Mr. Cross about the KSU server being used to communicate

12     with the counties.     Do you remember that?

13     A.   The KSU web server, yes.

14     Q.   So I think I wrote this down.        You say the KSU server was

15     used to communicate to the counties?

16     A.   That is correct.

17     Q.   What do you mean by communicate to the counties?

18     A.   Send information to the counties.

19     Q.   Okay.    So counties were receiving election information

20     presumably that was sent from that server?

21     A.   Yes.    Some election information.

22     Q.   That server is the server that was wide open to the world

23     for at least six months from August 2016 to March of 2017?

24     A.   My understanding is that was a communication server that

25     was improperly configured and exposed, yes.

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1      Q.   And is it not the source of the pollbook data that the

2      counties download to use in their own election operations?

3      A.   It is not currently.

4      Q.   At the time though it was?

5      A.   I'm -- I don't -- I don't believe that is correct.           But

6      I'm not 100 percent sure, Your Honor.

7      Q.   Is it not true that the counties -- that the Secretary of

8      State's office would send out Tweets to the counties saying

9      your e-pollbook information is ready to download?

10     A.   There were -- there was some information that would come

11     that way.   For example, the bulk update, which is -- at the end

12     of advanced voting, you take the data for everybody who has

13     advanced voted and you send the counties the registration

14     numbers of those individuals so that they can go in and mark

15     them as having already voted so that if they try to show up on

16     election day they will be shown as voted.         That was the kind of

17     information that was sent across that server.

18          I don't believe that more sensitive information like the

19     ExpressPoll logs or the ExpressPoll data would have been sent

20     across that.    But I'm not the best person to give you an exact

21     answer on that.

22     Q.   So you are not in a position to contradict Logan Lamb's

23     affidavit, for example, in which he suggests that that kind of

24     data was on the KSU server?

25     A.   There was some data that was on the server.          I don't

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1      know -- I don't know.

2      Q.   And, finally, last question, you would agree with me that

3      the e-pollbook is part of the certified DRE system that Georgia

4      uses to conduct its election?

5      A.   It is part of the voting system.

6                 MR. McGUIRE:     No further questions.      Thank you.

7                 MR. SALTER:    May I, Your Honor?

8                 THE COURT:    Yes.   Proceed.

9                 MR. SALTER:    May it please the Court.

10                               DIRECT EXAMINATION

11     BY MR. SALTER:

12     Q.   Mr. Harvey, once the plaintiffs filed their lawsuit, did

13     the Secretary of State reexamine the DRE system?

14     A.   We did.

15     Q.   And what was the recommendation that was made to the

16     Secretary of State by the team that conducted that

17     reexamination in 2017?

18     A.   That the DREs in the voting system in the three counties

19     we examined performed flawlessly, recorded and reported every

20     vote as cast.

21                       (There was a brief pause in the proceedings.)

22                MR. SALTER:    Your Honor, I would like to tender a

23     copy of the official certification.        And if I could approach

24     the witness with that.

25                THE COURT:    Yes.

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1                  MR. SALTER:    Approach, Your Honor?

2                  THE COURT:    Yes.

3      Q.   (BY MR. SALTER)      Can you identify that record for me?

4      A.   Yes.   This is the report of the recertification of the

5      election system that we did at the end of 2017.

6                  MR. SALTER:    Your Honor, I'm going to tender that as,

7      I think, Defendants' 2.

8                  THE COURT:    Any objection?

9                  MR. McGUIRE:    No objection.

10                 MR. CROSS:    No objection.

11                 THE COURT:    Admitted.

12     Q.   (BY MR. SALTER)      And did the Secretary accept the

13     recommendations that were made by the team that conducted that

14     examination?

15     A.   Yes, they did.

16     Q.   Talk to me about paper ballots because we're short on

17     time.   Is it possible to manipulate paper ballots?

18     A.   It is.

19     Q.   Can you describe some of the ways that you can remember as

20     you sit here today that paper ballots could be manipulated?

21     A.   Paper ballots could be -- they could be lost.          They could

22     be excluded.    They could have improperly marked ballots

23     inserted in them.     They could be forgotten.      They could be left

24     in trunks of cars.     They could be spoiled intentionally by poll

25     workers or people that were counting or other folks.              They

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1      could be stolen or gotten unauthorized access, passed around.

2      Any number of ways.

3      Q.   Currently what is the percentage -- I know you may not

4      have it down to the number.      But can you -- are you aware of

5      the historical percentage that we would estimate for the number

6      of voters who would vote via a printed paper ballot election --

7      what you would expect that to be in the upcoming election?

8      A.   Between five to ten percent depending on turnout.

9      Q.   And assuming the Court were to mandate a primarily paper

10     ballot election with only narrow exceptions for people who have

11     disabilities or visually-impaired folks who need to use a DRE

12     machine for that, how will we execute a primarily paper ballot

13     election for the November 6, 2018, election and include early

14     voting if you would?

15     A.   How would we do that?

16     Q.   Yes.

17     A.   It would be -- it would be extremely difficult.              It would

18     require getting ballots printed, ordered, proofed, distributed.

19     One of the difficulties with paper ballots is that, you know,

20     when we went to a uniform voting system in the early part of --

21     well, 2002, we went from a system -- we went from a system

22     where there were basically three primary ways where people

23     voted, either optical scan paper ballot -- I'm sorry -- optical

24     scan, the punch card, or the lever machine.         And there was no

25     statewide system.

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1           So while there are laws regarding optical scan ballots,

2      there are no uniform rules or laws regarding optical scan

3      ballots in Georgia, like we do have for DREs, like we do have

4      for absentee ballots, to the extent that it would govern

5      exactly how the ballots were handled and sealed and

6      transported, not nearly to the same degree that they are DREs.

7           So you would have to -- you would have to, first of all,

8      get the ballots.     You have to pay for the ballots.       You would

9      have to train the poll workers on using them.          You have to

10     devise a system to account for all of the ballots, to transport

11     the ballots.

12          It would be, I believe, impossible to conduct precinct

13     tabulation because we simply don't have enough optical scan

14     devices to tabulate at the precinct level.         So you would have

15     to take the ballots to a central location.         They would have to

16     be accounted for.     They would have to be scanned in.

17          The process would take considerably -- considerably

18     longer.   Results would be longer in coming.        We would have to

19     account for storage space with paper ballots.

20          There are lots of different things that come into play:

21     Equipment, privacy screens, tables, chairs, precinct setups,

22     polling places.    All of those things are something that have

23     not been thought about in elections in Georgia since before

24     2002.

25     Q.   Is early voting required by state law in terms of your

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1      understanding?

2      A.   It is.

3      Q.   And when does early voting begin for this upcoming

4      November 6 election?

5      A.   On October 15.

6      Q.   Assuming a paper ballot requirement, how would paper

7      ballots -- let me back up.

8           How many different ballot combinations -- different ballot

9      combinations are there estimated for the next November 6

10     election?

11     A.   Oh, hundreds, if not thousands, throughout the state.

12     Q.   Could it be as many as 3000?        Does that sound --

13     A.   It wouldn't surprise me.

14     Q.   And so in terms of how would you conduct early voting --

15     if you are required to have early voting, how would you run a

16     secured chain of custody when you have to have each ballot

17     design available for the given district and for the given

18     voter?

19     A.   One of the advantages of advanced voting now with the DREs

20     from a convenience point of view is that you have got a

21     centralized ballot provider, which is the DRE.

22          Especially in large counties that have multiple ballot

23     size, you would have to have individual stacks of provisional

24     ballots that were identified by ballot style, by precinct.        And

25     you would have to -- as voters come in, you would have to have

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1      the poll worker identify what ballot style it was, retrieve the

2      ballot, get it to them.      The voter would vote it.

3           The voting process would be the voter simply marking a

4      paper ballot with a pen or pencil.        But the logistical support

5      to go into that in a place like, you know, Fulton County that

6      would have hundreds of ballot styles for advanced voting, you

7      would need significantly more staff, significantly more space,

8      and, like I said, some of the auxiliary equipment.

9      Q.   There has been a mention of the Help America Vote Act

10     money, this $10 million.      Do you have an opinion as to whether

11     or not that money could be used to offset any costs regarding

12     an immediate conversion to paper ballots for November the 6th?

13     A.   We --

14                MR. CROSS:    Objection, Your Honor.      Foundation.

15                THE COURT:    I'm sorry?

16                MR. CROSS:    Foundation.

17                MR. SALTER:    I'm asking whether he has an opinion.

18     And we can get into it.      I will get there.

19                MR. CROSS:    He needs to answer that yes before he

20     offers his opinion.

21                MR. SALTER:    Yes.   That is fine.

22     A.   Could you reask the question, please.

23     Q.   (BY MR. SALTER)     Do you have an opinion as to whether --

24     an understanding of whether or not the state could use this

25     $10 million of money from the HAVA, Help America Vote Act,

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1      grant money on a paper ballot election if we were forced to

2      immediately convert?

3      A.    I do have an opinion.

4      Q.    All right.   How did you come by that opinion?

5      A.    I asked -- we asked the EAC, the Election Assistance

6      Commission.

7      Q.    Okay.   And what were you told?

8      A.    We were told --

9                 MR. CROSS:    Objection.    Hearsay.

10                MR. SALTER:    It goes to explain conduct, Your Honor.

11                THE COURT:    All right.    Go ahead.

12                Who were you told something by?

13                THE WITNESS:     I'm sorry?

14                THE COURT:    You said we were told.      Who were you told

15     by?

16                THE WITNESS:     We were told by Mark -- I believe his

17     name is Mark Abbott at the Election Assistance Commission.        He

18     is the one that is responsible for the disbursement of the

19     grants via email yesterday.      And we're told that that would

20     be -- in an audit that would likely not be a covered expense.

21     Q.    (BY MR. SALTER)    How would you -- can you describe for the

22     Court your feelings on the importance of public voter education

23     regarding any significant change to the voting system?

24     A.    Well, one of the -- in 2002 when the new system was rolled

25     out, there was a significant effort and expense of time spent

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1      in educating voters about the new voting system.

2           I think it is important that if a change were to be made

3      that voters would be given as much advance notice as possible,

4      as much information as possible, as much opportunity to receive

5      whatever kind of training would be necessary so that the voters

6      would maintain a high level of confidence in the voting system.

7      Q.   Assume an immediate conversion somehow for the November

8      the 6th election.     How would that -- how would you expect --

9      based off your experience as election director for the last

10     several years at the Secretary of State, how would that affect

11     early voting?

12     A.   I believe it would reduce the number -- one of the first

13     things is it would reduce the number of early voting sites.

14     For the reasons I mentioned, the logistics of it would make

15     staffing a significant problem.       So I believe it would reduce

16     the number of advance voting sites.

17          I believe it would significantly increase the time that it

18     would take a voter to vote.

19     Q.   Why is that?

20     A.   Well, I think there is something -- I think there is kind

21     of a fundamental difference in interacting with paper and

22     reading something in a way that you are not familiar with.

23     When you have been voting on a screen for 15 years, I think

24     there is just a general interaction that operates differently.

25          You know, there may be issues with legibility, with

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1      vision -- people being able to see the ballot.          So I believe it

2      would slow down voting.      I believe it would take a longer time.

3      I think it would lead to longer voting lines and possibly

4      discourage voters from participating in advanced voting.

5      Q.   What is your opinion about whether Georgia can rely on the

6      current optical scanning machines to tabulate votes?

7      A.   I think it would be an extraordinarily big lift to use the

8      current optical scans to conduct a statewide election.

9      Q.   Why is that?

10     A.   They are not designed to operate ballots at that level.

11     They make -- the companies make high volume scanners that can

12     scan hundreds or thousands of ballots at a time.          These are

13     generally designed to be done at the precinct level.              And there

14     is -- you know, they are not new technology.

15          I have had counties tell me that they have had just

16     difficulties with the physical operation.         They have rollers,

17     and they have -- they need to be cleaned.         And, again, it is

18     just a difficulty.

19          From a time perspective, it would increase the time to get

20     results dramatically.

21     Q.   Why not procure more optical scanning machines by

22     November 6?

23     A.   Well, it would be -- that would be a solution.           You would

24     have to find some.     They are not -- these aren't manufactured

25     much any more.    I believe our vendor has a very, very small

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1      number.

2           So we would have to find them.        We have to go through a

3      procurement process.     We would have to get funds.       I say we,

4      the counties or us, however it was decided or directed.           We

5      would have to have funds to purchase these.         We would have to

6      get them into the state, get them acceptance tested, make sure

7      that they were ready to go, and get them to the counties.

8      Q.   Assume an immediate conversion for the purposes of this

9      upcoming November 6th election.       What is your opinion as to

10     whether that would increase or decrease the risk of human error

11     in terms of overall election security?

12     A.   I believe it would increase the possibility that voters

13     would --

14                MR. CROSS:    Objection, Your Honor.      Is this witness

15     being offered as an expert?      If so, what is it in?      Because we

16     are hearing a lot of opinions.       Or is this just a lay witness?

17                MR. SALTER:    I think he has basically got -- based on

18     his experience, he investigates human error and when it

19     happens.   And it does happen.

20                THE COURT:    Well, I don't know that he is an expert.

21     He can -- he can testify based on his experience in the

22     department and dealing with recollections as a lay witness.

23     But he is not an expert.

24                MR. CROSS:    Thank you, Your Honor.

25     Q.   (BY MR. SALTER)     When was the last election before DREs?

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1      A.   The last election before DREs -- well, they went to DREs

2      in 2002.    So statewide it would have been, I guess, the 2000

3      election.

4      Q.   And if the uniform DRE -- if the system that we have that

5      is uniform were taken away, would there be a uniform system to

6      fall back on?    That rulemaking could be made for one uniform

7      system?

8      A.   There is not another uniform system for Georgia right now.

9      It is -- the uniform system is based on DREs.

10     Q.   If there was an immediate conversion to paper ballots, how

11     would --

12                 THE COURT:    You can keep on going, but I don't know

13     whether your co-counsel planned to ask any questions.             You are

14     at about 16.

15                 MR. SALTER:    Thank you, Judge.

16                 MS. BURWELL:    I'll concede my time, Your Honor.

17                 MR. SALTER:    That is all I have, Judge.      Thank you.

18                 THE COURT:    All right.

19                               RECROSS-EXAMINATION

20     BY MR. CROSS:

21     Q.   Mr. Harvey, we have heard a number of times from the

22     defendants in this case that voters have a, quote, unlimited

23     right to vote by paper absentee ballot.         Do you agree with

24     that?

25     A.   Yes.

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1      Q.   And the defendants have offered that as an alternative for

2      voters who don't trust the DREs and want to make sure their

3      vote is counted?     To vote by absentee?     Do you understand that?

4      A.   I do.

5      Q.   But do I understand you are saying that if every voter who

6      votes in the upcoming election were to vote in that manner the

7      state would not and could not comply?        You just couldn't handle

8      the volume of paper?

9      A.   Not exactly.     It would still be a challenge because we're

10     dealing with the same number of optical scans.

11          One of the big differences would be the actual voting.

12     When you vote by absentee, all the ballots come by mail into

13     the election office.     It comes in to a central place with

14     full-time staff and systems that are designed to process those

15     ballots as efficiently as possible, more efficiently than

16     generally happens at a polling place.        So that would be a

17     significant difference.

18          If this were to happen or if there were to be some type of

19     allocation that may allow for an earlier tabulation or

20     something, that may affect it also.

21          But the optical scan problem still exists.          You have these

22     machines that would have a very hard time.         But if the process

23     were to be spread out over time and that was acceptable, then

24     it would be -- it would be different than voting at the polling

25     places on paper.

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1      Q.   So if all of the voters who cast votes waited until the

2      final days to get their absentee ballots in, say roughly maybe

3      3 million votes, even though they have an unlimited right under

4      the law to do that, do I understand correctly you are saying

5      the state just simply could not and would not count those

6      votes?   It would not comply with the law?

7      A.   No, sir, I'm not saying that at all.         I'm saying they

8      would continue -- they would process those absentee ballots

9      just like they do now.      There would be a lot more of them.          And

10     it would take longer.

11          But the difference would be that you wouldn't be dealing

12     with the polling place logistical difficulties that you would

13     if they were voting on paper at a polling place and you had to

14     account for all that stuff.

15          You know, the good thing about absentee voting is

16     everything is right there and it goes out and it comes back

17     right here -- you know, right back to the same place.             And

18     there is a very solid structure set up for absentee voting by

19     mail.    It has been in place and has been effective for several

20     years.

21     Q.   Just so I understand, if those votes did come in in the

22     final days, even all on election day, if every voter in the

23     state decided to exercise that unlimited right on election day,

24     3 million paper came in, the state certainly would and could

25     comply with the law to get those scanned in time to certify the

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1      election; right?

2      A.   Yeah.    We would absolutely do everything and the counties

3      would too to make sure that those got processed.

4      Q.   Two final points.      We have heard a lot about the

5      difficulty of storage with the paper ballots; right?              That was

6      one of the things you mentioned?

7      A.   Yes, sir.

8      Q.   There are 27,000 DREs that you have to store across the

9      state; right?

10     A.   Correct.

11     Q.   Do I understand right that 500 paper ballots, assuming

12     each one is a single page, would be roughly about the size of a

13     ream of paper, 500 pages in a ream; does that sound right?

14     A.   Well, the ballots are -- they are a little bit longer

15     than -- 8 by 14, maybe legal size.        In some cases, maybe

16     18-inch ballots.     So they would be larger than a piece of

17     paper.

18     Q.   Same thickness, maybe a little bit longer?

19     A.   Probably a little heavier grade.        But I mean, not wildly

20     different.    I mean, we're not --

21     Q.   Sure.    Have you actually done the math to figure out how

22     much storage it would take if you had to store roughly

23     3.3 million paper ballots?

24     A.   Well, we would have to store twice that number because we

25     would have to have ballots for all of the voters.          So it would

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1      be double that.

2           I have actually done -- I can't say I have done the math,

3      but I have done sort of the visualization.         If you think about

4      a box of paper as being 5000 pieces of paper, which I think is

5      the standard -- you know, we all know about the size of a box

6      of paper.    That is 5000 ballots.     And you go to, you know, a

7      county like Fulton County with 600,000 voters or Cobb County

8      with four -- Gwinnett County with 500,000 voters, that is a lot

9      of boxes, in addition to the DREs that they already have.

10                 THE COURT:    But just thinking about the -- how much

11     for the ballots?     And then let's move on.      How many rooms for

12     ballots?    How many --

13                 MR. CROSS:    I think I can help, Your Honor.

14     Q.   (BY MR. CROSS)      If we stick with the idea that it is,

15     let's say, double the thickness of a ream of paper, a little

16     bit longer, and you are working with 3.3 million ballots, would

17     it surprise you to learn that that would only come to about

18     1500 cubic feet?     About the size of two U-Haul trucks?

19                 MR. SALTER:   Your Honor, I'll just object.

20     Q.   (BY MR. CROSS)      Would that surprise you?

21                 MR. SALTER:   It is argumentative.      And in terms of

22     relevance, there is no probative value of this.          I don't want

23     to coach.    But there is -- this is -- the ballots are printed

24     by the county.    The cost would be incurred by the counties, not

25     the state.    They would have to do the storage.

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1                 THE COURT:    I understand.     He is just asking, since

2      the witness said he had looked at it, does that sound right to

3      you.

4                 THE WITNESS:     It sounds approximately right.        The

5      other issue is not just storing the bulk ballots but storing

6      them in polling places overnight and things like that.

7                 THE COURT:    I understand.

8      Q.     (BY MR. CROSS)   Last question, Mr. Harvey.       Are you aware

9      of studies finding that paper ballots are actually faster than

10     electronic voting machines?      Have you read those studies?

11     A.     I'm not aware of any.    I'm not aware of that.

12                MR. CROSS:    No further questions.

13                MR. McGUIRE:     Just very short.

14                THE COURT:    Be very short.     Because really -- is

15     there something you have to add because that is significant

16     really?

17                MR. McGUIRE:     I think it is.

18                THE COURT:    All right.    Ask your two questions.

19                              RECROSS-EXAMINATION

20     BY MR. MCGUIRE:

21     Q.     Mr. Harvey, you said Georgia doesn't have any scanners to

22     make this switch without burdening voters?         That is your

23     testimony?

24     A.     In polling places, yes.

25     Q.     Georgia has about 800 scanners roughly?

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1      A.   Approximately, yes.

2      Q.   Are you just guessing that it doesn't have enough, or did

3      you do some analysis?

4      A.   No.   I've spent a lot of time talking with county election

5      officials that actually do it.       I have seen -- I have been to

6      tabulation on election night and have seen the process of

7      scanning ballots and seen how long it takes.         And it would

8      be -- again, to say you couldn't do it is, you know -- is

9      different than saying it would take an exceptionally long time.

10     It may exceed the time for certification.

11     Q.   So it is fair to say that you don't have a number that you

12     think Georgia needs in order to make this possible?           You

13     haven't done an analysis that has that number?

14     A.   A number of what?

15     Q.   Number of scanners that would be required.

16     A.   That is correct.     I have not done that analysis.

17     Q.   You can't give the Court that information?

18     A.   No, sir.

19                MR. McGUIRE:     Nothing further.

20                MR. SALTER:    We'll call Michael Barnes next.         Thank

21     you, Mr. Harvey.

22                THE COURT:    I do have a question for the witness

23     myself.    If a lot more people were going to vote though, the

24     counties -- you would come up with the money?          If there was an

25     indication that there was an interest in a greater volume of

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1      absentee ballots, the state would be responsible for getting

2      them printed; correct?

3                 THE WITNESS:     Under the law, the counties are

4      responsible.

5                 THE COURT:    But right now they are paying for it or

6      the state is paying for it?

7                 THE WITNESS:     The counties pay for the paper ballots.

8                 THE COURT:    They would have to do so?

9                 THE WITNESS:     Right.

10                THE COURT:    Regardless of whether they had it in

11     their budget or not, they would have to be responsible?

12                THE WITNESS:     Yes, ma'am.

13                THE COURT:    I know you didn't -- that you were not

14     aware of what plaintiffs offered, this Exhibit 7.          But it does

15     deal with critical infrastructure and supposed hacking by the

16     Department of Homeland Security into the -- into the website of

17     the Secretary of State and you weren't consulted about this at

18     all?

19                THE WITNESS:     Not about this report.      I'm aware of

20     some of the circumstances around the DHS aspect of it.            And we

21     have certainly been involved in cybersecurity and those kinds

22     of issues.    As I believe you will see from other witnesses

23     about how that's sort of segmented some within the Secretary of

24     State's office.

25                THE COURT:    And is there somebody in the Secretary of

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1      State's office who assumed responsibility other than it is

2      going over to the FBI for dealing with any of the issues that

3      arose as a result of the exposure of information that Mr. Lamb

4      provided?

5                  THE WITNESS:    Secretary Kemp, ma'am.

6                  THE COURT:   He did?

7                  THE WITNESS:    He did.

8                  THE COURT:   He did the evaluation?

9                  THE WITNESS:    I thought you asked who assumed

10     responsibility.

11                 THE COURT:   I'm sorry.    Then my question was -- he

12     assumed responsibility.      But is there some -- was there anyone

13     in the department or anyone who was hired to basically look at

14     the breadth of the issues or maybe there weren't that were

15     raised by Mr. Lamb's -- that experience and the fact that the

16     fact data field was open for six months at least allegedly

17     according to Mr. Lamb and then his colleagues that all sorts of

18     personal information was identified -- identifiable and

19     manipulatable in that time period?

20                 THE WITNESS:    That would be Merritt Beaver, who is

21     our CIO in the Secretary of State's office.

22                 THE COURT:   And Mr. Beaver, did he consult with you

23     about that at all?

24                 THE WITNESS:    We consult regularly back and forth on

25     that stuff, yes, ma'am.

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1                  THE COURT:    So -- all right.    And this indicates --

2      this document -- and it may or may not be true -- but that at

3      least to the legislature that the secretary took the position

4      in a very active way that the election system is not a critical

5      infrastructure.    Is that still the position of the department?

6                  THE WITNESS:    I don't believe so, ma'am.      At the time

7      when elections were declared critical infrastructure, nobody

8      knew what that meant, including the Department of Homeland

9      Security.

10                 And since that time, there has been a lot of

11     development, a lot of consultation, and a lot of -- a lot more

12     specificity added so that people understand what critical

13     infrastructure is.

14                 THE COURT:    Thank you.   Can this witness step down?

15                 MR. SALTER:    Yes, Your Honor.

16                 We'll call Michael Barnes, Your Honor.

17                 COURTROOM DEPUTY CLERK:      Good afternoon, sir.

18                 THE WITNESS:    Good afternoon.

19                       (Witness sworn)

20                 COURTROOM DEPUTY CLERK:      Thank you.    Please be

21     seated.   Please pull up close to the microphone.         You can

22     adjust it if you need to.

23                 I'm going to ask you to just state your first and

24     last name again for the record, and please spell those names

25     for the record.

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1                 THE WITNESS:     Michael Barnes.

2      M-I-C-H-A-E-L B-A-R-N-E-S.

3           Whereupon,

4                                 MICHAEL BARNES,

5           after having been first duly sworn, testified as follows:

6                                DIRECT EXAMINATION

7      BY MR. SALTER:

8      Q.   Just to verify, are you any kin to this gentleman right

9      here at counsel table?

10     A.   I am not, sir.

11     Q.   Not related to Roy?

12     A.   I am not.

13     Q.   But you are from Mableton?

14     A.   I reside in Mableton, yes, sir.

15     Q.   When were you first employed by the Secretary of State's

16     office?

17     A.   I was first employed with the Secretary of State's office

18     in August of 1998.

19     Q.   Who hired you?

20     A.   Lewis Massey.

21     Q.   Kind of trace for the Court -- just kind of give the Court

22     a thumbnail sketch of your employment since.

23     A.   I started off with Secretary Massey as a special

24     assistant.    When Secretary Cox was elected in 1998, I stayed on

25     with the office as a special assistant.         I was promoted over to

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1      the elections division in 2000 -- late 2001 as the assistant

2      director of elections.

3           I resided at the Secretary of State's office as assistant

4      director of elections from that time until June of 2005.          And

5      then I returned to the Secretary of State's office in January

6      of this year.

7      Q.   Where did you go in 2005?

8      A.   In 2005, I transitioned to be the assistant director for

9      the Center for Elections Systems at Kennesaw State University.

10     Q.   What was the idea behind creating this Center for

11     Elections Systems up at Kennesaw State?

12     A.   The center was brought to Secretary Cox in 2002 as a

13     training facility.     Then Professor Brit Williams, who was on

14     staff with the computer science department at Kennesaw State,

15     came forward to Secretary Cox and suggested that there needed

16     to be something available to poll workers, to county officials

17     across the state that was continually there to educate and help

18     assist counties as we transitioned to a uniform system.           Sort

19     of a continuing education process.

20     Q.   What were your job responsibilities in 2006 or -- excuse

21     me -- 2016?

22     A.   2016?    I was the director for the Center for Elections

23     Systems at Kennesaw State.

24     Q.   What did that entail?

25     A.   I was in charge of the overall day-to-day operations of

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1      managing the employees there within the center, overseeing the

2      ballot building production operations within the center, the

3      production of the ExpressPoll data sets, the two primary

4      functions that the Secretary of State's office had entrusted to

5      the Center for Elections.

6      Q.   How do you build a ballot?

7      A.   It is a process that takes a substantial amount of time

8      given an election.     An election like what we have coming up

9      forward, the general election, we start building the databases

10     at approximately 90 days prior to the given election.

11     Q.   Where do you build the -- on what computer device do you

12     build the ballots?

13     A.   We have an air-gapped system within the Secretary of

14     State's office that holds our ballot-building information, our

15     ballot-building software.      And that is the system that is used

16     to produce that data output.

17     Q.   Is that ever connected to the internet?

18     A.   It is not.

19     Q.   Ever?

20     A.   Ever.

21     Q.   Has it ever in the time that you have been employed either

22     with the center -- with CES or any of your tenures before or

23     after in the Secretary of State's office -- to your knowledge,

24     has it ever been connected to the internet?

25     A.   Our ballot-building servers have never been connected to

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1      the internet.

2      Q.   Are those ballot-building servers protected from anybody

3      walking in and simply inserting a USB drive or a media into the

4      device?

5      A.   The SOS server where the ballot-building information is

6      housed today -- I don't even have access to that server.            It is

7      within a locked environment that only the IT systems operators

8      for the Secretary of State's office have access.

9                  THE COURT:   I'm sorry.    What is your current

10     position?

11                 THE WITNESS:    I am the director for Center for

12     Elections Systems at the Secretary of State's office.

13                 THE COURT:   So you basically moved -- when the center

14     got moved out of Kennesaw, you moved with them?

15                 THE WITNESS:    Yes, ma'am.    I was the only one that

16     was retained.

17     Q.   (BY MR. SALTER)     Mr. Barnes, are you aware of this issue

18     regarding a website server at KSU in 2016?

19     A.   I am.

20     Q.   Can you describe what happened in your understanding?

21     A.   To the best of my recollection of those events that took

22     place in August of 2016, we received a phone call -- we being

23     the executive director at the time Merle King.          I did not

24     receive the phone call -- received a phone call from Mr. Logan

25     Lamb.

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1           And he first introduced himself by saying that he was

2      directed to our center by Fulton County elections office, that

3      he had visited the election supervisor in Fulton County to

4      offer his services to Fulton County on tightening their

5      elections operations.

6           And the director for elections in Fulton County then

7      directed Mr. Lamb to the Center for Elections Systems at

8      Kennesaw State saying that if you wanted to learn more about

9      the voting system in Georgia that you would reach out to them.

10          He then let it known to us that he -- in his capacity he

11     did a scan of our web server and said that he found some

12     deficiencies with it and he would be interested in talking to

13     us about how he might help us address those deficiencies.

14     Q.   Can you describe whether what, if anything, regarding the

15     web server -- can you describe how many servers would have been

16     located at CES in Kennesaw in 2016?

17     A.   In 2016, we would have had three individual computers that

18     we would have referenced as servers.        We would have had our web

19     server, which was our outward phasing server, the one that was

20     penetrated by Mr. Lamb.

21          We had our ballot-building server, which is in our

22     air-gapped system where it was separated out from the internet

23     and no connection ever to that.       Yet it was networked to other

24     devices within the office and only within the office that

25     allowed our ballot-building teams to do their work and then

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1      save that information back to that internal server.

2           And then the third server was the one that was used to

3      build the ExpressPoll data sets.       Those are the -- those are

4      the electors' list that reside on the ExpressPolls that are

5      used on election day.

6      Q.   Were the problems -- which servers did the problems that

7      Mr. Logan Lamb call to your attention affect?

8      A.   The web server.

9      Q.   Any of the other two?

10     A.   No, sir.

11                THE COURT:    I'm sorry.    The third server uses --

12     creates the ExpressPoll data sets; right?

13                THE WITNESS:     Correct.

14                THE COURT:    And is that linked to something?

15                THE WITNESS:     It is not.    It is also in the

16     air-gapped system.     It is not linked to anything external.

17                THE COURT:    But this is -- so I'm just trying to

18     understand the impact of it.       When we go and go to our precinct

19     and try to vote and they say, you are not listed here.            I don't

20     know who you are, and you insist that you are there, this is

21     the information they have?      They are working off of that?

22                THE WITNESS:     Correct.   The data set that is --

23                THE COURT:    That is worst case scenario.       I know

24     exactly who you are.     Yes, go ahead.     I have seen you a hundred

25     times.

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1                  THE WITNESS:    The data set that is on ExpressPoll --

2      that is a data file that has been generated and built and

3      replicated.    We replicate that data file about 6000 times.        It

4      is placed on compact flash memory cards that are then

5      hand-delivered to the elections offices in each individual

6      county.

7                  Then those data sets are placed into the

8      ExpressPolls.    Basically it is an electronic electors' list.

9      It contains not only the information for the polling location

10     that the device is assigned to, but it also has the polling

11     information for all other polling locations in use on that

12     election.

13     Q.   (BY MR. SALTER)      All right.   What, if anything, about this

14     web server issue in 2016 makes the election that would occur on

15     November the 6th less safe?

16                 MR. CROSS:    Objection, Your Honor.     Speculation.

17     Foundation.

18                 MR. SALTER:    He has got a foundation.      He makes --

19                 THE COURT:    I think --

20                 MR. SALTER:    He makes the memory cards.

21                 THE COURT:    You need to make your question a lot more

22     specific than that.      I'm sorry.

23                 MR. SALTER:    He understands the whole system.       He has

24     actually -- actually has the actual factual knowledge, and this

25     is the issue.    We have had a lot of talk and a lot of talk to

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1      the media by their lawyers.

2                 THE COURT:    You can ask a general question, but I'm

3      going to ask you -- we're just going to be potentially

4      wandering in the universe.      But go ahead.

5      Q.   (BY MR. SALTER)     What, if anything, about this web server

6      that ran the website for CES and the issues that were called to

7      your attention by Mr. Lamb in 2016 would make November 6th,

8      2018's election less safe?

9      A.   I cannot think of something off the top of my head that

10     would endanger the election in this coming November based upon

11     what was on that server.

12     Q.   Whether because of what happened in 2016 or simply because

13     of other reasons and/or steps we wanted to take to change the

14     security procedures at the Secretary of State, can you describe

15     kind of what has changed in terms of election security between

16     then and now?

17     A.   Since we transitioned to the Secretary of State's office,

18     first off, we have completely -- the Secretary of State's

19     office built a brand-new air-gapped system.         The air-gapped

20     system had been looked at by Kennesaw State after all of these

21     things took place.     And they agreed that the air-gapped system

22     was still tightly controlled, that there was no penetration

23     point in to that system.

24          But that system was not brought in and plugged in to the

25     Secretary of State's office.       The Secretary of State's office

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1      built a whole new ballot-building air-gapped system for us to

2      use from preparing the databases for the given elections in

3      2018 and moving forward.

4           The distribution of the completed databases, first off,

5      before a completed database can be issued to a jurisdiction

6      that jurisdiction has to proof the database.         They have to

7      proof the ballot images.

8           Those images are now shared to the county -- they are all

9      PDF files.    But those PDF files are shared to counties through

10     an SOS-controlled FTP site.

11     Q.   Can you explain to the Court what that is?

12     A.   It is a secure file transfer process where the counties

13     have direct access to a single folder.        And then within that

14     folder, we would place the PDF files that are ballot proofs

15     that are reports from the generated database that allow them to

16     then proof the content of the database.

17          It also provides them a sign-off sheet that has to be

18     returned once they have proofed the database and found it to be

19     accurate for their needs for that given election.          Then that

20     sign-off sheet is returned to the Secretary of State's office.

21          We do not release the completed database until we have

22     that sign-off sheet validating that what we have built is what

23     the county needs.

24          Once we have that sign-off sheet, we then prepare a

25     database for delivery to the county itself.         And that data file

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1      is password protected.      But we also place that data file on to

2      a CD, and then we encrypt the CD.        The CD --

3      Q.   Why do you do that?

4      A.   Just an extra layer of security to try to protect the

5      content of the data that is on that CD.

6      Q.   So can anybody -- in terms of how -- the memory cards that

7      go into the DRE machine for a particular election, how do those

8      get from -- can you give a quick understanding of how those get

9      from this secure air-gapped server under lock and key at the

10     Secretary of State's office to a machine?         Can you run the

11     traps on that process?

12     A.   It starts by the completion of the database, the CD that I

13     was just mentioning.     The CD has to be delivered to the county.

14     The county then takes that CD, and they load that CD directly

15     into their controlled GEMS computer, which is another computer

16     that is not networked to any external points.

17          From that server, the county then loads the database that

18     is on the CD.    Now, in order to access the CD, the county has

19     to call the Secretary of State's office and request the

20     passcode to access the database.       And we have -- for every

21     county, we have a folder with contact points.          And it is

22     expected that we will hear from those contact points at the

23     county.

24          The other item that we have placed on to the CD is a

25     verification code where the county provides that verification

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1      code back to us before we release the password that accesses

2      the database.    If they cannot give us that verification code,

3      we don't give them the passcode.       We would -- we just send them

4      another CD.    We would not try to make it happen for them.

5           Once that -- once they have the proper passwords to access

6      the CD and load it on to their GEMS server, once it is loaded

7      to their GEMS server, then they are in control of creating the

8      individual memory cards that are used and inserted into the

9      voting machines.

10     Q.   If you are going to have a counting malicious virus on a

11     graphical interface like a DRE machine, what is the importance

12     of having the ballot design file in order to make that

13     malicious virus perform the way you attempted to?          Does that

14     make sense?

15     A.   I think it does.     I'll do my best to try to answer.

16          I believe you would want to know where the candidates are

17     positioned within the structure of the database.          It is not --

18     and I'm not a computer scientist.        And I don't claim to be.

19     And I have never written malicious code.         I'm not a -- I don't

20     write code.

21          But from a layman's perspective, if I were writing

22     something like that, it doesn't matter that the ballot says

23     Brian Kemp or Stacey Abrams.       It is the position of that name

24     within the structure of the database.        What is the ID that

25     correlates to it?

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1                  MR. CROSS:    Your Honor, again, we object.       This

2      witness is not an expert.      This is way beyond any foundation we

3      have heard from him.

4                  MR. SALTER:   I think he is actually testifying

5      correctly.    I think you would actually need the actual ballot

6      design in order to know where to put --

7                  THE COURT:    Well, I think he has so disclaimed

8      knowledge of computer engineering and not done malicious code

9      that -- with knowledge of that, I mean, I have allowed a lot

10     including the opining as to it couldn't have any impact on the

11     election.    And, you know, since he is -- I don't know what his

12     background is.    But he definitely has disclaimed being a

13     computer scientist or an expert on malicious code.          So I'm a

14     little bit hesitant --

15                 MR. SALTER:   I'll withdraw that question.

16     Q.   (BY MR. SALTER)      In terms of -- have you spent the last --

17     how many years have you spent doing -- looking at holistically

18     election security as a system for the State of Georgia?

19     A.   I have been working with this voting system since it was

20     selected in 2002.

21     Q.   Are you aware of any instance in which a malicious code

22     was successfully installed on a DRE machine under election

23     circumstances?

24     A.   I am not.

25     Q.   During election circumstances?

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1      A.   I am not.

2                  MR. SALTER:   Thank you, sir.

3                  THE COURT:    Are there any questions?

4                                CROSS-EXAMINATION

5      BY MR. BROWN:

6      Q.   Mr. Barnes, my name is Bruce Brown.         Just a few questions.

7      A.   Yes, sir.

8      Q.   You mentioned the ballot-building process.          The ballots

9      have already been built for the 2018 election; correct?

10     A.   We are currently in the ballot-building phase for the 2018

11     election.   As of this morning, we had -- of 159 county

12     databases complete, I think we were still waiting on sign-offs

13     from 15 of those.

14     Q.   And after the ballot-build is completed, you will move to

15     actually ordering printed ballots; correct?

16     A.   Counties actually have already -- those counties that have

17     signed off on their databases -- those counties have already

18     been delivered their databases.       They have already been in

19     talks with their printers to acquire their needed printed

20     ballots.

21     Q.   So if they needed more printed ballots, they already have

22     the template to do so and would simply need to order more

23     printed ballots from their printer; correct?

24     A.   I don't know yet because I don't know what the Court may

25     ask us to do, if I would have to readjust the databases that

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1      have already been built.      So I don't know the true answer to

2      that question yet.

3      Q.     Why would you need to readjust the database for the

4      ballot?

5      A.     Because the current databases are not set up to tabulate

6      election day ballots through optical scan means.

7      Q.     So the provisional ballots aren't done that way?

8      A.     No.   The provisional ballots, within the database

9      structure, there are four counting groups.         There is the

10     polling day counting group, which is done through DRE.            There

11     is the advanced in-person counting group that is done through

12     DRE.   There is the absentee by mail, which is done through

13     optical scan.    Then there is the provisional that is done

14     through optical scan.     So two of those four have been

15     configured from optical scan use when you would be scanning

16     ballots centrally.     The other two have not been configured.

17     Q.     But in terms of absentee ballots or provisional ballots,

18     those could come from any precinct in any ballot style;

19     correct?

20     A.     I'm not sure what the question is.

21     Q.     Well, all I'm saying is that the state has anticipated

22     having to process using an optical scanner every single ballot

23     style; correct?

24     A.     The optical scan system is set up so that it can handle

25     any optical scan ballot from any precinct.         Yes, sir.

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1      Q.   So what would be necessary with the switch to all paper

2      ballots is simply ordering more paper ballots; correct?

3                 MR. SALTER:    Objection.     Go ahead.   I think it

4      misstates the testimony.      Go ahead.    I withdraw the objection.

5                 THE COURT:    Thank you.

6      A.   The databases that -- the legislature states that we have

7      to count votes at the precinct level.        We have to be able to

8      know -- the state law says we have to count results of ballots

9      at the precinct level.

10          So we have to be able to calculate those at the precinct.

11     So additional work would have to be done on these completed

12     databases to make them available to tabulate votes not only at

13     the absentee level.     A ballot could be scanned and said yes,

14     this is a vote from this precinct from the absentee category.

15          But the way the databases are currently configured, I

16     could not scan a ballot that was collected on election day and

17     know that it was an election day ballot.

18     Q.   (BY MR. BROWN)     So if you were ordered by the Court to

19     switch to paper ballots, are you telling me that your team

20     could not construct the database sufficient to handle election

21     day ballots like you handle other ballots?

22     A.   No, sir, I'm not saying that at all.

23     Q.   That is good.     Now, let me go to your --

24     A.   What I would like to add to that is I would have to spend

25     some time adjusting the databases to make them able to do that.

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1             Do I know how much time would be needed to do that?        I do

2      not.   Because we have never had to adjust a database in that

3      capacity before.

4      Q.     And in responding to our motion for summary judgment, you

5      haven't developed any estimates of the cost of that, have you?

6      A.     I have not.

7                   MR. SALTER:   Objection.    Instead of summary judgment,

8      you mean preliminary injunction?

9                   MR. BROWN:    What did I say?

10                  MR. SALTER:   Summary judgment.

11                  MR. BROWN:    We could convert it.

12                  MR. SALTER:   I will say no.

13                  MR. BROWN:    I misspoke.   In response to our motion

14     for preliminary injunction.

15     Q.     (BY MR. BROWN)     Has the Secretary's office done anything

16     to decontaminate the DRE machines since the KSU server was

17     accessed by Mr. Lamb?

18     A.     Can you explain your question?

19     Q.     No.

20                  MR. SALTER:   It assumes facts not in evidence would

21     be the objection, Judge.

22                  THE COURT:    Well, have you done anything to determine

23     whether there was a contamination or what was the issue

24     involving -- that Mr. -- what was the scope of the issue that

25     Mr. Lamb brought to your attention so you are able to know

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1      whether it had the larger -- might have had a larger impact?

2                 THE WITNESS:     What I can speak to is that the

3      computer that Mr. Lamb accessed did not contain any of the

4      ballot station software, the ballot station firmware, the GEMS

5      operating system, the GEMS executable files, those items that

6      are actually needed to create a GEMS database that are able to

7      populate a touchscreen with its ballot station operational

8      executable program.

9      Q.   (BY MR. BROWN)     And have you reviewed -- I know you are a

10     layperson like me.     But have you reviewed the scientific

11     submissions that have been made by Experts Bernhard or looked

12     at Mr. DeMillo's testimony as to their contrary view about the

13     way that an intrusion by Mr. Lamb or someone who did what he

14     did could contaminate the system?        Have you looked at that?

15                MR. SALTER:    Your Honor, I'll just object to that as

16     argumentative.

17                THE COURT:    Overruled.

18     Q.   (BY MR. BROWN)     Have you looked at that?

19     A.   I have reviewed them.       Have I analyzed them and read

20     through them for all content?       I have not.

21     Q.   Has the -- besides the gentleman whose slide we saw

22     earlier who was on the STAR commission -- no.

23                THE COURT:    SAFE.

24     Q.   (BY MR. BROWN)     The SAFE Commission.      Besides that

25     gentleman, has the Secretary employed a cyber security expert

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1      to review those allegations to determine whether or not you

2      need to do something more?

3      A.     I know that the CIO for the Secretary of State's office

4      has been highly engaged in analyzing how our systems are set up

5      now within the Secretary of State's office.         Any additional

6      analyzation of that, I cannot speak to.

7      Q.     And what is his name?

8      A.     Merritt Beaver.

9      Q.     And is he here today?

10     A.     I believe he is.

11     Q.     And is he going to testify?

12     A.     I don't know the answer to that.

13                THE COURT:     Is he testifying -- Mr. Beaver -- today?

14                MR. SALTER:    You have got a declaration from

15     Mr. Beaver.    I showed it in my preliminary or opening

16     statement.

17                THE COURT:     My problem is I know that the -- it

18     doesn't answer the question that has been asked to many

19     different witnesses.      They just said they do things differently

20     now.

21                MR. SALTER:    That is what we want to show.

22                THE COURT:     That is all it says.

23                MR. SALTER:    Yes.

24                THE COURT:     But I don't really know in the end

25     then -- you are not able to say what the department did to

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1      fully get to the bottom of whether there -- how all sorts of

2      personal information purportedly was available about voters

3      that would be the sort of information collected on a -- for

4      voting purposes -- why that would have been accessible to Mr

5      Lamb.

6                 THE WITNESS:     I cannot speak to that.

7                 THE COURT:    And why his colleague said it continued

8      to be available six months later.

9                 THE WITNESS:     I can't speak to that.

10                THE COURT:    And the department doesn't have any

11     information and you -- as the division of head of elections,

12     you don't have any information on that?

13                THE WITNESS:     Not on that, no, ma'am.

14                MR. SALTER:    What was that last question, Judge?       I

15     didn't hear that.

16                THE COURT:    It is a secret.     I will ask the court

17     reporter to repeat it because it is not.

18                Go ahead.    Can you do that?

19                       (The record was read back by the court

20                       reporter.)

21                THE COURT:    That was about the -- did you want her to

22     go back further?

23                MR. SALTER:    No -- yeah.

24                THE COURT:    About the -- how -- the question really

25     related to how was it that all of this sort of information that

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1      was basic voter information and voter ID information that would

2      have been collected for the voter registration -- that he would

3      have -- it would have been available on this website and why it

4      would be still available on an open -- on an open access basis

5      six months later, not just to Mr. Lamb but to other researchers

6      who called and were concerned and reported it.          That was it.

7                 MR. SALTER:    I'll hush in the interest of time.

8      Q.   (BY MR. BROWN)     Mr. Barnes, whether at KSU or at the

9      Secretary of State's office, did the Secretary of State

10     undertake any forensic examination of the computer systems that

11     were at KSU?    Any of them?

12     A.   I know that those servers were inspected by the FBI.          But

13     the Secretary of State, no, sir.

14     Q.   And so if they were -- if an intruder from Ahira or Moscow

15     had gone into the systems, the Secretary was not curious enough

16     to find out, was he?

17                MR. SALTER:    Objection, Your Honor.

18                THE COURT:    I'm going to overrule it -- I mean,

19     sustain the objection.      Let's just move on.

20                You've got more?

21                MR. CROSS:    I'm sorry?

22                THE COURT:    You have got more?

23                MR. CROSS:    I haven't questioned him yet.        But I'm

24     going to be brief.

25                THE COURT:    You better be.

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1                                CROSS-EXAMINATION

2      BY MR. CROSS:

3      Q.   Mr. Barnes, the KSU server that we talked about that

4      Mr. Lamb accessed, that was wiped after this litigation was

5      filed; right?

6      A.   Following university protocol, yes, sir, it was.

7      Q.   Following the university protocol but didn't Secretary

8      Kemp's office characterize that as reckless, inexcusable, and

9      inept?   Those were his words; right?

10     A.   I believe I have heard those before, yes, sir.

11     Q.   So I want to talk about the air-gapped or the GEMS server

12     that you say is air-gapped.      Did I understand correctly you

13     said that is networked to other devices; correct?

14     A.   The air-gapped system is on its own private network.

15     Q.   Is that a yes, sir, it is networked to other devices?

16     A.   It is networked to other devices in a private system.

17     Q.   And do those devices include PCs?

18     A.   Yes, sir.

19     Q.   Do they include laptops?

20     A.   No.

21     Q.   Do those PCs -- have the PCs -- well, strike that.

22          The GEMS server that you say is air-gapped, it has a

23     wireless access point; correct?

24     A.   It does not.

25     Q.   Do you believe that the GEMS server does not have a

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1      wireless access point?

2      A.   The GEMS server within the Secretary of State's office

3      that I do my work on does not have a wireless connect point.

4      Q.   And you are saying that that network that it is connected

5      to -- the network has no wireless access point?

6      A.   Yes, sir.

7      Q.   And is that the basis for your testimony today in saying

8      that it is a secured air-gapped system?

9      A.   Yes, sir.

10     Q.   Do state workers --

11                THE COURT:    It is all connected by wire?       That is

12     what your testimony is?

13                THE WITNESS:     Yes, ma'am.

14     Q.   (BY MR. CROSS)     The GEMS network that was posted by KSU,

15     that would have a wireless access point; correct?

16     A.   It did not have a wireless access point.

17     Q.   So you are saying even at KSU there was no wireless access

18     point to the network to which the GEMS server was connected; is

19     that right?

20     A.   The GEMS servers at KSU was never on any network except

21     its private network.

22     Q.   Do state workers type in every race and candidates' name

23     into the GEMS server?

24     A.   Yes, sir.

25     Q.   So that is how the data gets loaded?

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1      A.   Yes, sir.    It is all manual entry.

2      Q.   What version of Windows is used?        XP?

3      A.   Within our office, yes, sir.

4      Q.   On the GEMS server?

5      A.   The -- yes, sir.

6      Q.   And what is the most recent version of that?

7      A.   The most recent version of XP?

8      Q.   On the GEMS server.

9      A.   I would have to ask my CIO.

10     Q.   So you don't know?

11     A.   I do not know.

12     Q.   How recently was it patched?

13     A.   Again I would have to ask the CIO.

14     Q.   Do you know whether it was in the last year?

15     A.   I would have -- it was constructed in this year.             So --

16     Q.   But you don't know?

17     A.   I do not know what levels of security they have -- they

18     have surrounding that entire system with.

19     Q.   This removable media like flash discs, memory discs,

20     memory cards -- are those ever connected to the network to

21     which the GEMS server is connected?

22     A.   The only thing that is used to transfer data from the

23     private network over to distribution points is a single USB --

24     lockable USB drive.

25     Q.   Okay.    So this GEMS server network does have removable

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1      media that is connected to it from time to time; correct?

2      A.   The removal media, yes, is used to take PDF files that are

3      generated as proofs to transfer over for county for proofing

4      purposes.

5      Q.   And what are all the devices that that USB device is

6      connected to?

7      A.   It is connected to a single computer in my office.

8      Q.   What is that computer connected to?

9      A.   That is our public facing process, but that is how it is

10     connected up to the secured FTP site.

11     Q.   What do you mean when you say public facing?

12     A.   It is my computer where I check emails and work and do my

13     daily business.

14     Q.   Okay.    So if you are checking emails, that computer is

15     connected to the internet; right?

16     A.   That is correct.

17     Q.   So you have got a computer connected to the internet that

18     then has a USB device connected to it.        You then take that USB

19     device, and you connect it to the network where the GEMS server

20     is connected; correct?      Yes?

21     A.   The USB drive that I move from --

22     Q.   Can you answer my question yes, sir?

23     A.   The USB drive that I move from the private network, I put

24     into a locked position, insert it into my public device, and

25     transfer data up to the secured FTP.

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1           When that USB drive is removed from my computer and moved

2      over to the private network, it is reformatted before it is

3      used again.

4      Q.   Was the answer to my question yes?

5      A.   Do I move a USB drive from one unit to the next?             The

6      answer is yes.

7      Q.   From one unit connected to the internet to the GEMS server

8      network; yes?

9      A.   Yes.

10     Q.   Thank you.    The memory cards that are used in the 27,000

11     or so DREs around the state, are those at some point connected

12     to the GEMS network?

13     A.   When you say GEMS network, what do you mean?

14     Q.   Are they ever connected to the network to which the GEMS

15     server is connected?

16     A.   Ask the question again, please, sir.

17     Q.   The GEMS server includes the ballot definitions that

18     ultimately end up on the memory cards, which end up in the DRE

19     machines; right?

20     A.   Uh-huh (affirmative).

21     Q.   Yes?

22     A.   Yes.

23     Q.   Okay.    So how does the -- how do the ballot definitions

24     get from the GEMS server to the memory cards?

25     A.   The ballot definitions are first delivered to the county

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1      on an encrypted CD.     The encrypted CD is then loaded directly

2      to the GEMS computer.     The GEMS computer then reads the data

3      file that is on the CD, loads it into the GEMS computer.

4           Then the GEMS computer is connected to a single

5      touchscreen unit through a local area network, hard wired,

6      wired together.    And then a memory card is inserted into the

7      touchscreen unit.     And the images from the database are

8      transferred through the touchscreen to the memory card.

9      Q.   So the memory cards are connected to the GEMS computer by

10     way of this other unit -- this other device?

11     A.   By way of the touchscreen, yes.

12     Q.   Now, it sounds like we have learned that in addition to

13     the USB device that goes from your computer to the GEMS network

14     there is additional removable media?        There is a CD that you

15     just mentioned that also gets plugged into the GEMS computer;

16     correct?

17     A.   Correct.

18     Q.   Are you aware of studies finding that a single memory card

19     infected with malware -- that malware can make its way into a

20     GEMS system through the sort of connection that you just

21     described?

22     A.   I have heard those studies, yes, sir.

23     Q.   Last point, you testified that you can't think of any risk

24     or any reason why Logan Lamb's access to this web server would

25     make the upcoming election or any election less safe; is that

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1      right?

2      A.     Yes, sir.

3      Q.     Are you aware that he was able to obtain voter

4      registration databases filled with personally identifiable

5      information of over 6 million voters, driver's licenses, birth

6      dates, home addresses, the last four digits of Social Security

7      numbers, and more?      Did you know that?

8                 MR. SALTER:    Objection, Your Honor.       Relevance as to

9      how that makes DRE less safe.

10                MR. CROSS:    Are we really arguing about what that is

11     all about now?

12                THE COURT:    Counsel is entitled to make his

13     objections, and I would ask the audience to be reserved.

14                MR. CROSS:    I'm sorry, Your Honor.

15                THE COURT:    I'm going to overrule the objection.

16     Q.     (BY MR. CROSS)   Were you aware of that, sir?       Yes or no?

17     Were you aware of that?

18     A.     Was I aware that we made mistakes at Kennesaw State?       Yes,

19     sir.

20     Q.     That is not my question.     I just identified several

21     categories of personal identifying information.          Were you aware

22     that Mr. Lamb was able to access that through this web server?

23     A.     I was aware that Mr. Lamb was able to see those files.

24     But to pull them down, I am unaware.

25     Q.     And do I understand that it is your view that a

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1      sophisticated hacker like Russia could not affect the security

2      of the upcoming election at all with all of the information we

3      just identified?     No way they could do it?

4                 MR. SALTER:    Objection.

5      Q.    (BY MR. CROSS)    Is that right?

6                 MR. SALTER:    Objection as to how it relates to

7      putting a malicious virus on a DRE.        That is the issue.

8                 MR. CROSS:    That is not the question that he was

9      asked by Mr. Salter.     We covered this.     And he insisted on a

10     very general, broad question.       You let him do it.     I am

11     impeaching him.

12                THE COURT:    All right.    Well, you can ask him the

13     question, and then we need to stop.

14                MR. CROSS:    Understood.

15                THE COURT:    Do you want him to repeat it?

16     Q.    (BY MR. CROSS)    So do I understand correctly --

17                THE COURT:    I'll just have the court reporter read

18     it.   Can you do that?

19                Go ahead.    Ask the question.

20     Q.    (BY MR. CROSS)    Do I understand correctly that you can't

21     think of any way -- I tell you what.        I'm going to make it

22     quick.   We'll make it easy.

23           Just so I understand, are you aware that Mr. Lamb was able

24     to access election management system GEMS databases?              Did you

25     know that before today?

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1                  MR. SALTER:   Objection.     Assumes facts not in

2      evidence.

3                  MR. CROSS:    It is in Mr. Lamb's declaration, which is

4      part of the record.

5      Q.   (BY MR. CROSS)      Did you know that before today?

6      A.   The only election database that I was aware of that was on

7      the server at the time that Mr. Lamb accessed the server was a

8      training database that was used to educate local county

9      election officials on how to use a voting system and also to

10     educate high school students on how to use it as well.

11     Q.   Did you know that he was able to extract passwords for

12     supervisors that controlled the administration of the DRE

13     voting machines?     Did you know that?

14     A.   The passwords that I am familiar with him accessing on the

15     website were for the ExpressPolls, not for the DRE machines.

16     Q.   So your understanding is that the only thing he got is the

17     ExpressPolls, not the administrator passwords that controlled

18     the administration of the DRE voting machines?          Is that your

19     understanding?

20     A.   It is my understanding that the only passwords that were

21     on that device were ExpressPoll passwords.

22     Q.   So given how little you understand about what Mr. Lamb was

23     able to access, that may explain why you can't see how that

24     could pose a risk to a future election.

25                 THE COURT:    That is argumentative.     That is

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1      argumentative.

2                 MR. SALTER:    Can I ask one question I think the Court

3      would like to know the answer to?

4                 THE COURT:    Go ahead, especially since I cut you off

5      on the one other question you wanted to ask.

6                               REDIRECT EXAMINATION

7      BY MR. SALTER:

8      Q.   You were asked one question -- Mr. Cross asked a

9      question -- I think it is pertinent for the Court -- about that

10     private network that was at KSU.       And you have some computers

11     that are directly networked to that closed network.

12          Do you know what I'm talking about?

13     A.   Uh-huh (affirmative).

14     Q.   Do those computers that are connected in -- do those PCs

15     have any sort of internet capability?

16     A.   They do not.

17                MR. SALTER:    Thank you.

18                No more for this witness, Judge.        Thank you.

19                THE COURT:    May this witness be excused?

20                MR. SALTER:    Come on down, Mike.

21                MR. BARNES:    Can we go to the bathroom for about five

22     minutes?

23                THE COURT:    All right.    I'll take a five-minute

24     break.

25                MR. SALTER:    Your Honor, just so you know for

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1      housekeeping, I think Fulton County will call Mr. Barron, the

2      election director for Fulton County, and then we'll call

3      Secretary of State Cathy Cox.       We can get both of those.

4      Rebecca --

5                 THE COURT:    All right.    There are a lot of people

6      here.   So even though I would like to say five minutes, please

7      try to get back in five minutes.       But I understand that there

8      are limits.    There are bathrooms on the 22nd floor, the 21st

9      floor in the same location.

10                COURTROOM SECURITY OFFICER:       All rise.    This court is

11     in recess for five minutes.

12                       (A brief break was taken at 4:09 P.M.)

13                THE COURT:    Please have a seat.      Go ahead.

14                MS. BURWELL:     Thank you, Your Honor.      Fulton County

15     would call Cecilia Houston-Torrence.

16                COURTROOM DEPUTY CLERK:       Good afternoon, ma'am.

17     Please raise your right hand.

18                       (Witness sworn)

19                COURTROOM DEPUTY CLERK:       Thank you.    Please be

20     seated.   Please pull up close to the microphone.         And you can

21     adjust that microphone as you need.        It is very important we

22     are all able to hear you today.

23                I'm going to ask you to state your name again for the

24     record, and please spell your first and last name for the

25     record.

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1                  THE WITNESS:    Cecilia Houston-Torrence.

2      C-E-C-I-L-I-A.    Houston, H-O-U-S-T-O-N, Torrence,

3      T-O-R-R-E-N-C-E.

4                  THE COURT:   Just before we begin with your

5      examination, I wanted to ask counsel what is the projection of

6      the length of the testimony.

7                  MS. BURWELL:    Ten minutes tops.

8                  THE COURT:   All right.    Mr. Barron is still coming?

9                  MS. BURWELL:    Yes.

10                 THE COURT:   I got a little confused because of the

11     change.   I just wondered if there had been a change.

12                 Very good.   Proceed.

13          Whereupon,

14                          CECILIA HOUSTON-TORRENCE,

15          after having been first duly sworn, testified as follows:

16                                DIRECT EXAMINATION

17     BY MS. BURWELL:

18     Q.   Ms. Torrence, are you a registered voter?

19     A.   Yes.

20     Q.   In what county are you registered?

21     A.   Fulton County.

22     Q.   Can you tell the Court about your background and

23     experience regarding voting in Fulton County?

24     A.   I have been voting in Fulton County since 1986.              I am past

25     president of the League of Women Voters, Atlanta, Fulton

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1      County, a poll watcher -- and yeah.

2      Q.   When DREs were being recommended for use in Georgia, were

3      you selected to assist with testing the machines?

4      A.   Yes.    I was part of the team that tested out the initial

5      machines back in, I think, 2001, 2000.

6      Q.   Can you please tell the Court about that?

7      A.   Yes.    We were asked to go in, I guess, just more like a

8      focus group to test the machines for ease and see how easy it

9      was for us to use the machines and if we had any questions at

10     that time.

11     Q.   How many machines did you --

12     A.   There were about ten, I think, in the facility that we

13     were at.

14     Q.   So what was your impression of DRE machines at that point?

15     A.   I was -- it was much easier than I had anticipated.          And

16     all of our questions that we asked were answered.          So it was

17     fairly easy for us to use.

18     Q.   Did you have any concerns about the accuracy of DRE

19     machines at that point in time?

20     A.   Yeah.    Our initial -- I think all of us had concerns about

21     the accuracy of the machines.       And yeah, we did initially.

22     Q.   Did you ask questions about that?

23     A.   Yeah, we did.     We were concerned about, you know, the fact

24     that we did not have a paper receipt, but those were -- those

25     were all addressed.

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1      Q.   So all of your concerns about it were addressed?

2      A.   Uh-huh (affirmative).

3      Q.   Now, has your impression of DRE machines changed at all?

4      A.   No.    I haven't had any change over the last 15 years.      And

5      I poll-watched for probably 10 or 12 years.

6      Q.   And when you are poll-watching, the machines that are in

7      use are the DRE machines?

8      A.   Yes.   The machines are, yes.

9      Q.   Do you have any concerns at all about DRE machines being

10     susceptible to tampering?

11     A.   No.

12     Q.   Are you planning on voting this November?

13     A.   Definitely.

14     Q.   Are you planning on voting using the DRE machine?

15     A.   Yes.

16     Q.   Do you trust that a DRE machine is going to accurately

17     record your vote?

18     A.   Yes.

19     Q.   Do you have any concerns about paper ballots?

20     A.   My concern about paper ballots was how many hands would

21     touch the ballots and the possibilities of them being

22     compromised by human error.

23     Q.   As a former president of the League of Women Voters, what

24     was your reaction when you first learned about this lawsuit?

25                 MR. KNAPP:   Your Honor, I don't think she is speaking

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1      on behalf of the League of Women Voters.         She is speaking on --

2                 THE WITNESS:     That is correct.     I'm not speaking on

3      behalf of the League.

4                 MS. BURWELL:     I wasn't suggesting that she was

5      speaking on behalf.     But given her experience in that role,

6      that was why the question started with that.

7                 MR. KNAPP:    The same.    I don't think that is, first

8      of all, relevant to a point in time when she was involved back

9      in 2001.   I'm not sure what relevance that has to do with her

10     comfort in voting in 2018 as the prior line of questioning was

11     proceeding.

12                THE COURT:    I think we're kind of going far astray in

13     terms of the issues right now before us.         I mean, obviously

14     even by who -- the reaction of people here, there are lots of

15     people who have different views.       It is one of public concern.

16                MS. BURWELL:     Correct, Your Honor.     And because there

17     are declarations with respect to issues, Fulton County has the

18     obligation to bring before the Court all --

19                THE COURT:    All right.    You can simply have her do

20     it.   But I would have preferred if that is what you wanted to

21     do is just an affidavit.      But go ahead and ask one question and

22     then proceed.

23     Q.    (BY MS. BURWELL)    So are you concerned at all about issues

24     with respect to the November election and any impact?

25     A.    My only concern was that this is a historic election.          And

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1      changing at this late a date might cause people to have some

2      reserve about voting.

3      Q.   Have you had any discussions with others about the

4      upcoming election or any concerns about it?

5                 MR. KNAPP:    Objection.    Hearsay.

6                 THE COURT:    Could you move beyond that.       I don't

7      think we can have her reporting on other people -- identify

8      other people's discussions with her about this.

9      Q.   (BY MS. BURWELL)     Given your experience as a poll worker

10     and your prior experience, do you have any information about

11     segments of the population who use early voting?

12     A.   Most of the people that I have experienced use early

13     voting are people that use public transportation, people that

14     can't -- can't get off to vote during regular hours, and they

15     take advantage of that opportunity.

16     Q.   So for you personally, would a change to a paper ballot at

17     this point in time this close to the election increase your

18     confidence in the election?

19     A.   No.

20     Q.   Okay.    Why not?

21     A.   I just think a change -- the timing.         I think the timing

22     on it for me initially when I heard about it was suspect.            Like

23     why now?   I just think that at this point changing it might

24     cause more chaos and be a little more hectic than the current

25     system that we have in place.

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1      Q.   Do you have any concerns about a change to paper ballot

2      disenfranchising voters?

3      A.   That is a concern.      That is a major concern.

4      Q.   And what is your opinion on that?

5      A.   I just feel that we do everything we can to encourage

6      people to vote.    And any change might -- might cause people to

7      be more skeptical about the process.

8                 MS. BURWELL:     Thank you.    I have nothing further,

9      Your Honor.

10                MR. SALTER:    Nothing for the state, Your Honor.

11                               CROSS-EXAMINATION

12     BY MR. BROWN:

13     Q.   My name is Bruce Brown, and I represent the Coalition

14     plaintiffs.    Just a few questions.

15          Would you agree that the county should not reduce the

16     number of voting centers for early voting for the reasons you

17     said; correct?

18     A.   Correct.

19     Q.   So that if an order is entered with respect to paper

20     ballots, you would agree that it would be appropriate to

21     include in that an order that the counties keep the number of

22     voting centers open for early voting as it has been in the

23     past; correct?

24     A.   Yes, sir.

25     Q.   You mentioned that you have a long association with the

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1      League of Women Voters; correct?

2      A.   Yes.

3      Q.   And I'm going to hand to you --

4                  MR. BROWN:   If I may approach the witness, Your

5      Honor.

6      Q.   (BY MR. BROWN)      -- hand to you what will be marked as

7      number -- Plaintiffs' 8.      And from time to time, the League of

8      Women Voters comes out with publications called Impact on

9      Issues and things like that; correct?

10     A.   That is correct.

11     Q.   And does this appear to be a selection of the League of

12     Women Voters Impact on Issues 2016 to 2018?

13     A.   It appears to be.

14     Q.   Let me turn your attention to the second page of this

15     exhibit, which is the 15th page of this publication.

16          And is it true that the League of Women Voters at their

17     convention in 2006 clarified their position that voting systems

18     should employ a voter-verifiable paper ballot or other paper

19     record?

20                 MS. BURWELL:    Objection.    Foundation.

21                 THE COURT:   I just think we have limited time.       I'm

22     not sure this is really -- unless this is something that you

23     feel is essential to your proceeding, I think we probably

24     should give it up.

25                 MR. BROWN:   I'll take your lead on that.       Thank you.

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1                  MR. KNAPP:   No questions, Your Honor.

2                  THE COURT:   All right.    You may step down.         Thank you

3      very much for coming.

4                  MS. BURWELL:    Fulton County calls Richard Barron.

5                  COURTROOM DEPUTY CLERK:      Good afternoon, sir.

6                        (Witness sworn)

7                  COURTROOM DEPUTY CLERK:      Thank you.    Please be

8      seated.   Please pull up close to the microphone so we can all

9      hear you.

10                 I'm going to ask you to state your name again for the

11     record, and please spell your first and last name for the

12     record.

13                 THE WITNESS:    Richard Barron.     R-I-C-H-A-R-D.

14     Barron, B-A-R-R-O-N.

15                 COURTROOM DEPUTY CLERK:      Thank you, sir.

16          Whereupon,

17                                RICHARD BARRON,

18          after having been first duly sworn, testified as follows:

19                                DIRECT EXAMINATION

20     BY MS. BURWELL:

21     Q.   What do you do for a living, Mr. Barron?

22     A.   I am the Director of Registration and Elections for Fulton

23     County.

24     Q.   So that means that you oversee all of the election

25     activities for the county?

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1      A.     I oversee all the elections that happen in Fulton County,

2      yes.

3      Q.     And in your position as elections director, are you aware

4      of any evidence that any Fulton County DRE machine has ever

5      been physically accessed by an unauthorized person?

6      A.     No.

7      Q.     And as the Fulton County election director, are you aware

8      of any evidence that any Fulton County DRE machine has been

9      remotely accessed by any unauthorized person?

10     A.     No.

11     Q.     And, again, as the election director, are you aware of any

12     evidence that the Fulton County GEMS server has been improperly

13     accessed?

14     A.     No, I'm not.

15     Q.     Are you aware of any evidence that any memory card used in

16     the Fulton County DRE machines has been improperly accessed?

17     A.     No.

18     Q.     Are you aware of any evidence that any memory card used in

19     Fulton County DRE machines has been infected with malware?

20     A.     No.

21     Q.     Are the Fulton County DRE machines connected to the

22     internet?

23     A.     No, they are not.

24     Q.     Are there written protocols for the handling of DRE

25     machines?

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1      A.   Yes.

2      Q.   And can you tell the Court about that?

3      A.   Well, we have a chain of custody.        Whenever we prepare the

4      DREs before the election, they go through L&A.          We seal them.

5      They go out for delivery.      They are assigned to a polling

6      place.   They are delivered to that polling place.

7           Once they are delivered, there is a cable that runs

8      through them through the handles.        They are left in most

9      polling places in a locked room.       Some places those aren't

10     available.

11          But -- and then when the poll workers get there on

12     election day, they will -- or the day before when they set up

13     the machines, they get those ready.        The morning of election

14     day, they verify the seals with the DRE recap sheet based on

15     the serial numbers on the DRE units.        And also they verify

16     those against the wire seals.

17          They open those up, check to make sure there are no votes

18     on the machine.    And then voting happens throughout the day.

19     At the end of the day, they will record the number of votes

20     that are on there.     They reseal those -- first, they have to

21     accumulate the results.      The media cards are put into a sealed

22     bag, which would then go to one of our check-in centers.          And

23     then all of those machines come back to the warehouse.

24     Q.   Before any voting occurs, can you tell the Court where the

25     Fulton County DRE machines are kept?

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1      A.   We have them in a warehouse.

2      Q.   And can you tell the Court about the security in the

3      warehouse?

4      A.   We have a warehouse that is protected by an alarm system.

5      It is also -- there is a locked door.        Then you go in -- there

6      is a second locked door with a keypad to get into it.

7           Once you get in there, all of the voting units are in

8      stacks like you would see at a Costco.        And in that area also

9      is our GEMS server and all of the other election equipment and

10     supplies.

11     Q.   Are the DRE machines sealed unless they are being tested

12     or used?

13     A.   Well, if they are -- we seal them once they are ready to

14     go out.    Once they have been tested, then we seal them.

15     Q.   So when you seal them, tell the Court what that means.

16     A.   We put -- there is a -- on the handle -- once the lid is

17     closed, we -- there are seals like a security seal with a seal

18     number on them, like a serial number.        And those are secured --

19     fastened through -- through the -- there is a hole in the

20     handles.    The only way that you can get into the machine is if

21     you cut that.

22     Q.   So is this seal made out of metal?

23     A.   Yes.

24     Q.   How is the serial number imprinted on this particular

25     seal?

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1      A.   Well, it is a hard molded plastic.         And so the number is

2      imprinted into the plastic.      You would have to file it off to

3      get rid of it.

4      Q.   So that is on the external?       That is on the outside of the

5      machine -- the seal?

6      A.   Yes.

7      Q.   And tell the Court about the chain of custody forms with

8      respect to a particular machine.

9      A.   Well, each machine is assigned to a polling place.           So

10     those -- those machines and the serial numbers and the seals

11     are all on a DRE recap sheet.       And those are assigned their --

12     we have delivery teams that take those out to the assigned

13     polling places.    Once they get there, they have to verify that

14     what they are delivering is what is on that DRE recap sheet.

15     Q.   And can you tell the Court who delivers to the polling

16     places for Fulton County?

17     A.   We have -- mostly it is firemen and some police officers

18     that are off duty.

19     Q.   And are they familiar with the security requirements?

20     A.   Yes.

21     Q.   Including the chain of custody form?

22     A.   Correct.

23     Q.   Now, once a machine has been delivered to a polling place,

24     can you tell the Court what the process is with respect to

25     security once a machine arrives and is about to be used?

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1      A.    Well, they are -- they are chained together like -- it is

2      like a bike -- almost like a bike cable.         You would have to

3      take a bolt cutter to get through it.        All the machines are

4      secured together.

5            They are all sealed as I said before.        The poll workers

6      have to take the chain off of it.        And then they set up the

7      machines.     They would -- they also -- they have to verify the

8      seals, as I said before, cut those seals if they all are fine.

9            If there was a machine that has been tampered with, if a

10     seal has been cut, then that machine would be taken out of

11     service.

12     Q.    Are you aware of any instance where a seal has been cut?

13     A.    No.

14     Q.    Okay.   So you said they would check the serial number?

15     A.    Correct.

16     Q.    Tell the Court what they are checking the serial number

17     against.

18     A.    Well, before they go out on the DRE recap sheet, we record

19     the seal number -- the security seal number on the DRE recap

20     sheet.   So when the poll workers then get that, when they have

21     the DRE recap sheet, they have their own copy that they pick

22     up.

23           When they get to the polling place, they have to verify

24     that those match, that the serial number on the DRE and the

25     serial number on the security seal match.

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1      Q.   Can you tell the Court how physical security is different

2      during early voting?

3      A.   Well, during early voting, we -- the machines are there.

4      We have early voting for 19 days.        So they are opened on the

5      first day of early voting.      And then they are resealed and

6      closed at the end of each day of voting.

7           They record the number of votes before they close it at

8      the end of the night.     The next morning they have to verify

9      that the same number of votes are on there.         And they also have

10     to verify the seal that was put on the night before.              It is on

11     there before they open it in the morning.

12     Q.   Is there additional physical security during early voting?

13     A.   Most of our early voting sites are in the libraries.             So

14     we have -- they are in locked -- they are in locked rooms.

15     Q.   And what about on the machine itself?         Is there any

16     additional security for the actual machine during early voting?

17     A.   We have -- well, this machine right here also has -- this

18     unit doesn't have it on there.       But Georgia has a specific

19     piece of equipment -- or it is a piece of metal that slides

20     over the lock on the side that would prevent tampering.

21     Q.   And that is placed on every --

22     A.   Every early voting unit.

23     Q.   And that is every night --

24     A.   Yes.

25     Q.   -- it is placed on there?

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1      A.   Yes.    It is put on -- it is affixed to the unit before it

2      ever leaves the warehouse.

3      Q.   Okay.    All right.    So it just stays on?

4      A.   Yes.

5                  THE COURT:   How long are we going to be on the

6      security -- the physical security of the machine?          Because, you

7      know, I want you -- I obviously would like to complete this

8      hearing today, and I thought there were other issues that he --

9      I'm not sure that these issues are necessarily in contest.           And

10     I don't remember Mr. Barron's affidavit at the moment.            So --

11                 MS. BURWELL:    Yes.   I'll move on, Your Honor.

12                 THE COURT:   Thank you.

13     Q.   (BY MS. BURWELL)      Let's tell the Court about the memory

14     card that is inside.     Can you tell the Court what security

15     features are on the memory card?

16     A.   Well, the memory cards go in the side.         For example,

17     during early voting, the door that was spoken about during the

18     demonstration this morning isn't accessible.         Once the memory

19     card is in there, we slide that metal piece down there.           And

20     the only way to get that off until it gets back to the

21     warehouse is to break the machine.

22     Q.   Are you aware of any instance where there has been a

23     broken machine?

24     A.   No.

25     Q.   Now, is there a seal on the memory card?

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1      A.   We have some identifiable information that we put on each

2      of our memory cards before they're put into the machine.

3      Q.   Okay.    And can you tell the Court how that memory card and

4      that identifying information works with the actual machine?

5      A.   Well, once it goes in there, it is -- it is paired with

6      that machine.    It has already gone through L&A.        So it is ready

7      to go into election mode.

8           If for some reason, as they said this morning, you take it

9      out -- if somebody was to take it out, first they would have to

10     get through the metal -- the outside portion of the metal that

11     protects the door.     And if you pulled it out and you stuck

12     another memory card in there if it is not -- if it is in

13     election mode, the first thing that is going to happen is it is

14     going to kick the printer on, especially if it is from a

15     different database.

16          Each database is -- an election database is specific to

17     that election.    So if someone wanted to -- if someone had

18     access to a GEMS server, if it wasn't ours, they wouldn't be

19     able to put a memory card in there and have it -- it wouldn't

20     work because the machine wouldn't recognize it.

21     Q.   Is that because the memory card is tied to a particular

22     machine in a particular precinct?

23     A.   It is tied to a particular election.         The only way it can

24     be compromised is if somebody has access to our -- to our

25     database.

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1                 MR. CROSS:    Your Honor, I apologize.

2      A.   Our server.

3                 THE COURT:    I'm sorry.

4                 MR. CROSS:    I have to object.      This is well beyond

5      any foundation laid for -- he is giving it sounds like expert

6      opinion on computer science at this point.

7                 THE COURT:    All right.    Are you a computer engineer?

8                 THE WITNESS:     No, I am not.

9                 THE COURT:    I think that we are going beyond his

10     expertise.    He can certainly say he doesn't think it happens.

11     But I don't know that he can be basically identifying the only

12     way something can happen as -- in terms of the computer science

13     here.

14                MS. BURWELL:     Well, Your Honor, this isn't computer

15     science.   This is the process by which the machines are

16     prepared, and this is the elections director.          And so he is

17     responsible for the machines and knowing how they work and

18     knowing how they are configured.

19                THE COURT:    Are you familiar, in fact, with all of

20     the computer science of how the machines are working and how --

21     is that true?

22                THE WITNESS:     I am not a computer scientist.        But I

23     know enough to rebut what was -- what is in the demonstration

24     this morning.    I watched the video of the professor.

25                And what Georgia has that he didn't say is that there

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1      is -- we have a big piece of metal that protects it from being

2      manipulated during the day.

3                 THE COURT:    All right.    You're talking though -- I

4      think that the point of the presentation was not that -- at

5      least as I took it, was not that somebody secretively

6      necessarily would just come in during the day but the fact that

7      it is, in fact -- it is subject to manipulation -- the data.

8                 Maybe other people took something else from it, and I

9      understand that.     And maybe that is why we're spending so much

10     time on the physical apparatus.       But I absolutely accepted the

11     testimony that you got -- that you have some way of blocking

12     the -- physically of blocking somebody from putting a new card

13     in there as your routine process.        And I accept that.       But I

14     think going beyond that is -- I'm uncomfortable with.

15                MS. BURWELL:     Okay.

16     Q.   (BY MS. BURWELL)     Can you tell the Court about any

17     security measures you have put in place for the GEMS server?

18     A.   Well, it is an air-gapped server.        We have -- basically it

19     is never -- it is not connected to the internet.

20                MR. CROSS:    Objection, Your Honor.      Air-gapped is a

21     computer term.    This is also duplicative of what we have heard.

22     He can't possibly testify to whether the system is air-gapped.

23                MR. SALTER:    On behalf of the state -- may I on

24     behalf of the state -- go ahead, Kaye.

25                MS. BURWELL:     Your Honor, as the elections director,

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1      Mr. Barron is testifying to the processes that take place --

2                  THE COURT:   All right.    You have a GEMS computer in

3      your -- you have a GEMS --

4                  THE WITNESS:    Server.

5                  THE COURT:   Your GEMS server is not connected to the

6      internet you are saying?

7                  THE WITNESS:    Correct.

8                  THE COURT:   And all of the other counties have a GEMS

9      server?

10                 THE WITNESS:    Correct.

11                 THE COURT:   And you communicate with the GEMS server

12     from the --

13                 THE WITNESS:    A warehouse.

14                 THE COURT:   Well, no.     When you get a -- when you

15     get -- this disc -- because you have been here all day -- and

16     any other -- that has been testified about from the director of

17     elections for the state, you get that mailed or you get that

18     sent?

19                 THE WITNESS:    We pick it up because of our proximity.

20     Yes.

21                 THE COURT:   And others may have it mailed to them?

22                 THE WITNESS:    No.   It is either -- it is usually

23     delivered from what I understand out by officers to the other

24     counties.

25                 THE COURT:   There are 159 counties.

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1                  THE WITNESS:    Yes.

2                  THE COURT:   And you are one of -- obviously the

3      largest one, and you get it.       And I guess the others have one

4      server, or do you have more than one server?

5                  THE WITNESS:    We have one.

6                  THE COURT:   You have one.     And then that server

7      has -- you are saying has absolutely no interface at all --

8                  THE WITNESS:    Correct.

9                  THE COURT:   -- with the web or anything else like

10     that?

11                 THE WITNESS:    (Witness nods head affirmatively.)

12                 THE COURT:   You are just running it based on the

13     information that is on the disc is your testimony?

14                 THE WITNESS:    Correct.

15                 THE COURT:   And there is -- and that server never

16     interfaces at any other time -- it is completely -- it is not

17     wireless you are saying?

18                 THE WITNESS:    Correct.

19                 THE COURT:   So it is only used for this particular

20     purpose you are saying?

21                 THE WITNESS:    Yes.

22     Q.   (BY MS. BURWELL)      There is a security system where the

23     GEMS server is?    A security system?

24     A.   Yes.   We have two cameras that are pointed at it.           And

25     then we also -- I mean, we have the alarm system and the

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1      keypad.

2      Q.   Let me ask you now about the financial impact of the

3      proposed use of paper ballots.       Can you speak to that?

4      A.   If we were ordered to go to paper ballots with our active

5      voter count -- it is about 752,000 registered voters.             We would

6      probably -- because you have to have enough ballots on hand for

7      100 percent turnout.

8           In Georgia, there is no limit in the code as to if a voter

9      makes a mistake how many times they can go back and correct

10     their ballot.    Therefore we would probably need to order a

11     million ballots.     And you are talking about 40 cents a ballot.

12     So that would be $400,000 for Fulton County.

13     Q.   What other expenses would there be other than just the

14     cost of the ballot itself?

15     A.   Well, just to get -- I think the biggest cost is going to

16     be the -- it depends on how we count those ballots.           For

17     example, it took us -- our absentee ballots, we began on

18     election day morning in the presidential election at 7:00 A.M.

19     And we had 30,000.     We only have 45 optical scan units in

20     Fulton County.

21          Just in the most recent election, we had -- during L&A

22     testing, 19 of them went down, which they have been out -- sent

23     out for repair.    It took us until 5:00 Wednesday to count

24     30,000.

25          So I heard testimony earlier that it takes three seconds

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1      to run these through.     If you have a perfect ballot and those

2      things are running in a perfect condition, you might be able to

3      get some of them.     Sometimes it takes a ballot to go through

4      four or five or six times before the scanner reads it.

5      Q.     Have you estimated how many scanners you think you would

6      need if you had to potentially scan up to 700,000 ballots?

7      A.     We would need -- well, if we're going to precinct scan and

8      do our absentee, we would need 250 scanners.         We have -- we

9      have -- we'll probably have 45 ahead of this election.

10            I talked to ES&S, our vendor.      They only have 55 left for

11     the entire state.

12     Q.     And so you told us that you had 41, and 19 are out for

13     repair.   So if you were to get the ones that ES&S has, you

14     would end up with about how many?

15     A.     If all of them are working on election day, we would -- we

16     would have 100.    But none of the other counties would be able

17     to increase their inventory.

18     Q.     So you would have 100 even though you think you would need

19     250?

20     A.     Correct.   Because if we have to run those through at the

21     warehouse, I would estimate it would take a week at least to

22     count those ballots.     That is probably running teams 24 hours a

23     day.

24            I don't know how many of those -- you are going to have

25     ballots that aren't going to run through.         They are going to

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1      have to be remade.     You would have to have teams that are going

2      to have to determine the intent on some of those.          You are

3      going to have ballots that are going to be marked incorrectly.

4           You are going to have all sorts of things come up.           We

5      definitely would not meet the time to canvass if we --

6                 THE COURT:    When you say time to canvass, what do you

7      mean?

8                 THE WITNESS:     We are given until -- we have to -- by

9      the Monday after the election, we have to canvass the election,

10     which is to declare the results official.

11                I don't -- unless everything went absolutely perfect,

12     I couldn't guarantee that we would finish by Monday.

13                THE COURT:    So what happens if you can't?

14                THE WITNESS:     I guess that is up to Mr. Harvey.

15                THE COURT:    I mean, Fulton County has had problems

16     with its elections before.        Has it always been able to declare

17     the results by that canvassing deadline?

18                THE WITNESS:     I think before I came here there were a

19     couple of times before when they had a difficulty, yes.

20                THE COURT:    But they proceeded to ultimately have the

21     actual results declared; right?

22                THE WITNESS:     Correct.   But they -- yeah.      They have

23     never done it with --

24                THE COURT:    Under you?

25                THE WITNESS:     No.   You are going to have a lot of

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1      really unhappy candidates and elected officials if they have to

2      wait that long.

3                 I mean -- speaking for myself, I'm under significant

4      pressure to get those results out by no later than 11:00 just

5      by elected officials in my county.

6                 THE COURT:    11:00 on --

7                 THE WITNESS:     On election night.

8                 THE COURT:    And on any election night?       Because I'm

9      just trying to think about people waiting the night of the

10     sixth district runoff.      There was -- the Fulton County machines

11     went down that night; right?

12                THE WITNESS:     Not the runoff.     In the first --

13                THE COURT:    In the first one?

14                THE WITNESS:     Yes.

15                Well, what happened in that election was we had three

16     different databases that we had to use.         We had one for south

17     Fulton, the Roswell election runoff that was in April.            We had

18     to produce -- we had to have a -- we had to have a CD 6

19     database, and we had to have one for Johns Creek.          So we had

20     those three -- we had to run three different databases.

21                And Fulton County is different than all the other

22     counties in that we have check-in centers because the county

23     has so many precincts.      They are spread out all over the -- it

24     is 75 miles from one end to the other.

25                Therefore we had to use three databases because of

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1      all of these different timelines that came down upon us when

2      the elections could get -- when they could get programmed.            So

3      once we had those on election night, every time we had to

4      switch between databases.      If we wanted to bring in CD 6,

5      because we modem our results in --

6                  THE COURT:   CD 6 means?

7                  THE WITNESS:    Congressional district six.       If we

8      wanted congressional district six results to come in, we had to

9      have all five check-in centers modem those results in.            We had

10     everything color-coded depending on whether it was a CD 6 media

11     card or whether it was a City of Roswell, south Fulton card, or

12     whether it was a Johns Creek card.        Those were all color-coded

13     and separated.

14                 What happened on election night was when we had shut

15     the -- we had a City of Roswell card.        It got put into one of

16     the machines, and it entered in to the congressional district 6

17     database.

18                 So when we went to run the results, it wouldn't kick

19     it out.   I mean, it wouldn't tabulate because it said there was

20     an error.   The problem with our system now is that the error

21     messages are gobbledygook.      They don't tell you what the real

22     error is.

23                 But what it did show that night was that if you stick

24     a media card in there that is foreign to the database, because

25     the Roswell database was separate from the CD 6 one, the

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1      results came in and that database wouldn't accept it.             So even

2      though it took us -- when we went -- when we asked the state,

3      you know, what does this -- this error mean, they weren't sure.

4      The guy in my warehouse that is in charge of all the machines

5      figured it out.       We got --

6                    THE COURT:   Was that before or after 11:00 at night?

7                    THE WITNESS:   Oh, that was probably going from 11:00

8      to 12:30.     Yeah.   So, anyway, what it did -- I mean, it was a

9      big pain.     But what it did prove was that the system works and

10     that it doesn't read results from -- one database can't go into

11     another.

12                   THE COURT:   Thank you.

13     Q.     (BY MS. BURWELL)      Do you know how you would transport --

14     if you had to have this million ballots how you would transport

15     them before and after the election?

16     A.     How we're going to transport them?       I haven't -- the last

17     time I did -- I did some paper ballot elections when I was a

18     director in Texas.      And you -- the poll workers pick the

19     ballots up.     They are sealed in boxes.     And the ballots go out

20     with the poll workers.       And they take them home until election

21     day.   They will pick them up on a Sunday.        And then they take

22     them home until election day.       That is how we did it there.

23     Q.     In Texas?

24     A.     Yes.   The same thing would have to happen here.

25     Q.     Well, there would have to be processes put in place?

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1      A.   Right.    There would have to be a number of things put into

2      place.   It would be a really tough thing to do given this time

3      frame.

4      Q.   And they are --

5                 MR. CROSS:    Your Honor, I'm sorry to interject.        We

6      have been going on for half an hour with this witness.            We seem

7      to be treading ground that we have covered with other

8      witnesses.

9                 THE COURT:    Is there an affidavit from Mr. Barron?

10                MS. BURWELL:     I tried not to cover the things that

11     were in his --

12                THE COURT:    How much more do you have?

13                MS. BURWELL:     I'm almost finished.

14                THE COURT:    All right.

15     Q.   (BY MS. BURWELL)     When is early voting scheduled to begin?

16     A.   October 15th.

17     Q.   Is it likely or unlikely that you could get everything in

18     place if you were -- if it was determined that paper ballots

19     need to be used?

20     A.   The problem with using paper and early voting is that you

21     have to have every ballot style available.         And poll workers,

22     even though a lot of them are good, they are notorious about

23     giving out the wrong ballot during early voting because they

24     have to pick from what in Fulton County would probably be

25     400 -- 450 ballot styles.

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1           And it is very easy to give out the incorrect ballot.

2      That was always the Number 1 complaint that we had in Texas.

3      And it just -- it was -- it was amazing no matter what you did

4      how many times you would get that complaint.

5      Q.   Okay.    So if given that, how would you handle early voting

6      in terms of numbers of locations and places?         What do you think

7      you would need to do?

8      A.   I don't think I -- I would probably cut the number of

9      early voting sites down to a minimum.        Either just have it at

10     the government center or maybe have it at our annexes as well.

11     But no more than three places.       I just don't -- there are too

12     many headaches.

13     Q.   What about training for an election using paper ballots?

14     A.   We have already begun our online training.          Our poll

15     workers go through online training, as well as in-person

16     training.    The online training has already started.         As far as

17     the -- we're going to begin soon the in-person training.

18          We would have to rewrite all of our procedures.              And the

19     manuals -- we try to get those printed before training.             I just

20     don't see that it is -- at this point at this late date, I

21     don't see how it is reasonable to expect any of the counties to

22     do that.

23     Q.   Would you need ballot boxes at each precinct if you went

24     to paper ballots?

25     A.   Yes.

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1      Q.   Do you know how many ballot boxes you would need?

2      A.   Well, we are going to need at least -- it depends on -- we

3      have 183 polling places, 377 precincts.         So you are talking --

4      we would need at least 250 to 300 ballot boxes.          Some of them

5      are going to -- it just depends on the turnout.          I mean, we are

6      going to have to have extra ballot boxes out there because some

7      of them are going to overflow.       And they would have to be

8      sealed during the day, and we would have to open up a new one.

9           Now, if we had precinct counters in some of them, we

10     could -- I don't even know if the optical scan units can mount

11     on to -- they can mount on to like a big huge box where the

12     ballots drop in to that.      I don't know if those are available.

13     Q.   For purchase for use?

14     A.   Correct.

15     Q.   What impact would having a few -- how many early voting

16     locations are you expecting to have currently using DRE

17     machines?

18     A.   We have 20.     And then we're going to have up to two

19     outreach locations per day going.

20     Q.   So if you cut that down to three locations, what impact

21     will that have on election day?

22     A.   We're going to have -- the lines are going to be -- we're

23     going to have longer lines.      It usually takes longer to vote a

24     paper ballot from what I have witnessed over 19 years because

25     it just -- people are coloring those ovals in.          It takes longer

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1      than it does to press -- press the screen and scroll through a

2      screen.

3      Q.   Are you required to keep track of all paper ballots?

4      A.   Yes.    You have to do -- we would have to design some

5      new -- I mean, it would basically be an accounting -- like an

6      accounting sheet.     You know, it is not going to be that hard to

7      design it.    But you have to make sure that you account for all

8      of the unvoted ballots, the voted ballots, any ballots that are

9      spoiled during the day if the voter makes a mistake,

10     provisional ballots.

11                 MS. BURWELL:    I have nothing further, Your Honor.

12                 MR. SALTER:    Nothing from the state, Your Honor.

13                 THE COURT:    All right.   Can you-all possibly

14     consolidate your questions -- the sides -- or have you already

15     divided territory?

16                 MR. CROSS:    We have divided these up.

17                       (There was a brief pause in the proceedings.)

18                                CROSS-EXAMINATION

19     BY MR. CROSS:

20     Q.   Mr. Barron, you talked about dealing with the election

21     results from the April 2017 sixth district special election;

22     right?

23     A.   Yes.

24     Q.   You said you had to modem the results in; is that right?

25     A.   Yes.

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1      Q.   And by modem, you mean a computer modem?          Just sending the

2      results in over the internet; right?

3      A.   No.   It is an old analog -- they are analog phone lines.

4      Q.   So what does the modem connect to?

5      A.   They go from our -- from -- all of the machines that we

6      have, we have card readers up at our check-in centers.            Those

7      go into a phone line that we have at the check-in centers.

8      They are assigned phone numbers -- modem phone numbers into our

9      server.

10     Q.   They are assigned phone numbers into the GEMS server?

11     A.   The GEMS server.

12     Q.   Mr. Barron, do you honestly not understand that hackers

13     can get into the GEMS server through the phone modem?

14     A.   That is extraordinarily difficult to do.

15     Q.   You are not a computer scientist, are you?

16     A.   No.   But I have asked people with the expertise about it.

17     And it would take an extraordinary effort to even do that.

18     Q.   You've never heard of hackers -- okay.         It is fine.

19          But your GEMS server is connected to phone lines?            We're

20     clear about that.

21     A.   These are analog phone lines.

22     Q.   All right.    So it is not air-gapped?       Let's just be clear.

23     Correct?

24     A.   Yes, it is.

25     Q.   You think a GEMS server that is connected to phone lines

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1      is air-gapped?    That is your understanding of air-gapped; is

2      that right, sir?

3      A.   Yes.

4      Q.   Thank you.    You mentioned something about you got error

5      messages from the election night reporting system that were

6      gobbledygook; is that right?

7      A.   Uh-huh (affirmative).

8      Q.   Yes?

9      A.   Yes.

10     Q.   Thank you.    You talked about the challenge of poll workers

11     handing out the right paper ballot.        But poll workers have to

12     figure out which electronic ballot voters use on a DRE;

13     correct?

14     A.   Yeah.    They do that on the ExpressPoll.

15     Q.   Right.    So -- but because there is no hard copy of the

16     ballot that is voted by any particular voter on a DRE, we

17     actually have no idea how often a voter gets the wrong ballot

18     on a DRE; right?

19     A.   Usually -- I mean, we do get -- we do get complaints here

20     and there about that, yes.

21     Q.   On the DRE?

22     A.   Yes.    It is just that over 19 years when you get -- use a

23     paper system the number of complaints go way up.

24     Q.   Mr. Barron, you actually have concerns about the existing

25     electronic system because of the age of the software; correct?

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1      A.   I would like a new system.

2      Q.   Well, let's be clear.      In your view, you don't find it

3      defensible to keep defending year 2000 software on these

4      systems; correct?

5      A.   Well, I mean --

6      Q.   That is your view; right, sir?

7      A.   It is old.    Correct.

8      Q.   I'm going to ask the question again.         Is it in your view

9      that it is not defensible to keep defending year 2000 software

10     on these election systems; right?        You have said that; right?

11     A.   I have said something similar, yes.

12     Q.   We can pull up the article.

13     A.   Yeah, you can get it.      I know what you are talking about.

14     I don't remember exactly what my quote was.

15     Q.   But I've accurately characterized what you said?

16     A.   Probably.

17     Q.   I'm trying to save time here, sir.

18                 MR. CROSS:   Pull the email up.

19     Q.   (BY MR. CROSS)      Last thing -- oh, sorry.      Two more things.

20     We'll move quick.

21          Mr. Barron, can you see what is on the screen?           There

22     should be a monitor behind you if that is easier.          This is an

23     email that you sent on May 15 of 2017; correct?

24     A.   Uh-huh (affirmative).

25     Q.   Yes?   I'm sorry.    You have got to say yes or no.

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1      A.   What was the question?

2      Q.   This is an email you sent on May 17th of -- May 15 of

3      2017?

4      A.   Yes.

5      Q.   Okay.    Do you see you wrote in that second paragraph there

6      was -- let me give the context.       There was an error that

7      occurred with some memory cards around an election at this

8      time; right?

9      A.   Uh-huh (affirmative).

10     Q.   Yes?

11     A.   There was --

12     Q.   There was an error that occurred with some memory cards in

13     Fulton County around this time; correct?

14                 THE COURT:   Could you sit down.      You can sit wherever

15     you want, but sit down.      Thank you.

16     Q.   (BY MR. CROSS)      A disagreement arose between you and

17     Secretary Kemp as to who was responsible and how it got

18     handled; is that fair?

19     A.   Well, I don't know that I had any -- any contact with

20     Secretary Kemp about it.      But what I was saying was that

21     basically we -- we didn't have the choice of how many databases

22     we were going to run.     And --

23     Q.   Mr. Barron, I'm just asking:        You had a different view

24     than the one you understood to be expressed by Secretary Kemp

25     concerning how this happened?

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1      A.   I don't remember what his view was.         But --

2      Q.   Okay.    Here is what you wrote.      Secretary Kemp is out of

3      line for thinking this violated any rule or law.          He has never

4      run an election and has no clue how to run one.           This very old

5      system, year 2000, coupled with the state forcing multiple

6      databases on us should be investigated.         The new voting systems

7      out there would have prevented this human error.

8           That is what you wrote on May 15 of 2017 from your

9      official Fulton County work account; correct?

10     A.   Right.    Correct.

11     Q.   Last question or last point, sir:        At least as of June of

12     2017, the Secretary of State's office was using an FTP site to

13     share election-related files with the counties, including

14     Fulton; right?

15     A.   I believe so, yes.

16     Q.   And that is still true today; right?

17     A.   Yes.    An FTP site?

18     Q.   Yes.

19     A.   Yes, we get PDFs from it.

20     Q.   Yes?

21     A.   Yes.    PDFs.

22     Q.   On FTP?

23     A.   Yes.

24                 MR. CROSS:    Thank you.

25                               CROSS-EXAMINATION

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1      BY MR. MCGUIRE:

2      Q.     My name is Robert McGuire, Mr. Barron.       Good afternoon.

3             So, Mr. Barron, you described a very elaborate process it

4      sounds like that goes into setting up DREs, servicing them,

5      breaking them down, securing them.        It sounds like it takes a

6      lot of labor; is that right?

7      A.     Yes.

8      Q.     And it sounds like obviously those are people who are

9      working for you?     You have to pay them?

10     A.     Correct.

11     Q.     And if you didn't have to use DREs, all of that labor and

12     those costs would be freed up for you to use on other things;

13     yes?

14     A.     Yeah.   It depends on what system we have.       Yes.

15     Q.     And, secondly, you talked a lot about the physical

16     security that you used, the processes you used to keep the DREs

17     secure.

18            You would admit that no physical security system is

19     perfect; yes?

20     A.     Correct.

21     Q.     But your folks would do just as good a job of securing

22     paper ballots as they would have of securing DREs; yes?

23     A.     Yes.

24                   MR. McGUIRE:   No further questions.

25                              REDIRECT EXAMINATION

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1      BY MS. BURWELL:

2      Q.   Mr. Barron, do you have money in your budget to cover the

3      cost of paper ballots, ballot boxes?

4                 MR. CROSS:    Your Honor, this is beyond the scope.     We

5      really need to move on.      None of us asked any questions about

6      this.   She doesn't get to do another direct.

7                 MS. BURWELL:     He brought up the issue of money.     That

8      is why I'm asking him about that.

9                 THE COURT:    I think that -- I think that -- I'm going

10     to -- I think the parties will probably agree that everyone's

11     budgets are set.     But I have already asked what happens as it

12     is if you got a -- if you ended up with independently 15,000

13     more people voting by absentee ballot, somebody would have to

14     get those ballots out regardless if it was in the budget.         You

15     can't prevent people from voting.

16                MS. BURWELL:     Right.   But there is a difference

17     between 15,000 additional votes and 700 --

18                THE COURT:    I think the parties -- the plaintiffs

19     ought to be able to stipulate, frankly, that the budgets were

20     set before.

21                MR. BROWN:    That is correct, Your Honor.

22                THE COURT:    And they did not make an allocation for

23     this; is that right?

24                MR. BROWN:    We have no contrary evidence, Your Honor.

25                THE COURT:    All right.    Fine.

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1                  MR. BARNES:    And the State of Georgia has not.         We

2      are required at appropriation from the General Assembly.

3                  MR. BROWN:    If a hurricane hit and prevented the DREs

4      from being used, Georgia law would provide the paper ballots

5      and the State of Georgia would pay every dime for those.

6                  MR. BARNES:    That -- you --

7                  THE COURT:    All right.

8                  MR. BARNES:    Could or would.

9                  THE COURT:    I'm going to -- wait a second.          This

10     witness is not going to resolve that.        You inserted that.          And

11     I understand why you did.      But the fact is they agreed as to

12     Fulton County.    And so that is what the question was.

13                 So does that take care of the rest of your follow-up?

14                 MS. BURWELL:    Just one other.

15     Q.   (BY MS. BURWELL)      You had talked about the modem results.

16     Those results were temporary; correct?

17     A.   Yes.

18     Q.   Ultimately you still have to rely on the actual memory

19     cards?

20     A.   Correct.

21                 MS. BURWELL:    Thank you.    Nothing further.

22                 THE COURT:    May this witness step down?

23                 MR. SALTER:    No objection, Judge.

24                 Your Honor, with your permission, we will try to get

25     in former Secretary of State Cathy Cox.

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1                  THE COURT:    I want to say, just so it doesn't get

2      lost, I'm admitting all of the documents.         Some of them

3      you-all -- about Exhibit 7, it still looks like it is an

4      official document.     If you think it is not -- so I'm going to

5      say all exhibits because I can always give no weight to an

6      exhibit or later on determine it is of no value.

7                  As to Plaintiffs' Exhibit 7, you have been in the

8      hearing all day.     Please email Ms. McConochie or put -- I tell

9      you what.   File a notice in the morning by 11:00 whether you

10     are admitting that it is, in fact, what it purports -- what it

11     seems to be, which is a publication of the Secretary of State's

12     office, Brian Kemp, as a legislative update critical

13     infrastructure and DHS hacking attempts.         I can't tell the

14     exact date.    But it appears to be -- have been given to the --

15     as a legislative update in 2007.       And I would think you would

16     be able to determine that.      If it is not real, then tell me

17     that.

18                 MR. BARNES:   I think the objection is this was a

19     presentation made to the committee, a legislative body.

20                 THE COURT:    I understand by the Secretary of State's

21     office.

22                 MR. BARNES:   No.   No.   No.   The Secretary of State's

23     office didn't make it.      Oh, they did.    I'm sorry.    They did.

24                 THE COURT:    It says Georgia Secretary of State.

25                 MR. SALTER:   I think you are thinking of the other

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1      presentation.

2                 THE COURT:    It has the Secretary of State's office

3      seal.   I would understand otherwise.       So I would just -- you

4      know, it may be worth nothing.       But I'm just trying to move

5      through there.    All right.

6                 MR. SALTER:    Understood, Judge.      We'll move along.

7      Thank you.

8                        (Witness sworn)

9                 COURTROOM DEPUTY CLERK:       Thank you.    Please be

10     seated.   Please pull up close to the microphone, and you can

11     adjust it if you need to.

12                I'm going to ask you to state your first and last

13     name again for the record, and then spell those names for the

14     record.

15                THE WITNESS:     My name is Cathy Cox.      C-A-T-H-Y C-O-X.

16          Whereupon,

17                                   CATHY COX,

18          after having been first duly sworn, testified as follows:

19                               DIRECT EXAMINATION

20     BY MR. SALTER:

21     Q.   I think most people know you, Ms. Cox.         But can you

22     explain -- can you describe -- kind of give the Court a

23     thumbnail sketch of your education and career.

24          That is broad I know.      I'm just trying to move fast.

25     A.   I grew up in Bainbridge, Georgia.        I attended and

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1      graduated from Abraham Baldwin Agricultural College, University

2      of Georgia, and Mercer Law School.

3            I was elected to the Georgia House of Representatives in

4      1992, elected Secretary of State in 1998, reelected in 2002.            I

5      serve currently as the dean of Mercer University School of Law.

6      Q.    And were you a Secretary of State elected to the State of

7      Georgia?

8      A.    Yes.   Twice.

9      Q.    And what responsibility did you have in the capacity --

10     well, give me your terms of service as Secretary of State for

11     the State of Georgia.

12     A.    First elected in 1998 and reelected in 2002.         So 1998 to

13     2006.

14                  MR. SALTER:   And this is -- we're not going to use

15     this exhibit up on the wall.       We're not going to put this into

16     evidence, Judge.

17     Q.    (BY MR. SALTER)      But can you -- I don't know if you can

18     read that, Ms. Cox.     But if you want to step down, feel free

19     to.   But one of the things I wanted just for you to explain to

20     the Court was kind of how you -- did you have a role in

21     designing the current election system that we are using with

22     DREs back in 2000, 2001?

23     A.    Yes, I did.

24     Q.    What was that role?

25     A.    Well, it started after the 2000 presidential election when

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1      the country was really focused on Florida.         And the recounts

2      started in that presidential election, and it was clear that

3      Florida had a real mess on their hands.

4           And so we undertook a study to determine whether we had

5      had similar problems.     And as we jumped into that, we found

6      that we had a lot of problems.       So we instituted a more formal

7      study of exactly what happened in Georgia in the 2000 election

8      and made that report then to the Governor and the legislature

9      determining that Georgia had actually lost more votes

10     proportionally than Florida had in the 2000 election, which was

11     really stunning to us.

12          But the number that we lost would not have changed the

13     outcome of the vote in Georgia.       So the media really was not

14     paying much attention to the error rate in Georgia as they were

15     in Florida where the results were much closer.          But to us it

16     was really horrifying to know that we had lost almost 94,000

17     votes in that 2000 election.

18          So as Secretary of State --

19                THE COURT:    When you say by lost, you had no record

20     of them?

21                THE WITNESS:     We could tell that people voted, but

22     there was no vote registered in the presidential election,

23     which is highly unusual because that is why you have a higher

24     turnout in every presidential election because almost everybody

25     has an opinion on the presidential race.         They may not vote for

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1      any other race.    But they are going to cast a vote and have an

2      opinion on the presidential race.

3                 So to know that close to 100,000 people went to the

4      polls, cast a vote, but no vote registered was a major problem.

5      We had four different types of election equipment at the time.

6      So we began in earnest a real study of what had happened and

7      what we might be able to do about it.

8      Q.   (BY MR. SALTER)     When we talk about lost votes, can you

9      tell the Court -- can you define an undervote for the Court's

10     benefit?

11     A.   Well, in a generic sense, an undervote means that someone

12     cast a ballot but their choice did not register.          It could not

13     register at the time in 2000 because we had four different

14     types of ballots being used in Georgia.         It could mean that on

15     a paper ballot -- we actually had two counties that were using

16     the old bed sheet size paper ballots in 2000 -- that they maybe

17     double-marked a race or it appeared that they marked two

18     candidates.    So, technically, that might be called an overvote.

19     But in the generic sense of our report, it would mean that vote

20     didn't -- was voided.     So there was no vote cast in that

21     particular race.

22          On an optical scan ballot at the time, there were two

23     different types of optical scan systems.         There was one where

24     you filled in a bubble.      There was another type that had an

25     arrow out beside a name.      And the voter literally had to draw a

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1      line to connect the ends of an arrow, which was a very unusual

2      system.

3           And if they mismarked it -- sometimes they would put an X

4      in the bubble instead of filling it in, and the scanner might

5      not read it.    We saw ballots where people would circle the

6      candidate's name and not fill in the bubble.         For whatever

7      reason, a host of different types of reasons, a choice would

8      not register.

9           So depending on the type of equipment, the bottom line is

10     their choice would not register.

11     Q.   Several of the different systems that Georgia was using at

12     the time could be made to show undervotes that were essentially

13     lost votes; is that fair?

14     A.   That is right.     Of course, we had the hanging chads on

15     punch card machines in a lot of larger counties.

16     Q.   I was going to -- describe for the Court the different

17     systems that the -- the report --

18                THE COURT:    Is that really worthwhile at this point?

19     So we don't have -- I mean, no one is here challenging the fact

20     at this point that there was a decision made to change the

21     voting system in 2001.      We are just sort of back up at this

22     point in time.

23                MR. SALTER:    The point, Your Honor --

24                THE COURT:    And I think you did provide a good

25     summary of the history of --

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1                 MR. SALTER:    I just want to make sure that -- you

2      know, sometimes the Eleventh Circuit doesn't take my word for

3      it.   You know, the opinion of counsel is not evidence.           So I

4      want to make sure that it is in the record.

5                 THE COURT:    All right.    Go ahead.

6      Q.    (BY MR. SALTER)    Can you describe the four different

7      systems that -- in the last election before DREs, the 2000

8      election, there were four different systems in place.             Can you

9      describe those for the record?

10     A.    There were two counties that were still using the literal

11     paper ballots that were large -- we called them bed sheet size

12     ballots.   There were a number of counties that were still

13     using -- I think numerically more counties were using the

14     refrigerator-sized lever machines than any other type of

15     equipment.

16           Some of the larger counties were using the punch card

17     ballot.    Then a number of counties had moved to the optical

18     scan -- one of the two types of optical scans.

19           So four different types.

20     Q.    What kind of -- the idea being -- did Georgia have

21     experience -- before DRE machines were instituted and we had

22     this system designed around them in 2002, do we have a uniform

23     body of rulemaking that we can refer to immediately for use in

24     the November 6th, 2018, election?

25     A.    Before 2000 -- before we passed the laws in 2001, it was

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1      every county unto themselves.       So it was -- that is why it was

2      a real hodgepodge.     Every county could choose their own

3      equipment.

4           And procedures were -- there were some procedures spelled

5      out in the code, but it was really up to the counties to sort

6      of administer elections.

7      Q.   I want to read to you just Page 10 of that.          Let me ask.

8      You issued two reports.      What were the names of the public

9      reports?

10     A.   The first report was based on the study we did after the

11     2000 election, which was called a Wake-up Call or something.

12     I'm not sure I remember the full title.         But the second report

13     after we put in to place a 21st Century Voting Commission was a

14     report of that commission.

15     Q.   Who was on that commission?

16                MR. CROSS:    Your Honor, I just want to put an

17     objection on the record, and hopefully we can move on.            But

18     we're talking about circumstances 20 years ago.

19                MR. SALTER:    That is right.

20                MR. CROSS:    That is --

21                MR. SALTER:    The point is in terms of the relevancy

22     issue, David?

23                MR. CROSS:    It is not relevant.

24                MR. SALTER:    Thank you.     May I respond to the

25     relevancy objection, Your Honor?

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1                  THE COURT:    Yes.

2                  MR. SALTER:   We don't have anything to go back to.

3      That is the whole point.      We don't have a uniform system to go

4      back to if you take this away.       We never rulemade for the

5      counties.   If you take this system away, we don't have anything

6      to go back to.

7                  Their whole idea is the representation --

8                  MR. BROWN:    Your Honor --

9                  MR. SALTER:   May I finish?

10                 The representation in the plaintiffs' motions is we

11     already have the framework.      The point is you take this away

12     and we don't.    That is the whole point.

13                 MR. BROWN:    Your Honor, it is not our representation.

14     I was reading from Mr. Harvey's letter to all the counties that

15     said we do have it and if there is an emergency or if it is

16     unsafe everybody will use paper ballots.         It wasn't -- it is

17     not our position.     It is our quoting their directions to the

18     counties.

19                 MR. SALTER:   Presumably --

20                 MR. CROSS:    The only point -- if I can also respond

21     too.   I agree with everything that Mr. Brown said, and I will

22     just say this.    The position that the state boils down to today

23     is that if there were a power outage on election day, hurricane

24     or what have you, that they could not run an election.            That

25     is, with all due respect, a ridiculous position to take.

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1                  As Mr. Brown points out and I believe this witness

2      will testify, the intended alternative was paper ballots.             So

3      to say that there is no framework is just an absolute mistake

4      of the law.    This is not relevant to talk about how paper

5      ballots were dealt with 20 years ago.

6                  MR. SALTER:   May I proceed, Your Honor?

7                  THE COURT:    You can.   But I think you need to curtail

8      this some because I think -- I don't think that there is a

9      great deal of -- going to be a great deal of dispute about

10     this.   And I think all of this could have been provided in a

11     response.   And if you want to provide it by affidavit, I would

12     be willing to do that.

13                 MR. SALTER:   This is expounding on something that is

14     in a declaration generally.      It is in Chris Harvey's

15     declaration.    I wanted to point out just the history in terms

16     of whether or not we could go back to something.

17                 THE COURT:    Move through so we can --

18                 MR. SALTER:   I think I've made that point.           We'll

19     move on to a different subject.

20     Q.   (BY MR. SALTER)      Madam Secretary, Ms. Cox, one of the

21     things was in the 21st Century -- I want to read this to you

22     and ask you about it.     The Secretary of State's office

23     undertakes a more detailed analysis of undervote data, which I

24     think is the lost votes you were just speaking to, focusing on

25     differences that occur from precinct to precinct within the

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1      same county using the same equipment.        The study finds that

2      while undervoting is almost always more common in predominantly

3      African-American precincts, the gap between black and white

4      undervoting rates is actually highest not in punch card

5      counties but in counties using optical scanning equipment.

6           Can you talk about what y'all drew from that in terms of

7      the recommendations that were made to the General Assembly in

8      2001?

9      A.   This was very surprising data to us to find -- Number 1,

10     to find because optical scanning equipment in 2001 and '2 was

11     the newest type of equipment being used.         So there was a

12     presumption that it is newer, it must be better.

13          But when we found from the study in 2000 that some of the

14     highest error rates in individual counties actually came from

15     optical scan votes, then we dug deeper to say what is really

16     going on here.    And then we would look precinct by precinct

17     within some counties.

18          For example, statewide the 94,000 votes that we couldn't

19     account for, that represented three and a half percent of our

20     total vote.    But we found error rates in individual counties

21     using optical scan that were many -- 21 counties that were over

22     5, many that were over 9 and 10.       Some as high as 15 percent of

23     their votes that wouldn't register on optical scan equipment.

24          And then when we broke it down precinct by precinct, we

25     found significant -- significantly higher rates between

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1      majority minority precincts and majority white precincts on

2      optical scan equipment.

3           So there was a clear difference either in age or

4      educational levels.      We didn't have the psychological

5      statistical means to dig much further into what the exact cause

6      was beyond that glaring difference.        But that undervote gap was

7      largest among optical scan equipment over any of the other

8      types of --

9                  THE COURT:   Optical scan of ballots?

10                 THE WITNESS:    Of ballots.    Of any of the other types

11     of equipment then in use in 2000.        So some great racial or age

12     or educational experience difference in that type of equipment

13     over any of the others that were being used.

14                 THE COURT:   Did you control for any other factors?

15                 THE WITNESS:    We just looked at the data and the

16     outcomes.

17     Q.   (BY MR. SALTER)     Ms. Cox, plaintiffs argue that the system

18     we have now with the DREs is not auditable.         How would you

19     respond to that?

20     A.   Well, it depends on how you define an audit.          If you had a

21     pure audit, I would assume you would violate the secret ballot

22     that is required by Georgia's Constitution.         Because you would

23     need to track a ballot back to every individual and make sure

24     their vote was tracked and counted, which would be

25     unconstitutional.

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1           But there are so many checks and balances in the system

2      from the paper certificate that a voter fills out in the

3      polling place that has to balance out at the end of the day

4      with the number of votes cast to the numbered list of voters

5      when voters check in and you know the number of people that

6      check in at any given precinct.       All of those things have to

7      add up at the end of the day with the tapes that run off of

8      individual machines and that are posted in every polling place.

9      So there is an audit process --

10                 THE COURT:   That is just the total volume of the

11     votes?

12                 THE WITNESS:    Right.

13                 THE COURT:   That doesn't really go to though the

14     actual -- the sorts of issues, in fact, you in some ways might

15     have gotten with the 94,000, that maybe some votes were

16     erroneously captured or improperly moved to one category

17     versus --

18                 THE WITNESS:    No, it could not tell a vote that

19     moved.   But --

20                 THE COURT:   You couldn't then.

21                 THE WITNESS:    But the numbers all have to add up at

22     the end of the night in terms of how many votes are cast within

23     an individual precinct.      And that kind of balancing act is done

24     at every election.

25     Q.   (BY MR. SALTER)     There is a -- in the law, there is

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1      this -- there is -- the certification by the Secretary of State

2      was crafted into this -- the kind of statutory design in terms

3      of DRE machines; correct?      And there is a certification that

4      they are safe and secure; right?

5      A.   Yes.   That is correct.

6      Q.   There is also this language that was argued today about

7      impractical in terms of voting machines.         Do these two concepts

8      relate in terms of how the DRE machine election system works?

9      The impractical standard and the safe and secure certification?

10     A.   The safe and secure certification I think is Code Section

11     418 maybe -- 21-2-418, something like that, where anybody can

12     ask the Secretary of State before an election to say they have

13     some doubts about the election.       And the Secretary of State is

14     then -- if ten or more electors request, the Secretary of State

15     has to go back and recertify that the equipment is safe and

16     does accurately record votes, which I believe was done earlier

17     this year based on that kind of request.

18          There is a code section -- I think it is 21-2-334 which

19     has the language about if the use of a voting machine is

20     impractical -- this is what is in my view being misunderstood

21     because voting machine as used in the Georgia election code is

22     a term of art that is defined in 21-2-2 as a refrigerator-sized

23     lever machine.    So voting machine is a lever machine.

24     Q.   That is not just a term of art that is undefined?            It is

25     defined in the code?

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1      A.     It is defined in 21-2-2.     What you see before you is not

2      called a voting machine in the election code.          That is called a

3      direct recording electronic device.        So that code section that

4      uses the language that if a voting machine becomes

5      impracticable to use then you can go to paper ballots doesn't

6      even talk to this.     That code section was adopted in 1964 when

7      lever machines were put in place.        It was tweaked in 1998 in a

8      small way --

9      Q.     Which is before all this happened?

10     A.     Before any of this happened.      It hasn't even been touched.

11     So that code section doesn't even apply to DRE machines.          Now,

12     there is a code section in 4 --

13                THE COURT:    You know, I think that Ms. Cox is a

14     spectacular lawyer.     But I mean, I'm not sure that this is

15     proper testimony for her as -- I mean, she is testifying about

16     her experience as Secretary of State.        And I respect her

17     judgment and her thoughtfulness and always have.

18                But I'm not sure it is proper for her to be basically

19     trying to educate me about -- though I appreciate it -- her

20     view of the law.

21                MR. SALTER:    We are calling it to your attention.

22     The Court is obviously going to be the ultimate decider of the

23     law.   I think Rule 703 allows us to explain this in terms of

24     the architecture of the system and the way it is designed.         But

25     ultimately, of course, the Court is always the ultimate decider

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1      of law.    We don't dispute that, Judge.

2                 I'll move on.

3                 THE WITNESS:     One thing if I could clarify my answer.

4      The one difference is there is one other code section that does

5      apply to DREs that says if a machine -- if a DRE malfunctions

6      then you could use a provisional ballot for that particular

7      machine.

8                 It doesn't contemplate a statewide replacement of a

9      voting system.    It is just if something happened to that

10     machine or in that polling place, like electricity went out in

11     a thunderstorm, they could use provisional ballots for that

12     next hour.

13     Q.   (BY MR. SALTER)     Let's turn to the idea of an immediate

14     conversion to a paper ballot election -- a primarily almost

15     exclusive paper ballot election for November the 6th.

16          The plaintiffs' argument is that paper ballots have more

17     integrity, that they're safer.       Can you -- based off of -- you

18     are the last Secretary of State who was around when there was a

19     primarily paper ballot election or at least a lot bigger than

20     the ten percent we are currently using.

21          What were some of the chain of custody and security

22     challenges that you witnessed as Secretary of State back then

23     with paper ballots?

24     A.   Well, the fraud opportunity with paper ballots is truly

25     limited only by one's imagination.        And even in the years that

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1      I was Secretary of State, we had issues with ballot boxes that

2      would disappear from locked vaults in a probate judge's office

3      overnight after election night before a recount could happen.

4           When you had ballots counted, papers would go missing.

5      You had suspicion about people who would have a piece of lead

6      literally in between their fingers and count -- you know, move

7      a piece of paper so they could add a mark to it and make it

8      look like it was a double vote and therefore not count.           There

9      are just any number of security issues that can go wrong in

10     handling ballots.

11          But then there is just plain 'ol problems.          We had a

12     county one time using optical scan that the humidity was high

13     and the paper absorbed so much humidity that the scanners kept

14     jamming.   They called us.     We had to suggest that they go home

15     and get hair dryers and lay out the ballots and literally dry

16     out the ballots so that they could scan any of the ballots.

17          We had one county just east of Atlanta where an entire

18     election nothing would scan because they had -- the county had

19     given out the wrong pen or pencil.        And it would not register

20     in the scanner.    So they had to get these teams to replicate

21     every single ballot to run it again in the machine because the

22     marker would not show up.

23     Q.   Did they literally color the ballots in for the voters?

24     A.   You have to do that under the watchful eye of the team who

25     makes sure that it is transferred correctly to another ballot.

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1      But then you get into interpreting what the voter intended, and

2      all of those issues arise.

3           So there are common daily problems with handling paper and

4      unlimited opportunities for fraud.

5      Q.   In terms of the way the DRE system was designed, how did

6      you take into account the risk that is presented by the fact

7      that software can be changed if someone has access to it?         How

8      did y'all address that in the design of this system?

9      A.   Well, I think we all would agree that any piece of

10     machinery that we bring in to an election place is not secure

11     in and of itself.     You have to build a system of security

12     around it.

13          And that is where the State Election Board rules come into

14     place.   And over the years from 2002 and until I left office at

15     the end of 2006, almost probably every time we had a State

16     Election Board meeting some issue would come out of a county

17     that looked like it might be problematic.         And we would either

18     add a rule or tweak a rule about how these machines are used

19     and secured.

20          And that is why the physical security is so important to

21     the overall security.     Because nobody thinks any piece of

22     equipment by itself is safe and secure.         It is how you use it,

23     how you store it, and this whole process of logic and accuracy

24     testing.   That is the whole protocol.

25          The analogy, Your Honor, that I would use is if you let me

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1      take a slot machine home from Las Vegas I could find a way to

2      tweak it until it started giving me quarters.          But the reality

3      is you use it under heavy duty security just like we do so that

4      those kinds of forms of mischief can't really happen.             That is

5      why the physical security is absolutely essential to the

6      overall security of the system.

7           It is not that there is anything magical about that system

8      or that we thought that system would be it forever.           It is the

9      whole process in which they are used and tested and secured.

10     Q.   That is why you have things like air-gapped servers?            That

11     is why you put those under lock and key?         And was that all

12     envisioned from the beginning in 2002?

13     A.   Absolutely.

14     Q.   Is the idea of a malicious hacker -- whether they are

15     Russian or anything else like that, how -- how was that

16     considered by the 21st Century Voting Commission back in 2001

17     when they made the report?

18     A.   Well, that was the heart of why we set up an independent

19     group like the group at Kennesaw State where they had some

20     staff initially that had the computer expertise because we

21     wanted to make sure that you don't just order equipment online

22     and have it delivered out to a county.

23          That acceptance testing that was mentioned here today is a

24     critical thing to make sure what comes off a shelf -- even if

25     we move to optical scanning, you just don't bring it from

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1      Walmart and put it in a polling place.        You have to make sure

2      that the software is absolutely working the way every other

3      piece of software in the state is working.         So you go through

4      all of those levels.

5                  THE COURT:   But then why would we then -- why would

6      the state be using Windows software, for instance, that is out

7      of date that there are no patches for?        This is such a concern.

8      I'm just -- and I know that you are not currently in this

9      position.

10                 But I guess the question is:      You are talking about

11     the very good work that you-all did -- thoughtful work that you

12     did and clearly there were real reasons for.

13                 But would it be fair to say that you would anticipate

14     that there would be constant need for change in the environment

15     that we work in --

16                 THE WITNESS:    Absolutely.

17                 THE COURT:   -- and live in?

18                 THE WITNESS:    Absolutely.    In the 21st Century Voting

19     Commission report, we recommended from the start that if we

20     move to DRE that it have some kind of a paper trail.              But when

21     we got actual bids for the equipment in 2001, it wasn't

22     available.

23                 But none of us contemplated that this would be the

24     end of the process but that it would -- that Kennesaw to some

25     extent could help us stay on top of things.         But I don't know

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1      that we realized this equipment probably could not be updated

2      as much as we would have anticipated.

3                 We probably didn't anticipate obviously a recession

4      would come about and there wouldn't be money to provide new

5      equipment over time.     But --

6      Q.   (BY MR. SALTER)     From beginning to end, how long did the

7      process take for you to feel like you made -- were making a

8      responsible decision that was communicated to the public,

9      communicated to the counties to make this kind of a drastic

10     change in the voting system in 2001 and '2?

11     A.   We did it faster than anyone in the nation ever had done

12     it or ever thought it could be done.        But it was all hands on

13     deck from the time that this report came out.          And we went to

14     the Governor and the legislature in 2001 and passed this scheme

15     of the new law in 2001.

16          And so from 2001 to November of 2002, there is nothing

17     else my office focused on but changing out the election system

18     and doing massive amounts of voter education all over the

19     state.

20          The state gave us well over a million dollars, as I

21     recall, to do voter education and training.         Wherever two or

22     more were gathered, I was there with a voting machine to train

23     people on these pieces of equipment.        We hired massive staff to

24     do voter education and poll worker training and county election

25     training to get voters very comfortable with a new system of

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1      voting.

2           We did a pilot project in 13 different cities so that we

3      could get further feedback on how it could work and what you

4      would have to do to acclimate voters to a new system.             So it is

5      a system that -- anytime you make a change in voting, the last

6      thing you want to do is throw something in front of voters that

7      they are not comfortable with because it could either stifle

8      people from turning out to start with because they don't want

9      to show up and look like they don't know what is going on in a

10     polling place or get there and make a mistake that cancels

11     their vote.

12     Q.   Would it be easy to make these -- strike that.           Forget

13     easy.   Would it be responsible in your position as a former

14     Secretary of State who has made the change -- a significant

15     change in the voting system statewide -- would it be

16     responsible in your personal opinion to make an immediate

17     conversion to a primarily paper ballot election for November

18     the 6th, 2018?

19                THE COURT:    Is there an objection?

20                MR. CROSS:    Yes, Your Honor.

21                THE COURT:    What is the objection?

22                MR. CROSS:    Relevance.    Speculation.     Foundation.

23                THE COURT:    Well, I think that Ms. Cox has

24     significant experience, and she is opining based on her

25     experience and the question of equitable -- what is proper

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1      equitable relief and -- I don't doubt that the public interest

2      is great in terms of having integrity in voting.          But the

3      question is really is an injunction at this point warranted.

4      And I think the testimony is relevant.

5                 MR. SALTER:    Thank you, ma'am.

6      Q.   (BY MR. SALTER)     Do you remember the question, Ms. Cox?

7      A.   I don't know any conceivable way you could change

8      Georgia's election system to any other system in the span of a

9      matter of weeks because that is what we're talking about is

10     weeks.   Early voting starts in a matter of weeks.

11          And to train poll workers and county officials, to educate

12     voters on something new -- and especially an optical scan

13     system where we know how high the error rates were the last

14     time we used it -- I think would be chaotic beyond belief and a

15     setup for massive amounts of voter error, which is really not

16     where anybody in the election world would want to go.

17                MR. SALTER:    Thank you, ma'am.      Your witness.

18                MR. CROSS:    Your Honor, permission to approach with

19     just a couple of documents we have been referencing.

20                               CROSS-EXAMINATION

21     BY MR. CROSS:

22     Q.   Good afternoon, Ms. Cox.

23          Secretary Cox, just to be clear, you haven't worked -- you

24     haven't been involved in the election system in this state

25     other than as a voter since 2007; right?

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1      A.   I have had a lot of contact with the staff and the

2      election office over the years.       But I have not directly

3      supervised it, no.

4      Q.   So you haven't managed it?       You haven't conducted any

5      analysis of the current systems, anything like that; right?

6      A.   That is correct.

7      Q.   And you don't have any background in computer science,

8      information technology, cybersecurity?

9      A.   I do not directly.      But I spent a couple years of my life

10     studying this particular system.

11     Q.   And that stopped as of 2007 as the Secretary of State?

12     A.   That is correct.

13     Q.   You agree that the current system does need to be

14     replaced?   Your issue is timing; is that fair?

15     A.   I don't know exactly what is in the marketplace now.         But

16     even when we purchased it, we contemplated that at some point

17     there would be better technology.        And we had hoped even then

18     there would be some mechanism with a paper trail that was not

19     available at that time.

20     Q.   Right.    So even back in 2001, 2002 when you adopted this

21     system, you had recommended -- you preferred a paper trail

22     because you understood the value of that; right?

23     A.   We preferred an electronic system that also had a paper

24     backup.   Not to stick with paper because of the inherent

25     problems with paper.

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1      Q.   Even though what you just described, an electronic voting

2      system that has a paper trail, has been available for many,

3      many years, we all understood Georgia has never switched --

4      A.   I have heard that.      But I don't know that to be true in my

5      discussions with some of the representatives of voting

6      companies.

7      Q.   You are not aware that other states like California had

8      electronic voting machines that have paper records?

9      A.   I'm not personally aware of that.

10     Q.   You talked a little bit about the statute.          When you

11     adopted this system in 2002, your office actually had the great

12     foresight to recognize that at some point these machines might

13     not be usable for any variety of reasons; right?          Due to power

14     outage?    They become impracticable, as the language in the

15     statute?   And the good foresight that you had was in those

16     circumstances use paper ballots; right?

17     A.   Well, that was a little of the discussion we just had.

18     The code section that uses the word impracticable does not

19     apply to DRE machines.      There is another code section that says

20     if a DRE machine -- I think it is under the provisional voting

21     section -- that if a DRE machine malfunctions that you can use

22     provisional ballots for that -- for the duration of that

23     malfunction.    But it doesn't contemplate throwing out an entire

24     system.

25     Q.   Section 21-2-281 --

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1      A.   What was the last?

2      Q.   281.    We can pull it up if it helps Your Honor -- I'm

3      sorry -- if it helps you, Ms. Cox.        It states --

4                  MR. CROSS:    Would you like a copy.     We have --

5                  MR. BARNES:   We have got it.     We have got the book.

6                  MR. SALTER:   Paper copy.

7                  MR. ICHTER:   More reliable.

8                  MR. SALTER:   So you say, my friend.

9      Q.   (BY MR. CROSS)      Do you have that in front of you?        281?

10     A.   Yes.

11     Q.   So 281 states, in any primary or election in which the use

12     of voting equipment -- not machine -- voting equipment is

13     impossible or impracticable for the reasons set out in Code

14     Section 21-2-334 the primary or election may be conducted by

15     paper ballot in the manner provided by 334; right?

16     A.   Right.

17     Q.   Okay.    That doesn't say voting machine, does it, ma'am?

18     A.   No.    That is correct.

19     Q.   And in the section you were talking about, Section 418 --

20     you are welcome to turn to it if that helps.         It is

21     Subsection (h) of 418, it talks about voting machines and DRE

22     units and indicates paper ballots can be used if some other

23     emergency situation exists which prevents the use of that

24     equipment to cast votes; right?

25     A.   That is correct, 418(h).

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1      Q.   Yes, ma'am.     Thank you.

2           Just to be clear, you are not suggesting in any way that

3      if DREs were to become unusable on election day for any variety

4      of reasons, inoperable, hurricane, whatever happens, power

5      outage -- you are not suggesting that the counties would have

6      no authority under the law to use paper ballots at those polls;

7      right?

8      A.   I think that is the fail-safe mechanism that is there

9      if -- and I think we have frequently had power outages and

10     things like that for short periods of time on election day.

11     None of the polls would -- you know, under current law would

12     not have a supply of ample provisional ballots on hand to

13     accommodate that.     But it has never been contemplated that it

14     would last for the duration of the day.

15     Q.   Right.    But the fail-safe available under the law is paper

16     ballots?   We're agreed on that; right?

17     A.   Yes, sir.

18     Q.   When you were Secretary of State -- and Mr. Salter talked

19     to you quite a bit about your role then -- if you had gotten an

20     order from a court requiring you at this point in time to

21     proceed with paper ballots instead of the DREs, you're not

22     suggesting you wouldn't have complied with that order; right?

23     A.   Certainly I would do everything within human power to

24     comply with an order.     But it would be very problematic.

25     Q.   Difficult, but you would certainly expect that you and the

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1      good workers -- the poll workers would have been -- would have

2      complied with the court order requiring that; right?

3      A.   To the extent you can.      I mean, I think -- I don't know

4      that paper supplies would be available.         Ballots are not

5      printed on just ordinary paper.       They require a special kind of

6      paper.   I mentioned the issue with paper that absorbed

7      humidity.   There are a lot of other factors that go into

8      whether we could just snap our fingers and comply.

9      Q.   And one of the things that you pointed out is that when

10     you moved to the DREs you actually did that faster than anyone

11     thought was possible and it was a massive undertaking?             I think

12     you said you hired a massive number of people?          A rather

13     Herculean effort went in to get that done in time for the

14     election in 2002; right?      Yes?

15     A.   That is correct, yes.

16     Q.   In fact, the decision was made and the implementation of

17     that didn't actually start until May of 2002; right?              Do you

18     recall that?

19     A.   No.    I believe it was earlier than that.

20     Q.   You think it was earlier?

21     A.   Yes.   But I -- the time frame may not be correct.

22     Q.   It has been a while.      It has been a while.

23     A.   I don't remember when we got the federal funding.             That

24     would have been the real key of when we set things in motion as

25     to know that we could proceed.

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1      Q.   You believe that a cyber intrusion into Georgia's election

2      system is unlikely so long as voting machines itself are not

3      connected to the internet; is that right?

4      A.   That is my general impression, yes.

5      Q.   You believe that the only way the Georgia election system

6      could be hacked is if a hacker would have to go machine by

7      machine in a polling place while poll workers are sitting there

8      watching them?    That is your understanding; is that right?

9      A.   Not completely.     I mean, I think there are other

10     mechanisms.    But I think one of the good security features of

11     our system is that it is not connected to the internet.           And

12     the individual machines are not connected to each other.

13          So I think there are some types of DREs out there that are

14     connected to the internet that are connected to each other.

15     And some kind of intrusion could be done a lot easier than it

16     could happen in Georgia.

17     Q.   But your comfort level -- I just want to be clear.           The

18     comfort you have with the existing system, that is because you

19     believe, as you just describe, because the individual machines

20     aren't connected to the internet they can't be hacked; right?

21     A.   I would never say they can't be hacked.         But, for example,

22     the demonstration this morning, I think, ignores the physical

23     security protocols that we have in place that would require

24     somebody -- somebody to violate some of those provisions that

25     we have in place to get access into the -- to an individual

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1      machine or to the GEMS server to set that kind of mischief into

2      motion.

3      Q.   One of the things that you point out challenges the paper

4      ballots -- you have given instances, for example, where paper

5      ballots disappeared from locked vaults; right?

6      A.   That is right.

7      Q.   Another one is where ballot boxes disappeared from secure

8      facilities; right?

9      A.   That is right.

10     Q.   So even with paper ballots, individuals have been able to

11     circumvent the locked facilities that you have talked about by

12     one of the measures that you say protect the DREs; right?

13     A.   Well, that was before the Secretary of State set out

14     requirements for how equipment had to be stored.          That was back

15     prior to 2002 when counties got to do their own sort of thing

16     and they tried to lock them up.       But somebody found ways that

17     had an agenda to steal votes.

18     Q.   Okay.    So then the concerns you just talked about about

19     stealing paper ballots -- we don't have to actually worry about

20     those any more because you just described there are new

21     measures in place now that would prevent that; right?

22     A.   There are certainly enhanced measures in place.

23     Q.   And to the extent that someone would circumvent those

24     measures as to paper ballots, there's no reason to think they

25     couldn't circumvent the same measures with respect to DREs?

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1      Both are locked up?

2      A.   Well, we're talking apples and oranges here.          I was

3      telling you what did actually happen.        And Georgia has a

4      100-plus year history of voter fraud with paper ballots that we

5      can spend the rest of the day talking about.

6           But that was not a comparison to the security measures

7      that we now require by law and by rule and regulation for

8      voting equipment today.

9      Q.   You mentioned before that one of the reasons that led to

10     the change in the system in 2000 was you went back and looked

11     and found around 90,000 votes that year that were undervoted,

12     meaning 90,000 votes that were no vote for president?             Does

13     that sound about right?

14     A.   Not quite the number.      But yes, that is the process.

15     Q.   Between 90- and 100,000?

16     A.   Yes.

17     Q.   But you didn't redo that election; right?

18     A.   No.    That was -- the election was already over.            Florida's

19     recount was in process, and we wanted to know how bad was it on

20     our watch.

21     Q.   So to be clear --

22     A.   There was no process for redoing an election.

23     Q.   Right.    There is no process for redoing an election.           That

24     is correct, isn't it, ma'am?

25     A.   That is right.

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1      Q.   And the 90 -- let's just call it 95,000.          I think it may

2      be 96,000 votes you found at the time -- that didn't give you

3      enough concern to think we have got to throw out the election

4      results?

5      A.   You can't -- you can't throw out election results.           It

6      caused us to say -- caused me to say as Secretary of State --

7      and that is why I was so focused on getting this done before

8      2002 -- I do not want to go through another election cycle

9      knowing how inaccurate our current systems of voting are.

10          So that is why I was absolutely determined that we were

11     going to find a better way to do this before the next major

12     election in Georgia.

13                MR. CROSS:    No further questions.      Thank you very

14     much.

15                               CROSS-EXAMINATION

16     BY MR. MCGUIRE:

17     Q.   Good afternoon, Secretary.

18     A.   Good afternoon.

19     Q.   You mentioned -- my name is Robert McGuire.          I represent

20     the other set of plaintiffs, the Coalition plaintiffs.

21          You mentioned the report of the 21st Century Voting

22     Commission, and I would like to hand you a document.

23                MR. McGUIRE:     If I may approach the bench -- approach

24     the witness.

25                THE COURT:    Yes.   What is the exhibit number?

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1                 MR. McGUIRE:     Are we on 10, David?

2                 MR. CROSS:    I'm sorry?

3                 MR. McGUIRE:     Are we on 10?

4                 MR. CROSS:    Yes.

5                 THE COURT:    What was 9?     I thought we were on 9 now.

6      Was there an Exhibit 9 offered?       Because we were at 1 through 8

7      for plaintiff.

8                 MR. CROSS:    We were going to mark Mr. Barron's email

9      as Number 9, the one that was on the screen.

10                MR. SALTER:    We object to that just based on --

11                THE COURT:    General principle?

12                MR. SALTER:    Yes.   Just on --

13                THE COURT:    At 6:05?

14                MR. SALTER:    Just kidding.     Under Rule 403 and -- 403

15     based on balancing in terms of its probative value.

16                MR. BROWN:    Because it is bad for your side.

17                MR. SALTER:    The prejudice of it in terms of -- it

18     outweighs the probative value.

19                THE COURT:    I don't have a jury.      It is not

20     inflammatory.    I'll admit it.

21                MR. SALTER:    You are the jury.

22                THE COURT:    So Exhibit 9 is admitted, as well as

23     Plaintiffs' 1 through 6 and 8 and 9.        7 I'm holding out until I

24     make sure that it is what it purports to be.         That is what you

25     are going to file the notice on.

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1                 MR. SALTER:    I think I am.     Yeah.   Ryan is going to

2      keep -- Mr. Germany will keep me straight.

3                 THE COURT:    Defendants' exhibits -- I have two

4      exhibits at this point, 1 and -- how many exhibits do I have on

5      your part?    Just 1 and 2?

6                 MR. SALTER:    This will be --

7                 THE COURT:    Just to clear up the record again.

8                 MR. SALTER:    This is a joint exhibit for us, I think.

9                 THE COURT:    All right.

10                MR. McGUIRE:     It sounds like it is a stipulated

11     exhibit.

12                THE COURT:    Stipulated Exhibit 1.      Joint Exhibit 1.

13                COURTROOM DEPUTY CLERK:       I'm sorry, Judge.

14                MR. SALTER:    Something we can agree on.

15                COURTROOM DEPUTY CLERK:       Joint Exhibit 1, or is it

16     Plaintiffs' Exhibit 10?

17                MR. McGUIRE:     This is will be the 21st Century Voting

18     Commission report.

19                THE COURT:    It is Joint Exhibit 1.      He marked it --

20     let's just have it Exhibit -- Plaintiffs' Exhibit 10, and you

21     agree to its admission.      All right.

22                COURTROOM DEPUTY CLERK:       I just need to know how it

23     is labeled.

24     Q.   (BY MR. McGUIRE)     Secretary Cox, this Exhibit 10, which is

25     in front of you, Plaintiffs' 10, that is your 21st Century

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1      Voting Commission report; yes?

2      A.   Yes, it appears to be.

3      Q.   And if I can ask you to flip to Page 38 -- it is numbered

4      at the bottom.    And if you count down to the fifth bullet

5      point, there is a recommendation here that says, the chosen

6      system should have the capability to produce an independent and

7      paper audit trail of every ballot cast; correct?

8      A.   That is correct.

9      Q.   You said that -- now, this was a consensus recommendation,

10     I take it?

11     A.   Yes, of the commission.

12     Q.   So everybody in the commission favored this?

13     A.   I can't say that it was a unanimous vote.          But it was

14     certainly an ultimate recommendation of the commission.

15     Q.   And if you recall, did you agree with this recommendation?

16     A.   I did.

17     Q.   And I believe you testified earlier that that kind of

18     voting system wasn't available for DREs back then?

19     A.   We had heard that it was, and I think we had had some

20     discussion with the vendors at the time that it might be.            But

21     when we ultimately put out an RFP, we didn't have any -- I

22     don't recall that we had any systems that had a real backup

23     system.

24     Q.   Okay.

25     A.   We liked -- the overall recommendation was that DRE cured

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1      so many ills.    It gave the voters the ability to review their

2      ballot, which was the biggest problem you had with undervotes

3      and overvotes because the voter never got a chance to know they

4      made a mistake.    You got to review the ballot on the electronic

5      equipment.

6                 THE COURT:    I hate to cut off the witness, but I

7      think you have talked about this quite a bit.          And I think

8      we're just talking now about this recommendation.          All right?

9                 THE WITNESS:     But the paper trail was not that we

10     thought paper should be the real ballot.         We liked the DRE

11     equipment for all the things that it cured.         But having the

12     backup system would have been a nice addition.

13     Q.   (BY MR. McGUIRE)     And you would agree that without an

14     independent paper audit trail you can only audit a DRE by

15     asking the DRE itself what it has got recorded; right?

16     A.   No.   It goes to -- as I said earlier, it depends on how

17     you define an audit.     There is an audited system of checks and

18     balances at the end of every election night.         A perfect audit

19     would violate the private ballot.        So some variation of that.

20     Q.   Sure.    And if I understood your testimony, the reason you

21     wanted to move to DREs in the first place was because you had a

22     concern that Georgia's then current system was missing -- it

23     wasn't accurately recording the vote for some voters on the

24     paper with optical scan that was used then?

25     A.   All four of the types of systems.

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1      Q.   Right.    But this report says the optical scan was the best

2      one in use in Georgia at that time; right?

3      A.   I wouldn't say the best one in use.         But it had some of

4      the highest error rates that were equivalent to the punch card,

5      which everybody in the country at the time was talking about as

6      being so horrible.

7      Q.   So if I can ask you just to turn to Page 22.          I recognize

8      that you had reservations about the optical scan where it did

9      have error rates.     But does it not say at the top of Page 22

10     optical scan should be noted shows the best overall accuracy

11     performance of any of the systems currently in use in Georgia?

12     Does it say that?

13     A.   That is true, compared to punch cards, lever machines, and

14     bed sheet paper ballots.      None of them looked very good in the

15     light of day.

16     Q.   Now, it is true, isn't it, also that under your

17     administration of the Secretary of State's office you certified

18     a brand-new optical scanning system that replaced the one that

19     is talked about in this report?

20     A.   Well, there were at least two different types of optical

21     scan used by the dozens of counties.        And they could have been

22     made by different vendors.      So I couldn't tell you how many

23     variations.    But we certified one centralized type.

24     Q.   And that is the more -- the most recent certification of

25     an optical scanner in Georgia?

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1      A.   I couldn't tell you if it is exactly the same now as we

2      put in place in 2002.

3      Q.   But you wouldn't have certified it then if it wasn't

4      better than the one that was mentioned in this report; right?

5      A.   I think it was essentially -- the worst type of optical

6      scan that we saw in 2002 was the type that had the arrow out

7      beside a name.    And voters were not clear on what they were

8      even supposed to do.

9           So I know we talked about making sure we went to a bubble

10     system, which was one of the systems in place.          So I don't know

11     that there was anything new about what we put into place other

12     than we certainly didn't want the connect-the-arrow type.

13     Q.   Okay.    So you got rid of that one and got a new one in?

14     And that is the one we use today you believe?

15     A.   I believe so.

16                THE COURT:    The one you got in 2002 --

17                THE WITNESS:     I believe so, yes.

18                THE COURT:    -- is what we still have?

19                THE WITNESS:     I think so.

20                THE COURT:    All right.

21     Q.   (BY MR. McGUIRE)     Now, so you as the Secretary of State

22     were dissatisfied with the quality of the state's voting

23     systems, and you initiated an effort to change it?

24     A.   Well, every county had systems.        The state really was not

25     in the voting system business until the 2001 legislation came

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1      about as a result of this study.       So yes, I was dissatisfied

2      with all of these types of equipment, the hodgepodge of

3      equipment that counties were using at the time.

4      Q.   So is it fair to say you saw a problem with Georgia's

5      voting system?    And in your judgment as an officer of the

6      state, you felt it was in the public interest to move to a

7      different system that would do a better job for Georgia voters?

8      A.   Yes.   That is a fair statement.

9      Q.   Can you understand why folks who have doubts about these

10     DREs believe that is what needs to happen now?

11     A.   I can understand if people don't fully understand the

12     security protocols about how these systems are used and tested

13     and stored that it would raise doubts.        That is why when people

14     ask me about it and I go into all of this minutia about how

15     they are used they generally come away from a conversation

16     feeling a lot better than something they heard on the news or

17     read on social media because they didn't know all of that.

18          And it is -- again, it is because people say, how can you

19     have faith in this piece of equipment?        I don't have faith in

20     that piece of equipment.      I have faith in this whole system we

21     devised about how to use, store, test, and secure that system.

22     Q.   And when you talk about the folks who don't understand the

23     system or maybe don't have the full picture of it, you surely

24     don't mean the National Academy of Sciences, for example, which

25     just issued a report saying these kind of systems shouldn't be

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1      used just last week?     You don't mean them, do you?

2      A.   I haven't read their report.        But, again, I could take

3      that home myself and probably figure out how to do something

4      bad with it.    It is not any -- there is nothing magical about

5      that machine.    It is how it is all used and stored.         And I

6      don't know whether any of the scientific reports take those

7      things into consideration.

8      Q.   So it sounds like you are saying the circumstances matter.

9                 THE COURT:    I think that it is --

10                MR. McGUIRE:     Thank you, Your Honor.      That is all.

11                THE COURT:    All right.    Can this witness step down?

12                MR. SALTER:    Yes, ma'am.     Thank you.

13                THE COURT:    Thank you.    All right.    There are no

14     other witnesses, are there?

15                MR. SALTER:    There is one other witness that I have

16     like three questions for.      I swear on the Bible.      Identify

17     yourself, talk about how much time -- basically it is about

18     their ability to rulemake under the APA and how that works with

19     time.   That is it.    It takes --

20                THE COURT:    We can't have him give me an affidavit

21     tomorrow morning?

22                MR. SALTER:    Would y'all object to something like

23     that?   Do y'all want to cross on the APA in terms of time and

24     emergency rulemaking?     We have a public comment period, 30

25     days.   We have to serve the General Assembly, the two houses.

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1      We have to serve the Attorney General's office.          And there is a

2      public comment period on rulemaking --

3                  MR. BROWN:    Your Honor, this appears to be not fact

4      testimony.    And so it would be mainly do your rules say this,

5      do they say that.

6                  MR. SALTER:   That is fair.

7                  MR. BROWN:    So I don't think this is proper --

8                  THE COURT:    Can't you-all stipulate to what they say?

9      I mean, is it not -- is it not just legal?

10                 MR. SALTER:   It really is legal.      I mean, that is --

11     Bruce's point is fair.      And I think --

12                 THE COURT:    If you want to provide me a summary of

13     that tomorrow.

14                 MR. SALTER:   I could do that, if there is no

15     objection to a short five-page brief.

16                 THE COURT:    You can provide a summary.

17                 MR. BROWN:    If we can respond with an even shorter

18     rebuttal.

19                 THE COURT:    Do you think you can do that -- are you

20     going to do that by 2:00 or something like that?

21                 MR. SALTER:   I think we can do that.       I think we

22     could do that, Judge.

23                 THE COURT:    Then they can respond.

24                 MR. SALTER:   It is a simple issue.

25                 THE COURT:    Why don't you provide it by 1:00.       And

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1      they can provide something by 5:00.        Does that -- does that

2      work with you-all?

3                 MR. BROWN:    That is fine, Your Honor.

4                 THE COURT:    1:00 and 5:00 tomorrow.

5                 MR. SALTER:    That is fine.     1:00 for us.

6                 THE COURT:    Great.    I didn't allow for oral argument.

7      I did allow for the submission.       And I wanted something else

8      in.

9                 I know that -- I know everyone would like to have a

10     decision as quickly as possible.       And obviously I would have

11     hoped in an ideal world to have had the hearing be shorter and

12     to be able to be ready to announce something.          But I am aiming

13     to do it this week.

14                I know that there have been references about walking

15     down the street to the Eleventh Circuit.         And, of course, that

16     is the right of either party.       I would say -- and I don't want

17     to discourage anyone's exercise of their rights obviously here.

18                I would point counsel to the Supreme Court's decision

19     in Purcell vs. Gonzalez, 549 U.S. 1, which basically it said

20     because there were no findings of fact by the court -- by

21     either the District Court or then ultimately the Court of

22     Appeals there is nothing -- basically it remands because they

23     can't really properly review it.

24                So I'm not planning to give an exhaustive decision in

25     this time frame.     But I have allowed you-all to present the

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1      evidence, and I think it would just suggest to both parties

2      that it would be preferable to wait until I have a decision.

3      And I do have some criminal cases that I have to hear in the

4      next day and a half.     And I'm going to do my very best to give

5      you a decision on Friday.      But if not, then it would be Monday.

6                 And I just think that, you know, we have done all of

7      this, and I would hate to just simply not at least have a

8      written decision that sets forth the general reasons for

9      whatever I'm doing, whether it is for jurisdiction or for --

10     the jurisdictional determination, a standing determination, or

11     the ruling on the preliminary injunction.

12                Of course, as I said, it is up to you.         But that is

13     my view.   And, you know, what ends up happening in Purcell is

14     even though the District Court and the Court of Appeals took a

15     different position in Purcell basically then says -- sends it

16     back and can't -- too late then, of course, for the election

17     and then says essentially but the Court of Appeals' decision

18     was vacated and the case was remanded for further proceedings.

19                So it is sort of like let's not -- my hope would be

20     that no one would jump the gun.       I'm going to get you a

21     decision as absolutely fast as possible hopefully Friday but

22     not later than Monday so that there is plenty of, I think,

23     time.

24                You know, the general observation I have here is the

25     one I made from the start.      Times change.     We are facing -- I

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1      don't mean to be focusing on Russia or anything else.             But we

2      are in a very quickly evolving situation in terms of cyber

3      technology and cyber crime.

4                 I have sat through some very sophisticated testimony

5      myself in other cyber crime cases from the FBI.          And, you know,

6      obviously we have a lot of expert testimony here.          And there

7      has been a -- we have a lot of concern nationally that has been

8      expressed by recognized bodies, not just the National Sciences

9      Academy but -- and not just the FBI and not just the NSA as to

10     the continued use of an unverifiable -- DREs without verifiable

11     tape results.

12                But -- so these are big issues.        And they are big

13     issues because they also impact not just the integrity of the

14     vote but they can dilute one party's vote versus the other.            It

15     affects the credibility of the system.        And I, you know, have

16     basically proceeded to allow the evidentiary hearing here and

17     go at great length because I recognize that and because it is

18     an issue of public import that also ends up in the court

19     because you don't want anyone's -- no one wants their vote to

20     be insecure but moreover diluted or altered.

21                But at the same time, one -- I have to recognize --

22     and I am just saying this as a preview, which everyone here

23     knows from the testimony here -- that there are -- this is a

24     catch-22 because there is significant -- we know other ways in

25     which people's votes can be compromised:         Long lines, people

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1      losing -- not understanding how to use ballots.          And it is not

2      just a parade of horribles either.        I mean, it is a parade of

3      horribles that Ms. Cox described from another era.

4                 We might not be in that era.       But these are real

5      challenges, and there are lots of -- the Sixth Circuit right

6      now has basically allowed a case to proceed because of -- in

7      part because there was the whole -- problems in administration

8      of the precincts in the balloting process.

9                 So, you know, I'm concerned that we're here at this

10     eleventh hour.    I'm concerned that I understand what the

11     plaintiffs' position is is that the evidence didn't at this

12     point ripen this much, it didn't become as much of a crisis

13     from their perspective given the evidence that was available in

14     the most recent number of months.

15                I won't fully comment on that because I attempted to

16     deal with this earlier.      And I'm concerned in part for the

17     state as well that, you know, why are we just dealing with this

18     now.   I know that ideally in all -- in the best circumstances

19     is that the legislature would have dealt with this.           And it

20     would never end in a court's lap to address these voting

21     issues.

22                But I don't think what happened at Kennesaw

23     completely -- and other sorts of data has been presented can be

24     just said that it is nothing, that this is not a question of

25     Luddites, and it is not a question of -- but at the same time

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1      you don't want people standing outside the polls giving up,

2      being confused, being discouraged.        And those are very real

3      things.

4                 And the catch-22 is that, you know, there is a lot of

5      criticism of the fact that the state and counties have not

6      moved -- been able to move on this, that we're using antiquated

7      software that would be -- that is susceptible -- not just

8      susceptible but there is a great -- strong evidence about some

9      of its susceptibility.

10                It is not just, oh, it is a theoretical paranoid

11     notion at this point.     And we don't think that in other

12     contexts in financial frauds, as I said, in data breach cases.

13     We don't think it is theoretical because it hits our bank

14     accounts, and we can see it.       But we can't in the same way see

15     about whether our vote was -- what happened to it, did it

16     actually go for the same person.

17                So it is ideally -- and it is not just ideally.

18     These are real, real issues.       But the fact still is that lots

19     of people who work at the precincts are virtual volunteers.          It

20     is a big job to put on an election.        And the last thing -- I

21     don't think we want to compromise the voting process that way.

22     What we do want is this to be dealt with.

23                And that is really why I -- you know, I didn't like

24     it to be called just paranoia because if you call it just

25     paranoia you don't deal with it.       And I would anticipate that

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1      we have to deal with it, whether here or in the -- or in the

2      legislature or in the -- by the Secretary of State.

3                  But it is late.    I have to tell you a few things.

4      Lots of you had your phones taken downstairs.          And the court is

5      basically closed.     Everyone will have to meet with the court

6      security officer outside the courtroom who has given their

7      phone over.    He will escort you to pick up your telephones.

8                  So do not walk out when I saw one person go out

9      without the phone -- without your phone.         And you are going to

10     need to do that.     So don't just simply go off willy-nilly or

11     else you will be picking up your phones and coming back here

12     tomorrow.

13                 And in terms of getting out of the building --

14                 COURTROOM DEPUTY CLERK:      Your Honor, the court

15     security officers will direct them once they pick up their

16     telephones.

17                 THE COURT:   All right.    Because normally the front

18     door is closed at this point.       So I'm not going to even pretend

19     to give you any directions.

20                 COURTROOM DEPUTY CLERK:      Your Honor, if anyone does

21     not need to pick up a telephone and came in on the LP level,

22     they can leave without having to do anything further.             If you

23     did not leave a telephone downstairs but you came in on the

24     Spring Street level and you need to leave on the Spring Street

25     level, you will need to be escorted by security in order to do

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1      that.

2                  MR. BARNES:    Your Honor, do you intend to issue the

3      order on the immunity and Eleventh Amendment at the same time?

4                  THE COURT:    Yes.   I'm planning to do the whole thing

5      together.   That is why I just sort of asked you to hold off so

6      that at least if you want to appeal you have got --

7                  MR. BARNES:    I understand.

8                  THE COURT:    -- a piece of paper.

9                  MR. BARNES:    I understand.    I was just trying to

10     get --

11                 MR. SALTER:    We were doing that.     We figured that --

12     we have been waiting, Judge.

13                 THE COURT:    So I really -- in the end, I want to say

14     I appreciate everyone's presence again as I started in the

15     morning.    I appreciate the interest.      I appreciate how much all

16     sides put in to trying to educate me and clarify from your

17     perspectives what the evidence points to.

18                 I think it has been very helpful.       And I know how

19     much energy goes into an emergency hearing.         Certainly it has

20     been for me.

21                 MS. BURWELL:    Your Honor, could I provide the Court

22     with like a one-page closing?       Just one page?

23                 THE COURT:    You are welcome to do that.      You are

24     welcome to do that.      But I have, you know, notebooks and

25     notebooks and files and files.       So you -- I have been reading

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1      everything.    You are welcome to do whatever.

2                 But since I believe I have a -- I have some criminal

3      cases tomorrow.

4                 COURTROOM DEPUTY CLERK:       You do, Your Honor.      You

5      have a criminal case and a civil case tomorrow.

6                 THE COURT:     I probably can't get to read it until

7      4:00 or 5:00.    You are welcome to file something.

8                 Thank you-all very much.       Have a good evening.

9                 COURTROOM SECURITY OFFICER:       All rise.    This

10     Honorable Court has been adjourned.

11                       (The proceedings were thereby concluded at 6:26

12                       P.M.)

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1                              C E R T I F I C A T E

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3      UNITED STATES OF AMERICA

4      NORTHERN DISTRICT OF GEORGIA

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6           I, SHANNON R. WELCH, RMR, CRR, Official Court Reporter of

7      the United States District Court, for the Northern District of

8      Georgia, Atlanta Division, do hereby certify that the foregoing

9      322 pages constitute a true transcript of proceedings had

10     before the said Court, held in the City of Atlanta, Georgia, in

11     the matter therein stated.

12          In testimony whereof, I hereunto set my hand on this, the

13     15th day of September, 2018.

14

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17                            ________________________________
                              SHANNON R. WELCH, RMR, CRR
18                            OFFICIAL COURT REPORTER
                              UNITED STATES DISTRICT COURT
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